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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION



      IN RE NATIONAL PRESCRIPTION               MDL 2804
      OPIATE LITIGATION                         Case No. 17-md-2804
      This document relates to:                 Hon. Dan Aaron Polster
      Track One Cases




      PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
       PARTIAL SUMMARY ADJUDICATION THAT DEFENDANTS DID NOT
      COMPLY WITH THEIR DUTIES UNDER THE FEDERAL CONTROLLED
     SUBSTANCES ACT TO REPORT SUSPICIOUS OPIOID ORDERS AND NOT
                             SHIP THEM
                                    (Second Corrected Brief)




July 19, 2019
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                                                   INTRODUCTION
         Between 1996 and 2018, Defendants collectively shipped hundreds of millions of dosage units

of opioids into Summit and Cuyahoga Counties in fulfillment of orders that, under the Controlled

Substances Act (“CSA”), were “suspicious” and should never have been shipped. See Ex. 1, Rafalski

Report; Ex. 2, McCann Report; Ex. 3, Keller Report. In some instances, for some defendants, these

“suspicious order” shipments represented as much as 80% of the total opioid transactions and as

much as 92% of the dosage units shipped.

         The CSA requires Defendants to maintain effective controls against diversion.                                 Under

regulations promulgated by the federal Drug Enforcement Agency (“DEA”), the maintenance of such

controls requires Defendants to design and operate systems to identify “suspicious orders” and to

report such orders to the DEA when they are discovered. The CSA also requires the Defendants to

refrain from shipping orders flagged as “suspicious” unless it has been determined that the order is

not likely to be diverted. 1 The undisputed evidence shows that Defendants did none of that. They

failed to design serious suspicious order monitoring (“SOM”) systems that would identify suspicious

orders (defined by the DEA to include orders unusual size, frequency, or pattern); they failed to report

suspicious orders to the DEA; and they shipped orders that were, or should have been, flagged as

suspicious. Indeed, as detailed below, several of the Defendants have already admitted, in settlements

with the DEA, that they did not comply with their CSA duties.

         The Defendants’ dereliction of their CSA duties was staggering: they did not overlook a mere

handful of suspicious orders, or miss the occasional order likely to be diverted. They made no effort

actually to identify suspicious orders, failed to flag orders that, under any reasonable algorithm,

represented between one-quarter and 90% of their business, and kept the flow of drugs coming into


1The contours of these duties, and in particular, of the obligation not to ship suspicious orders, is the subject of Plaintiffs’
companion Motion for Partial Summary Adjudication of Defendants’ Duties under the Controlled Substances Act, which
seeks summary adjudication that the CSA requires registrants to identify, report, and refrain from shipping suspicious
orders.

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Summit and Cuyahoga Counties. Their failure to identify suspicious orders was their business model:

they turned a blind eye and called themselves mere “deliverymen” with no responsibility for what they

delivered or to whom. Just like any street drug courier. Unlike the drug couriers to whom they

(perhaps unwittingly) compared themselves, however, Defendants had been granted the privilege of

dealing lawfully in controlled substances and, in exchange for and as a condition of that privilege, were

specifically charged with assisting in enforcement of the CSA and with preventing diversion of the

dangerous and otherwise illegal drugs in which they trafficked. Because the Defendants’ failure to

meet the obligations placed on them was so extreme and so blatant, there is no genuine dispute about

their violations of the CSA. This Court can and should find, based on the undisputed evidence, that

each of the Defendants repeatedly violated the Controlled Substances Act in their shipments to

Summit and Cuyahoga Counties.
                                         LEGAL STANDARD
        Rule 56 provides that “[t]he court shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). “Summary judgment is proper where the moving party has ‘show[n]

that there is no genuine dispute as to any material fact and that [they are] entitled to judgment as a

matter of law.’” Humphrey v. Stored Value Cards, 355 F. Supp. 3d 638, 641 (N.D. Ohio 2019) (quoting

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)). It is “well-established that a court may grant partial

summary judgment that establishes the existence of certain facts or liability, even though no actual

judgment is entered on a claim.” Brauer v. Pannozzo, 232 F. Supp. 2d 814, 818 (N.D. Ohio 2002). “Once

the movant makes a properly supported motion, the burden shifts to the non-moving party to

demonstrate the existence of a genuine dispute.” Pund v. City of Bedford, 339 F. Supp. 3d 701, 709 (N.D.

Ohio 2018). That requires the non-moving party to “produce evidence that results in a conflict of

material fact to be resolved by a jury.” Cox v. Ky. DOT, 53 F.3d 146, 150 (6th Cir. 1995). When deciding

whether a genuine issue of material fact exists, the court views the evidence in the light most favorable

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to the non-moving party. Pund, 339 F. Supp. 3d at 709. “A dispute over a material fact cannot be

‘genuine’ unless a reasonable jury could return a verdict for the nonmoving party.” Cincinnati Ins. Co.

v. Zen Design Grp., Ltd., 329 F.3d 546, 552 (6th Cir. 2003).

        Rule 56 permits a party to move for summary judgment on a claim or defense or on a “part

of [a] claim or defense.” Fed. R. Civ. P. 56(a). The rule thus “make[s] clear at the beginning that

summary judgment may be requested not only as to an entire case but also as to a claim, defense, or

part of a claim or defense.” Fed. R. Civ. P. 56, Advisory Committee Notes, subdivision (a) (2010).

Courts have recognized that partial summary judgment as to a particular issue is appropriate where it

will streamline or shorten the trial and thus serve the interests of judicial economy. See, e.g., McDonnell

v. Cardiothoracic & Vascular Surgical Assocs., Inc., No. C2-03-0079, 2004 WL 1234138, at *1 (S.D. Ohio

May 27, 2004); In re Cardizem CD Antitrust Litig., 105 F. Supp. 2d 682, 692 (E.D. Mich. 2000).
                              UNDISPUTED BACKGROUND FACTS
Defendants Operate in a “Closed System” Designed to Prevent Diversion of Dangerous
Narcotics
        The Controlled Substances Act (“CSA”), 21 U.S.C. §§ 801 et seq., establishes a “closed system”

for the manufacture, sale, and distribution of certain drugs, including prescription opioids. This means

that “all legitimate handlers of controlled substances must obtain a DEA registration and, as a

condition of maintaining such registration, must take reasonable steps to ensure that their registration

is not being utilized as a source of diversion.” Ex. 4, Rannazzisi 2006 letter. As the DEA has pointed

out, “[i]f the closed system is to function properly as Congress envisioned, distributors must be vigilant

in deciding whether a prospective customer can be trusted to deliver controlled substances only for

lawful purposes.” Id. This responsibility is critical, because “Congress has expressly declared that the

illegal distribution of controlled substances has a substantial and detrimental effect on the health and

general welfare of the American people.” Id.




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        One of the mechanisms through which the DEA administers the “closed system” is its power

to grant, deny, or revoke registration under the CSA. The CSA sets forth as a primary factor in the

grant of a registration to manufacture or distribute controlled substances the “maintenance of effective

controls against diversion . . . into other than legitimate . . . channels . . . .” 21 U.S.C. § 823(a)(1),

(b)(1); see also 21 C.F.R. § 1301.71(a) (“[a]ll applicants and registrants shall provide effective controls

and procedures to guard against theft and diversion of controlled substances.”). Registrants who fail

to maintain such effective controls may have their registration revoked, see Masters Pharmaceutical, Inc.

v. Drug Enforcement Administration, 861 F.3d 206, 212-213 (D.C. Cir. 2017); Southwood Pharmaceuticals,

Inc.; Revocation of Registration, 72 FR 36487-01, 36500, 2007 WL 1886484 (DEA July 3, 2007). In this

way, DEA seeks to ensure that only those who can be trusted to maintain effective controls against

diversion are permitted to participate in the supply-chain for controlled substances. The mandate to

maintain effective controls against diversion requires that, in exchange for the privilege of dealing in

these drugs, registrants must play a substantial role in maintaining the closed-system and ensuring that

dangerous drugs are not diverted. The system does not rely on the DEA to police shipments of

controlled substances, but rather enlists registrants and requires them, in the first instance, to assume

that task. See Southwood Pharmaceuticals, 72 FR 36487-01, 36504, 2007 WL 1886484 (the DEA cannot

all by itself “protect the American people from [the] extraordinary threat to public health and safety”

posed by prescription narcotics; it “must rely on registrants to fulfill their obligation under the Act to

ensure that they do not supply controlled substances to entities which act as pushers.”).

        The DEA requires that, in order to maintain effective controls against diversion, a registrant

must design and operate a system to identify suspicious orders of controlled substances (the

“identification duty”); report to the DEA suspicious orders “when discovered” (the “reporting duty”);

and decline to ship an order identified as suspicious unless, through due diligence, the registrant is

able to determine that the order is not likely to be diverted into illegal channels (the “no-shipping



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duty”). Masters Pharmaceutical, 861 F.3d at 212-213; see also Southwood Pharmaceuticals, 72 FR 36487-01,

36500; 21 C.F.R. § 1301.74. “Suspicious orders” include “orders of unusual size, orders deviating

substantially from a normal pattern, and orders of unusual frequency.” Id.

        Manufacturers, distributors, and pharmacies participate in the supply-chain for prescription

opioid drugs, which are categorized under either Schedule II or Schedule III of the CSA.

Manufacturers sell and ship these drugs to distributors, subject to the CSA requirements to guard

against diversion. This means that, in shipping their products to distributors, opioid manufacturers

are required to identify orders from distributors that are “suspicious” within the meaning of the CSA

(including whether the orders are of unusual size, frequency, or pattern), report suspicious orders to

the DEA, and to refrain from shipping suspicious orders unless the manufacturer determines that the

order is not likely to be diverted. See § 1301.74; see also 21 U.S.C. § 823(a), (d) (requirements for

registrants who are manufacturers of Schedule II or Schedule III drugs). The distributors, in turn, sell

and ship opioids to pharmacies. They must identify orders from their customers – that is from

pharmacies to whom they ship -- that are “suspicious” within the meaning of the CSA (including

whether the orders are of unusual size, frequency, or pattern), report suspicious orders to the DEA,

and refrain from shipping suspicious orders unless they have determined that the order is not likely to

be diverted. See § 1301.74; see also 21 U.S.C. § 823(b), (e) (requirements for registrants who are

distributors of Schedule II or Schedule III drugs). In order to maintain the closed system and guard

against diversion, registrants at each step in the supply chain must take steps to ensure that orders they

ship are not likely to be diverted. See Ex. 4, Rannazzisi 2006 (“all registrants - manufacturers,

distributors, pharmacies, and practitioners - share responsibility for maintaining appropriate

safeguards against diversion.”).

        As discussed below, see pages 14 to 17, the Manufacturers and Distributors had enormous

amounts of information available to them about the ultimate destinations of the drugs they shipped.



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Despite their protestations to the contrary, Manufacturers had no difficulty discovering where the

distributors with whom they dealt shipped their drugs, which doctors prescribed them, and where the

prescriptions were filled. Distributors similarly had visibility about the pharmacies to whom they

delivered opioids and the doctors whose prescriptions were filled there. But, as discussed below, see

generally Point II, the Defendants declined to use this information to meet their CSA obligations to

maintain effective control against diversion and instead did what they could to keep the flow of opioids

moving.
Defendants Understood Their CSA Duties
        Defendants well understood their obligations under the CSA. Not only did the DEA remind

them, but their own internal documents show an awareness of what they were required to do but

consistently failed to do.

        Almost immediately after the CSA was enacted, the DEA adopted implementing regulations,

including a regulation clearly setting forth the obligations to “provide effective controls and

procedures to guard against theft and diversion of controlled substances,” to identify suspicious

orders, and to report then to the DEA “when discovered.” See Regulations Implementing the

Comprehensive Drug Abuse Prevention and Control Act of 1970, 36 F.R. 7776-7825, 7784-7785

(1971); see also 21 C.F.R. § 1301.74. Manufacturers (including, specifically Mallinckrodt), distributors,

and their industry associations commented on the regulations before they were officially promulgated.

See 36 F.R. at 7776-78. In 1984, Acting Chief of the DEA’s Diversion Operations Section, Thomas

Gitchel, wrote to the National Wholesale Druggists Association (“NWDA” – a predecessor to the

Distributors’ current industry association, the Healthcare Distribution Alliance (“HDA”) – further

explaining the duties of registrants and, in particular, stating that “the submission of a monthly




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printout of after-the-fact sales will not relieve a registrant from the responsibility of reporting excessive

or suspicious orders” and that “DEA has interpreted ‘orders’ to mean prior to shipment.” 2

         On September 27, 2006, in response to a “serious and growing health problem in this

country,” Joseph Rannazzisi, the Deputy Assistant Administrator in DEA’s Office of Diversion

Control, sent a letter to every commercial entity in the United States registered with the DEA to

distribute controlled substances to “reiterate the responsibilities of controlled substance distributors

in view of the prescription drug abuse problem our nation currently faces.” Ex. 4, Rannazzisi 2006.

Rannazzisi’s 2006 letter set forth in no uncertain terms the duty to identify suspicious orders, to inform

the DEA “of suspicious orders when discovered by the registrant,” and to “avoid filling suspicious

orders that might be diverted. . . .” Id. The letter set forth 14 “Circumstances That Might Be Indicative

of Diversion” as identified by the DEA and urged distributors to consider these circumstances in

evaluating orders. Id.

         On December 27, 2007, Mr. Rannazzisi sent a second letter, this one addressed to “every

entity in the United States registered with the Drug Enforcement Administration (DEA) to manufacture

or distribute controlled substances.” Ex. 6, Rannazzisi 2007 letter (emphasis added). The purpose of

the letter was to “reiterate the responsibilities of controlled substance manufacturers and distributors

to inform DEA of suspicious orders.” Id. The letter reminded manufacturers and distributors alike

of their obligation to “inform the local DEA Division Office of suspicious orders when discovered by

the registrant.” Id. (emphasis in original). The 2007 letter further explained:
         Filing a monthly report of completed transactions (e.g., “excessive purchase report”
         or “high unit purchases”) does not meet the regulatory requirement to report
         suspicious orders. Registrants are reminded that their responsibility does not end
         merely with the filing of a suspicious order report. Registrants must conduct an
         independent analysis of suspicious orders prior to completing a sale to determine whether the
         controlled substances are likely to be diverted from legitimate channels. Reporting an order as
         suspicious will not absolve the registrant of responsibility if the registrant knew, or
         should have known, that the controlled substances were being diverted.

2   Id. at CAH_MDL_PRIORPROD_DEA07_00869974, Ex. 5 (emphasis added).

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                                                   ...
        [R]egistrants that routinely report suspicious orders, yet fill these orders without first
        determining that order is not being diverted into other than legitimate medical, scientific, and
        industrial channels, may be failing to maintain effective controls against diversion.
Ex. 6, 2007 Letter (emphasis added). The 2007 letter also called the attention of the Manufacturers

and Distributors to the administrative decision in Southwood Pharmaceuticals and in particular to the

discussion in that decision of the obligation “to report suspicious orders when discovered by the

registrant, and . . . .your obligation to maintain effective controls against the diversion of controlled

substances.” Id. The 2006 and 2007 DEA letters thus clearly and undisputedly put the defendants –

both manufacturers and distributors – on notice of their obligations under the CSA.

         In addition, many of the Defendants have admitted that they knew what their CSA obligations

were. For example, Teva witnesses have acknowledged that during the entire period Teva sold

Schedule II opioid products, the company had a duty equal to that of the wholesale distributors to

monitor and stop suspicious orders and to investigate the downstream orders of customers. Teva

witnesses further acknowledge that the DEA letters from 2006 and 2007 set forth its duties to monitor

and stop suspicious orders; the witnesses testified that they did not have any disagreement with the

statements in the letters. See Ex. 7, McGinn Dep. pp. 110-131; 136-137; 175-176; 386-389; Att. 3, Ex.

8, Tomkiewicz Dep. pp. 174-203.

        For its part, Cardinal acknowledges that it was advised of its obligations. Not only was

Cardinal aware of the 1984 DEA letter, it also acknowledges that it received, around 1990, guidelines

prepared by the NWDA titled “NWDA Suspicious Order Monitoring System.” Those guidelines

explained:
        Single orders of unusual size or deviation must be reported immediately. The
        submission of a monthly printout of after-the-fact sales will not relieve a registrant
        from the responsibility of reporting these single excessive or suspicious orders. DEA
        has interpreted “orders” to mean prior to shipment.




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In 2003, Cardinal obtained a copy of the 1996 DEA Diversion Investigators Manual from the DEA

pursuant to a Freedom of Information/Privacy Act request. 3 The manual sets forth the responsibilities

of diversion investigators, and, according to DEA’s 30(b)(6) designee Thomas Prevoznik, was the

“official policy of the DEA as of 1996.” 4 The manual states
           Registrants, who routinely report suspicious orders, yet fill these orders, with reason
           to believe they are destined for the illicit market, are expressing an attitude of irresponsibility
           that is a detriment to the public health and safety as set forth in 21 U.S.C. 823 and 824. 5
The manual also describes registrants’ responsibility to halt shipment of suspicious orders:
           An investigation will be conducted for possible violation of the CSA and regulations
           upon determining that the reporting registrant, as a general practice, does not voluntarily halt
           shipments of controlled substances to registrants involved in suspected diversion or to registrants
           against whom previous action has been taken. In these instances, the registrant is subject to
           the appropriate prosecution and/or administrative action. 6
           Although Cardinal had the DEA Diversion Investigators Manual since 2003, its Rule 30(b)(6)

designee, Jennifer Norris, nonetheless testified that Cardinal became aware of the no-shipping

requirement when it received the DEA’s 2006 letter reminding registrants of their duty to stop

shipment of suspicious orders. 7 But regardless of the precise date, Cardinal has acknowledged that it

understood its responsibilities no later than September 2006.

           McKesson, too, has admitted it was well aware of its duties under the CSA. One of

McKesson’s 30(b)(6) witnesses, Nate Hartle, testified to his understanding that since 1970 McKesson

had a duty under the CSA to prevent diversion through its monitoring of controlled substances. (See

Ex. 12, 7/31/18 Hartle Depo. at 78:4-10; 85:2-9). McKesson’s monitoring program acknowledged

its duties to report suspicious orders and to halt shipment of any orders that are deemed suspicious.



3   See Ex. 9, CAH_MDL2804_02203353.
4   See Ex. 10, Deposition of DEA 30(b)(6) (Thomas Prevoznik), Vol. II, 693:4-697:12.
5   See Ex. 9, CAH_MDL2804_02203353, 02203356-7 (emphasis added).
6   Id. at 02203357 (emphasis added).
7   See Ex. 11, Depo. of Norris, 171:20-172:1; 173:23-174:4.

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(
    See Ex. 12, 7/31/18 Hartle Depo. at 36:14-37:4; 38:5-19). Further, McKesson has conceded that

violations of these CSA requirements result in a substantial and detrimental effect on the health and

general welfare of the American people. (See Ex. 12, 7/31/18 Hartle Depo. at 43:22-44:5).

          In addition to the above, the evidence shows that HDA members, particularly the distributors,

were aware of and, in fact, were working to address “DEA expectations of wholesale distributors to

take action on suspicious orders.” 8 In that regard, the distributors knew that DEA “expect[ed] more

than just reporting ‘suspicious orders,’” and that upon identifying a suspicious order, distributors

should “either stop the delivery or should evaluate the customer further before delivering it.” 9 They

also knew that “[s]imply complying with the ‘suspicious orders’ regulatory requirement does not mean,

in the [DEA]’s view, that the registrant is maintaining an effective program to detect and prevent

diversion.” 10 Based on the guidance received from the DEA, the HDA, working with distributors and

manufacturers through the Pain Care Forum, compiled a set of industry compliance guidelines

(“ICGs”) that were prepared “in recognition of the growing problem of misuse of Controlled

Substances and the key role distributors play within the prescription drug supply chain.” 11 In the

ICGs, the industry also recognized that through “due diligence, it is possible to reduce the probability

that controlled substances will reach locations within the supply chain for which they are not




8   Ex. 517, HSI-MDL-00620224 at 620225-26.
9   Ex. 518, CAH_MDL2804_02489199.
10Id. Notably, HDA members were also aware that the DEA expected registrants “know their customers,” and were given
examples of the way to conduct due diligence investigations, including the kinds of information registrants should be
considering. Id. at 02489200.
11 Ex. 519, HDA_MDL_000148603; Ex. 520, HDA_MDL_000148607. Notably, HDA’s members participated in the
creation of the ICGs and received copies of the ICGs and of the notes about DEAs comments to the ICGs before voting
to approve them through the Executive Committee. See CAH_MDL2804_0249160; Ex. 410, HDA_MDL_000151104;
Ex. 409, HDA_MDL_000150198; Ex. 408, HDA_MDL_000139414; HDA_MDL-000213181; Ex. 406,
HDA_MDL_000213212; Ex. 404, HDA_MDL_000213229; Ex. 397, HDA_MDL_000148603; Ex. 403,
HDA_MDL_000213058; CAH_MDL2804_01521412 (“I’ve attached a copy of the very latest version of the draft
suspicious order practices. The Executive Committee approved these, but indicated that HDMA should continue to work
with the Regulatory Affair Committee and other relevant staff on the details.”); Ex. 402, HDA_MDL_000213078; Ex.
401, HDA_MDL_000145918; Ex. 399, HDA_MDL_000081363; Ex. 398, HDA_MDL_000081364.

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intended.” 12 While the HDA’s members claimed that they “have always recognized and followed

requirements that registrants identify and report ‘suspicious orders,’” the ICGs were “[b]ased on the

expertise and strong endorsement of [HDA’s] members” and developed “for meeting and exceeding

DEA’s expectations.” 13

           To that end, distributors, through their HDA representatives, participated in a meeting with

the DEA, which was led by HDA’s outside counsel from Williams & Connolly (“W&C”). 14 During

this meeting, the W&C lawyers presented the ICGs to the DEA on behalf of HDA’s members, and

with respect to suspicious orders, were asked by DEA, “what is stopped”? 15 In response, on behalf

of HDA’s members, the W&C lawyers explained that under the guidelines, distributors were expected

to stop the entire order of the specific product that exceeded a threshold, and further explained that

HDA “intended to help [its] members implement the guidelines by making consultants known to

them that could aid in implementation,” and would “discuss [the ICGs] with the pain Care Forum.” 16

           Subsequently, another meeting occurred where the HDA received DEA’s specific feedback

on the guidelines. 17 The HDA’s summary of this meeting documents the DEA’s specific requests to

the HDA and its members. Highlighting the shipping requirement, the DEA wanted an entire section

added to the body of the ICGs about the topic. 18 When discussing monitoring for suspicious orders,

the DEA explained that “an electronic system is not enough, [registrants] can’t rely solely on a



12   Ex. 397, HDA_MDL_000148607.
13Id. at 148608. The draft of the ICGs circulated by the HDA to its members contains many guidelines surrounding the
regulations that the Defendants claim were unclear including, for example, the requirement to “Stop Shipments of an
Order of Interest.” Id. at148612.
14 Ex. 396, CAH_MDL2804_02489188. The Williams & Connolly lawyers are identified in this meeting as Bob Barnett

and Rich Cooper.
15   Id. at CAH_MDL2804_02489189.
16   Id.
17 Ex. 393, CAH_MDL2804_02489191. Notably, Williams & Connolly lawyers were present for this additional meeting

with the DEA. Id.
18   Id.

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computer system.” 19 According to HDA, “DEA seemed to want something else done, that was not

after-the fact, that was not electronic, and that would identify problems very quickly, as the orders

occurred.” 20 “DEA seemed to think that ‘thresholds’ focus principally on volumes, and they expressed

the view that an exclusive or even principal focus on volume is inadequate.” 21 Furthermore, the DEA

specifically requested that the ICGs state that “[t]he drug or drugs that cause an order to be an order

of interest should not be shipped the order is an order of interest,” and further explained that “DEA

has backed away from the standard of three times the monthly overage order for schedule II and

ARCOS reportable schedule III products. DEA suggested that we [HDA] substitute a paragraph

based on more recent DEA guidance.” 22

            The DEA asked the HDA to emphasize “that the order should not be shipped if there was

reason to believe there was a problem. In fact, they asked [HDA] to add in that if one controlled

substance in the order could be a problem, then other controlled substances in the order may also be

a problem and the distributor should consider holding the others.” 23 DEA also explained that “[e]ven

an order for a drug that does not meet a volume threshold may be suspicious in light of other aspects

of the order.” 24 Critically, DEA emphasized that “suspicious orders mmust [sic] be reported toi [sic]

to DEA whether the wholesaler ships or not, and [told HDA] to emphasize that the timeliness of

notice is very important.” 25 HDA’s memo about the DEA’s guidance closes with a number of other

significant points, including the following: 26



19   Id. at 2489192.
20   Id.
21   Id.
22   Id. at 2489193.
23   Id. at 2489194.
24   Id.
25   Id. at 289195.
26   Id.

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               •    “DEA was emphatic that if there were questions about an order, the order
                    should not be shipped.”
               •    “They [DEA] wanted reports on all ‘suspicious orders’ even if the order was not
                    shipped.”
               •    “Timeliness was very important. DEA wants us [HDA] to emphasize the need
                    for rapid, timely reporting.”
               •    “DEA wants reports of ‘suspicious orders’ even if there is some question about
                    the dispenser’s status as a customer. For example, if during a background
                    check of a potential customer, the customer indicates they might be placing
                    orders that could be ‘suspicious’, DEA wants to know, even if the pharmacy
                    in question, does not become a customer.”
           The undisputed evidence shows that Walgreens, too, well understood its CSA obligations. In

September 2007, three of Walgreens’s senior employees attended the DEA Office of Diversion

Control’s 13th Pharmaceutical Industry Conference in Houston, Texas. 27 Michael Mapes, Chief, DEA,

Regulatory Section, gave a presentation at this Conference relating to suspicious orders, which

included the reminder that the CSA “requirement is to report suspicious orders, not suspicious sales

after the fact.” 28 During this meeting, Mr. Mapes also advised the audience not to “confuse suspicious

order report with an excessive purchase report. They are two different things.” 29

           The DEA affirmed again its expectation that the “Do Not Ship” requirement applied to all

orders flagged as being potentially suspicious, whether called “suspicious orders” or “orders of

interest”, in the Compliance Addendum to the June 2013 Memorandum of Agreement (“MOA”) 30

between Walgreens and the DEA, which included the following clause:
           For purposes of complying with suspicious order monitoring and reporting
           requirements for orders to be supplied by a Walgreens distribution center . . .
           Walgreens will endeavor to conduct its evaluations of “orders of interest” identified
           by its tolerance thresholds and ceiling limits within four (4) business days in most cases,
           and shall inform DEA Field Offices of orders that Walgreens has determined are

27   Ex. 13, CAH_MDL_PRIORPROD_DEA07_01185382 at CAH_MDL_PRIORPROD_DEA07_01185404-5.
28   Ex. 14, CAH_MDL_PRIORPROD_DEA_12_00011059; Ex. 15, HDS_MDL_00002032 at 2040.
29   Ex. 16, Acquired_Actavis_00441354 at 441355.
30Settlement and Memorandum of Agreement between the Department of Justice, DEA, and Walgreens Co., with
appendices (collectively, “Walgreens 2013 MOA”) (Ex. 17, WAGMDL00490963-WAGMDL00490978; Ex. 18,
WAGMDL00387975-WAGMDL00387982; Ex. 19, WAGMDL00387653-WAGMDL00387974)

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           “suspicious” within two (2) business days of making any such determination.
           Walgreens agrees not to ship any “order of interest” or “suspicious order” in whole or
           in part unless and until Walgreens resolves the reason(s) that caused it to designate the
           order as an “order of interest” or a “suspicious order.” 31
           PSI also was aware of the “no-shipping requirement” and recognized that it was part of PSI’s

obligations since the enactment of the CSA. 32
Manufacturers and Distributors Alike Have a Wealth of Information Available to Them about
the Orders They Ship, the Pharmacies to Which Opioids Are Delivered, and the Doctors Who
Prescribe These Drugs
           Because of the nature of the “closed-system,” Defendants operated their opioid businesses in

a data-rich environment. Every opioid shipment from a manufacturer to a distributor had to be

documented; every opioid shipment from a distributor to a pharmacy had to be documented; every

opioid that was dispensed by a pharmacy had to be dispensed pursuant to a prescription. Moreover,

this data was collected and made available to the Defendants to help them run their business and

increase their profits. Thus, Manufacturers knew what they shipped to each Distributor and

Distributors knew what they shipped to each pharmacy. But in fact, Defendants had a great deal more

information than that.

           Defendants had access to several different types of data. Each Distributor kept track of

inventories and total sales of each manufacturer’s products; this data is referred to as “852 data.”

Distributors also had so-called “867 data,” which broke out sales to their downstream customers by

zip code and type of outlet. But Distributors weren’t the only ones who had access to 852 and 867

data. Through fee-for-services and other similar arrangements, the Distributors sold the 852 and 867

data to the Manufacturers, which allowed the Manufacturers to see the flow of their drugs further

down the supply chain. 33 Distributors and Manufacturers also entered into “chargeback” agreements


31Walgreens 2013 MOA (Ex. 17, WAGMDL00490963-WAGMDL00490978; Ex. 18, WAGMDL00387975-
WAGMDL00387982; Ex. 19, WAGMDL00387653-WAGMDL00387974) at WAGMDL00490978
32   Ex. 20, Deposition of Thomas Schoen, 59:11-60:2.
33   See Ex. 191, [JAN-MS-01117436]; Ex. 234.

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pursuant to which Manufacturers agreed to reimburse Distributors if Distributors were unable to re-

sell the drugs they had purchased at a particular price. 34 In order to claim “chargebacks,” Distributors

had to provide Manufacturers with details about their shipments to their downstream customers,

including pharmacies, hospitals, and other dispensers. The Distributors provided chargeback data to

the Manufacturers on a daily basis. Through the chargeback data, the 852 data, and the 867 data, which

included drug, dosage, and package quantity, Manufacturers had access to information regarding the

purchasing patterns of their customers’ customers. They were able to analyze the data and see the size,

pattern and frequency of most orders of their drugs delivered to retail pharmacies and other

dispensers. Moreover, to the extent that Manufacturers sold their drugs to multiple Distributors, they

were able to see purchasing and prescribing patterns through multiple channels. They could see, for

example, that particular pharmacies received their products through multiple distributors.

        The Defendants also had access to information about prescriptions through “Xponent data”

that they could purchase through IQVIA (formerly known as IMS). IQVIA Xponent data provides

information on every opioid prescription filled, tracking the doctor who wrote the prescription and

the drug prescribed. Manufacturers purchased this information from IQVIA in order to assess their

own sales efforts. They could track precisely which doctors were prescribing their drugs and tailor

their marketing efforts accordingly. IQVIA data was the lynchpin of the Manufacturers’ marketing

efforts and, in particular, of the compensation scheme for their sales representatives. Without the

detail in the IQVIA data, the Manufacturers would not have been able to tell which sales

representatives were most effective at their jobs, because they would not have known which doctors

were writing the prescriptions reflected in their sales. Together with the 867 data and chargeback data,

the IQVIA Xponent data allowed the Defendants to see both sides of the downstream transactions



34 See Ex. 191, [JAN-MS-01117436]; Ex. 226; Ex. 235, ENDO-OPIOID_MDL-01056072.; Ex. 74, Seid Dep. Dec. 12,

2018 at 80:11-82:16

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involving their drugs: the shipment from the Distributor to the pharmacy, and the dispensing of

prescriptions written by identified doctors.

         Defendants could also purchase additional data about prescriptions from Pharma Centra. For

example, Pharma Centra was able to provide Endo with detailed information about the reasons

particular      pharmacies         had      refused       to      fill    individual       prescriptions.            See.

[ENDO_OPIOID_MDL_00468003-004]. Manufacturers also received data about the use of Patient

Savings Cards, cards that entitled patients to discounts at the drug store. When a customer used a

Patient Savings Card in connection with an opioid purchase, information about the transaction was

sent to the Manufacturer so that the pharmacy could be reimbursed for the discount.

         In combination, the available data provided Manufacturers and Distributors with powerful

tools for marketing and for monitoring the supply-chain for opioids. The various data streams gave

Defendants who wanted it nearly complete visibility about where the opioids they sold ended up.

Defendants were also able to, and did, hire outside vendors to assist them in analyzing the wealth of

data they received. 35

         Defendants knew about to use this data to detect suspicious orders, but as described below,

almost uniformly declined to do so. On March 13, 2012, for example, Robin Abrams, Vice-President

and Associate General Counsel at Purdue, gave a presentation at an HDMA conference in Orlando,

Florida. The slide-deck from this presentation shows that Ms. Abrams outlined for the HDMA

members in attendance precisely how to use fee-for-service data (e.g., 867 data), IMS (IQVIA) data,

and information from a company’s own sales force for their order monitoring systems. Ex. 87,

[Abrams presentation]. The presentation points out that sharing data gathered within a company on

the sales side – “prescriber programs” that focus on doctors’ prescribing patterns – and on the SOM


35See, e.g., Ex. 74, Seid Fact Dep. 138:15-139:20; Ex. 191, JAN-MS-01117436 (“Based on purchasing behavior, we can now
identify the most valuable individual pharmacies in the marketplace”); see also Ex. 547 (noting that ValueCentric provides
“end-to-end data visibility from the manufacturer to the patient.”)

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side – which focuses on pharmacies and ordering patterns – can assist in detecting diversion. The

presentation notes that sharing of this “signal detection information “[e]nables us to consider

prescriber and pharmacy issues within particular geographic areas.” Id.         It is clear then, that

Manufacturers and Distributors alike were able to monitor where opioids were actually being

dispensed and detect patterns suggestive of diversion.

       Additionally, because the self-distributing Pharmacy Distributors had a vertically integrated

structure, these Distributors in particular had complete visibility into all dispensing level data from

their own pharmacies.
SOM Programs
       Suspicious order management (“SOM”) programs are the means by which Manufacturers and

Distributors carry out (or should carry out) their duties under the CSA. In order to be effective, such

programs “should be documented as a standard operating policy for the company and be distributed

to all relevant employees.” Ex. 1, Rafalski Report Section M; see also Ex. 21, Whitelaw Report. In

order to maintain effective controls against diversion, a SOM policy must begin with vetting new

customers. To this end, a registrant should have “a comprehensive system in place and conduct an

investigation on a customer who will be purchasing controlled substances.” Id. Factors that may be

relevant to investigation of a new customer include: whether the customer has a business plan in place

that demonstrates the legitimacy of the business and provides for compliance with the CSA; past

history of DEA registration and compliance history; state and local licensure compliance; compliance

history with state medical/pharmacy board; affiliation with pain management doctors; percentage of

controlled substance business; other distributors providing control substances; percentage of cash

payments and insurance payments; pharmacy utilization reports; on-site inspection of customer; and

internet search to determine any negative information. Id.; see also Ex. 21, Whitelaw Report.

       Even when customers have been vetted, a SOM policy must identify whether particular orders

from a customer are suspicious. As noted above, under DEA regulation, the term “suspicious orders”

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includes orders of unusual size, unusual frequency, and/or unusual pattern. 21 C.F.R. § 1301.74; see

also Ex. 1, Rafalski Report at Section M; Ex. 21, Whitelaw Report. Although there are numerous ways

to design an effective SOM system, certain factors are integral to the detection of suspicious orders.

These factors include the type of customer and the scope of medical practice; proper identification of

drugs, to identify products with higher risk of diversion; thresholds based on the amount of controlled

substances required by a legitimate customer with a similar business and business model; population

of the region served and frequency of orders being filled from out-of-state; density of the region at

issue; patterns of ordering, both as industry information on the most frequently prescribed drug, as

well as combinations of drugs, and frequency of orders. Ex. 1, Rafalski Report Section M. The system

incorporating these factors should include a procedure and criteria for setting threshold quantities; a

procedure for adjusting threshold quantities; justifications for changes to thresholds, including analysis

of historical orders from the customer, the physician patient population served by the customer and

on-site customer review; compliance review; proper management of the role of the sales department;

identification of the person(s) responsible for reporting suspicious orders to the DEA; and sufficient

due diligence review and documentation to ensure that orders identified as suspicious but subsequently

shipped have been properly cleared. Id.; see also Ex. 22, Kinsey Expert Report at 8. Although

Defendants’ SOMs experts insist that registrants have discretion to design their own SOM programs,

and that there is no one-size-fits-all program, they do not materially disagree that all of the above

factors are all relevant to the determination of whether a particular order is “suspicious.”

        Suspicious order management is part of a larger context of corporate compliance. See Ex. 21,

Whitelaw Rep. at 5-7. Corporate compliance programs have been developed in the context of the

Federal Sentencing Guidelines for Organizations (“FSG”), which set penalties for corporate

malfeasance and criminal conduct, and provide incentives for corporations to implement effective

compliance programs. Id. Comments to the FSG as originally issued established seven criteria for



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effective compliance programs; the existence of such effective compliance programs is a factor in

corporate sentencing, encouraging corporations to establish compliance programs in accordance with

these criteria. The seven elements of effective compliance programs include established compliance

standards and procedures; specific individuals with responsibility to oversee compliance; due care in

the delegation of responsibility; effective communication of compliance standard and procedures to

employees; reasonable steps, including monitoring and auditing systems, to achieve compliance,

consistent enforcement; and, when an offense is detected, reasonable steps to respond appropriately.

See U.S. Sentencing Commission, Guidelines Manual, § 8A.1.2, comment. (n. 3k) (Nov. 1991); Ex. 21,

Whitelaw Report at 7-8. Updates to the FSG have expanded the discussion, and increased the

importance, of corporate compliance to the sentencing guidelines, meaning that corporations that fail

to maintain effective compliance programs are treated more harshly in the assessment of criminal

responsibility. See Ex. 21, Whitelaw Rep. at 9-10. Because the manufacture or distribution of

controlled substances other than as authorized by the CSA constitutes criminal conduct, see 21 U.S.C.

§ 841; see also below at Point I, the FSG standards are relevant to the level of criminal responsibility a

corporation may bear for violations of the CSA.

        Because there are numerous ways to operate an effective SOM program, Plaintiffs have

identified several different models that would identify suspicious orders based on the unusual size

criteria alone, though these models are necessarily over narrow as they do not account for all of the

other disjunctive criteria for identifying suspicious orders.” These models include “Maximum

Monthly, Trailing 6 Month Threshold,” “2x Trailing 12 Month average,” “Extraordinary Order

Method – 3x Trailing 12 Month Average,” “Maximum 8,000 Dosage Units Monthly,” “Maximum

Daily Dosage Units,” “McKesson 8,000 Rule,” and “Maximum Monthly, Trailing Six-month

Threshold (also known as “Common Sense”). See Ex. 1, Rafalski Report; Ex. 25, McCann Report; Ex.

3, Keller Report. As discussed below, the undisputed evidence shows that consistent application of



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any of these systems alone would have identified thousands of suspicious orders in the relevant time

period. Yet, as discussed below, Defendants consistently failed to identify more than a handful of

suspicious orders and failed to report and halt shipment of suspicious orders in the relevant time

period.
                                  ARGUMENT
I.        PARTIAL SUMMARY ADJUDICATION ON DEFENDANTS’ COMPLIANCE WITH
          THEIR CSA DUTIES WILL STREAMLINE THE TRIAL
          Partial summary judgment with respect to Defendant’s compliance with the CSA duties wills

streamline the trial. Although Plaintiffs do not assert any claim under the CSA, Defendants’ violation

of that statute is relevant to several of the claims Plaintiffs do assert. As described herein, a finding

from this Court that Defendants manufactured and/or shipped opioids in violation of the CSA has

consequences for particular elements of many of Plaintiffs’ claims.
          A.     Adjudication that Defendants Violated Their CSA Duties Will Streamline the
                 Presentation of Plaintiffs’ RICO Claims at Trial
          Adjudication that Defendants violated their CSA duties will streamline Plaintiffs’ presentation

of their RICO Claims. The federal RICO statute makes it unlawful for “any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise's affairs

through a pattern of racketeering activity. . . .” 18 U.S.C. § 1962. “’[P]attern of racketeering activity’

requires at least two acts of racketeering activity, . . . the last of which occurred within ten years

(excluding any period of imprisonment) after the commission of a prior act of racketeering activity.”

18 U.S.C. § 1961(5). Accordingly, the elements of a civil RICO claim are: (1) conduct (2) of an

enterprise (3) through a pattern (4) of racketeering activity, and (5) injury to the plaintiff’s business or

property by reason of the violation. Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985); Heinrich v.

Waiting Angels Adoption Servs., Inc., 668 F.3d 393, 404 (6th Cir. 2012); see also 18 U.S.C. § 1964. Summary

adjudication that Defendants have violated the CSA will satisfy the “pattern of racketeering activity”


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elements of Plaintiffs’ RICO claims, obviating the need for Plaintiffs to prove these elements at trial,

and allowing the parties to concentrate on the remaining elements of the claims.

        The RICO statute defines “racketeering activity” to include “any offense involving . . . the

felonious manufacture, importation, receiving, concealment, buying, selling, or otherwise dealing in a

controlled substance or listed chemical (as defined in section 102 of the Controlled Substances Act),

punishable under any law of the United States. . . .” 18 U.S.C.A. § 1961(1)(D). Defendants’ conduct,

described in detail below, constitutes two separate types of felonious violation of the CSA.

        The CSA provides that, “[e]xcept as authorized by this subchapter, it shall be unlawful for

any person knowingly or intentionally - to manufacture, distribute, or dispense a controlled substance

. . . .” 21 U.S.C. § 841(a). Thus, all manufacture and distribution of controlled substances than is not

authorized by the CSA is unlawful. The regulations promulgated pursuant to the CSA define the scope

of what the statute authorizes. See U.S. v. DeBoer, 966 F.2d 1066, 1068-69 (6th Cir. 1992) (rejecting

challenge to conviction under § 841 based asserted vagueness of the statute, because DEA regulation

sufficiently defined defendant’s responsibilities); United States v. Vamos, 797 F.2d 1146, 1151 (2d Cir.

1986) (upholding conviction under § 841 based on standards found in applicable regulations); United

States v. Hayes, 595 F.2d 258, 259 (5th Cir. 1979) (“The purpose of [DEA] regulation is to define the

circumstances in which a physician or pharmacist who is registered to dispense controlled substances

may nevertheless be held to have violated the proscription against manufacturing, distributing or

dispensing a controlled substance contained in 21 U.S.C. § 841); see also United States v. Moore, 423 U.S.

122, 134 (1975) (rejecting argument that “registrants” cannot be prosecuted under § 841).

Accordingly, it is clear that manufacture or distribution in violation of regulations may constitute a

violation of § 841.

        Moreover, § 841 provides for strict penalties, including lengthy prison terms, for the unlawful

manufacture or distribution of Schedule II or Schedule III drugs.             21 U.S.C. § 841(b)(1)(C)



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(prescribing penalty of up to 20 years in prison for violations involving Schedule I or Schedule II

drugs), § 841(b)(1)(E) (prescribing penalty of up to 10 years in prison for violations involving Schedule

III drugs). The opioid drugs at issue here are, or at relevant times were, classified as either Schedule

II or Schedule III drugs. See 21 U.S.C. § 812. The penalties prescribed are sufficient to demonstrate

that these offenses are “felonious” and thus qualify as RICO predicate acts. 36

         Defendants violated at least two separate provisions of the CSA, such that their manufacture

or distribution of Schedule II or Schedule III opioids was felonious. 37 First, as described in detail

below, Defendants manufactured and distributed opioids without maintaining “effective controls

against diversion.” See 21 C.F.R. § 1301.74. This included failing to design and operate a system for

identifying suspicious orders, failing to report suspicious orders to the DEA, and/or failing to halt

suspicious orders pending investigation to determine whether diversion was likely. These violations

of § 1301.74 rendered Defendants’ manufacture and distribution felonious under § 841.

         In addition, the CSA also makes it unlawful to “furnish false or fraudulent material information

in, or omit any material information from, any application, report, record, or other document required

to be made, kept or filed under the [CSA].” 21 U.S.C. § 843(a)(4)(A). As this Court previously

recognized, “furnishing false information as alleged may constitute concealment.” 38 To the extent

that, as described below, Defendants failed to report to the DEA orders they knew or should have

known were suspicious, they either furnished false information or omitted material information from

the reports they provided. Similarly, to the extent that Defendants reported suspicious orders, but

36 Indeed, the recent criminal conviction of several Insys executives confirms that violations of § 841 constitute RICO

predicate acts. The executives were convicted under the RICO statute; the verdict form demonstrates that violations of
the CSA were among the predicate acts on which some of those convictions were based. Ex. 23. Moreover, the criminal
complaint confirms that violations of § 841 formed a portion of the government’s case. Ex. 24.
37It is not unduly harsh to recognize Defendants’ unlawful conduct for what it was – illicit drug dealing “under the patina
of legitimate authority.” See Southwood Pharmaceuticals, 72 FR 36487-01, 36500, 2007 WL 1886484. That is precisely how
the DEA described the conduct of the pharmacies to whom Southwood Pharmaceuticals distributed hydrocodone and on
account of which it lost its registration.
38
  Report & Recommendation at 46. Plaintiffs’ reserve their right, at trial and in post-trial motions, to submit evidence
and argue that the RICO Defendants were aware of and refused to report suspicious orders.

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omitted from their reports the fact that the suspicious orders had been shipped without any due

diligence investigation, their reports again omitted material information.

        As described below, the undisputed evidence shows that Defendants violated the CSA – and

thus unlawfully manufactured and distributed controlled substances – not once or occasionally, but

repeatedly and habitually. Their violations were systemic, occurring over and over again. Although

the DEA may deem “substantial compliance” with its regulations, rather than “strict compliance,” to

be sufficient, see 21 C.F.R. § 1301.71, the evidence shows that Defendants’ failures to meet their

obligations were so pervasive as to preclude a finding that they were in “substantial compliance.” For

this reason, the undisputed evidence establishes both the “pattern” and the “racketeering activity”

required for Plaintiffs’ RICO claims.
        B.      Adjudication that Defendants Violated Their CSA Duties Will Streamline the
                Presentation of Plaintiffs’ Nuisance and Negligence Claims at Trial
        Determination that Defendants’ violated the CSA is also important for, and will streamline

the trial with respect to, Plaintiffs’ nuisance claims.   Both Plaintiffs bring claims for statutory public

nuisance. See Summit TAC at Count Five; Cuyahoga TAC at Count Five. As to Summit, this claim

was upheld by Magistrate Judge Ruiz [Doc. 1025 at 66-68] and this Court. [Doc. 1203 at 30-31].

Under Ohio law, nuisances are defined as including that “declared by statutes to be a nuisance.” O.R.C.

§ 3767.01(C)(1). The Ohio Revised Code further provides that the “violation by a... person of any

laws of Ohio or of the United States of America... controlling the distribution of a drug of abuse... is

hereby declared to be inimical, harmful, and adverse to the public welfare of the citizens of Ohio and

to constitute a public nuisance.” O.R.C. § 4729.35. Opiates are “a drug of abuse”.                 O.R.C.

§§ 3719.01(R), 3719.011. The CSA and its implementing regulations are “laws... of the United States

of America” controlling the distribution of opioids which are a “drug of abuse.” See 21 U.S.C. §§ 801-

971 (2006); 21 C.F.R. §§ 1300-1321 (2009). Undisputed violations of the CSA set forth herein

constitute a nuisance under O.R.C. §§ 3767.01(C)(1), 3719.01(R), 3719.011, 4729.35. Because there is


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not a factual dispute over whether the Defendants violate the CSA, it would be an unnecessary waste

of trial time detailing the evidence of those violations set forth herein.

         Similarly, Defendants’ violations of the CSA are also significant to Plaintiffs’ common law

absolute public nuisance claims. Both Plaintiffs bring this claim. See Summit TAC at Count Six;

Cuyahoga TAC at Count Six. Under Ohio common law, a public nuisance is “an unreasonable

interference with a right common to the general public” and an “unreasonable interference includes...

conduct that is contrary to a statute, ordinance, or regulation.” Cincinnati v. Beretta U.S.A. Corp., 2002-

Ohio-2480, ¶¶ 8-9, 95 Ohio St. 3d 416, 418–19, 768 N.E.2d 1136, 1142 (quoting Restatement (Second)

of Torts, § 821B). Claims of “statutory or regulatory violations involving public health or safety,” are

common examples of conduct constituting a common law public nuisance. Cincinnati v. Beretta, supra.

The CSA violations proven here are violations of law which constitute an unreasonable interference

with public rights under the Section 821B test in Cincinnati v. Beretta supra. Like the statutory public

nuisance claims, presentation of the evidence of the Defendants’ undisputed CSA violations is

unnecessary here, and the trial can be streamlined if this Court grants this motion. 39

         The CSA violations also play a key role in Plaintiffs other common law claims. For example,

regarding Plaintiffs’ negligence claims, [see Summit TAC at Count Seven; Cuyahoga TAC at Count

Seven] the CSA and its implementing regulations provide a standard of care for the underlying

common law duty by establishing how a reasonable manufacturer or distributor of dangerous drugs

would and should behave under the circumstances. 40 And, as for Plaintiffs’ conspiracy claims, [see

Summit TAC at Count Eleven; Cuyahoga TAC at Count Eleven], this Court has found that the same

39In addition, Defendants also claim that their activities alleged were sanctioned by law which is defense to a common law
nuisance claim. See Doc. 491-1 at 29-30 and Doc. 499-1 at 44-45. This defense is not available when Defendants’ conduct
actually is contrary to the law supposedly sanctioning it. See Doc. 654 at pp. 11-12. Thus, resolving the issue of CSA
compliance will remove the need for evidence on this defense at trial.
40See Eisenhuth v. Moneyhon, 119 N.E.2d 440 (Ohio 1954) (holding legislative enactments, including administrative rules,
and judicial decisions may establish a standard by which defendant’s duty is measured); see also Kooyman v. Staffco Constr. Inc.,
937 N.E.2d 576 (Ohio Ct. App. 2010) (violation of an administrative rule may establish standard); Chambers v. St. Mary’s
Sch., 697 N.E.2d 198 (Ohio 1998) (violation of an administrative rule is admissible as evidence of negligence); Stephens v.
A-Able Rents Co., 654 N.E.2d 1315 (Ohio Ct. App. 1995) (regulations are admissible as bearing on violations of duty).

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illegal conduct constituting a statutory public nuisance would state a claim for civil conspiracy. Doc.

1203 at p. 21. The trial of these claims would be also be streamlined by this Court granting partial

summary judgment that the Defendants’ conduct violated the CSA and its implementing regulations.
II.     THE UNDISPUTED EVIDENCE SHOWS THAT, AS A MATTER OF LAW,
        DEFENDANTS FAILED TO COMPLY WITH THE CSA WITH RESPECT TO
        OPIOID ORDERS SHIPPED INTO SUMMIT AND CUYAHOGA COUNTIES
        As set forth in Plaintiffs’ Memorandum in Support of Plaintiffs’ Motion for Partial Summary

Adjudication of Defendants’ Duties under the Controlled Substances Act (“CSA Duties Mem.”), in

exchange for the privilege of manufacturing and/or distributing controlled substances, Defendants

are required by law to provide “effective controls and procedures to guard against theft and diversion

of controlled substances.” See CSA Duties Mem. at 3; see also 21 U.S.C. § 823; 21 C.F.R. § 1301.74. In

order to provide such controls, Defendants must design and operate a system to identify suspicious

orders of controlled substances (the “identification duty”); to report to the DEA suspicious orders so

identified (the “reporting duty”); and to decline to ship an order identified as suspicious unless,

through due diligence, the registrant is able to determine that the order is not likely to be diverted into

illegal channels (the “no-shipping duty”). Masters Pharmaceutical, 861 F.3d at 212-213; see also Southwood

Pharmaceuticals, 72 FR 36487-01, 36500,. See generally CSA Duties Mem.

        The evidence that Plaintiffs have gathered shows that there is no genuine issue of fact as to

whether Defendants violated the CSA; rather, the undisputed evidence shows that each of the

Defendants repeatedly and consistently manufactured, sold, and/or shipped opioids in violation of

their CSA obligations. This evidence includes Defendants’ internal documents concerning their SOM

programs; Defendants’ communications with the DEA; and Plaintiffs’ expert report analyzing the

Defendants’ SOM programs and their compliance with the CSA. See Ex. 1, Rafalski Report; Ex. 25,

McCann Report; Ex. 21, Whitelaw Report; Ex. 3, Keller Report. It also includes admissions by

Cardinal, McKesson, Walgreens, Mallinckrodt, and CVS that they failed to comply with their CSA

obligations. Together, this evidence shows that Defendants failed to maintain effective controls

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against diversion, either because they failed to design and operate a system for identifying suspicious

orders, because they failed to report suspicious orders to the DEA, and/or because they failed to halt

shipments of suspicious orders pending investigation. As described below, in some instances, or for

some time periods, Defendants had no system in place for detecting suspicious orders; in others,

Defendants had a system but did not follow it (thus breaching their obligation to “operate” their

system). In some instances, Defendants failed to report any suspicious orders, or any meaningful

number of such orders to the DEA. For others, or during other time periods, Defendants failed to

halt shipment of orders pending investigation. The evidence also shows that DEA repeatedly found

that Defendants were not complying with their legal duties. See,e .g. Ex. 10, Prevosnik Dep. Based on

this evidence, no reasonable factfinder could conclude that Defendants substantially complied with

their CSA obligation to maintain effective controls against diversion. For this reason, the Court can

and should rule, as a matter of law, that Defendants failed to comply with their duty under the CSA

to “maintain effective controls against diversion.”
       A.      Mallinckrodt Failed to Comply with Its CSA Duties to Maintain Effective
               Controls against Diversion
       Between 2006 and 2014, more than 2.3 billion (2,363,328,618) morphine-milligram equivalents

(“MMEs”) of opioids manufactured by Mallinckrodt (including its subsidiary, SpecGx) were sold in

Summit and Cuyahoga counties, representing approximately 25% of the total quantity of opioids

dispensed during that period. McCann Second Supplement at 4. Attributing suspicious orders shipped

by distributors to Summit and Cuyahoga Counties to the manufacturers who made the drug, between

26.2% and 92% of the Mallinckrodt MMEs shipped in Summit and Cuyahoga Counties were part of

suspicious orders, depending on the SOM metric applied. Id. at 9-19. Put another way, Mallinckrodt’s

customers were routinely shipping suspicious orders, and substantial portions of Mallinckrodt’s

business depended on that fact. Among Mallinckrodt’s distributor customers were Harvard Drug

Group, Keysource, Masters Pharmaceutical, Kinray, and Value Drug, all of whom shipped substantial


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amounts of Mallinckrodt products and ultimately had their licenses revoked by the DEA. See Ex. 26,

S. Becker Deposition Ex. 33 (June 15, 2010) (DEA Press Release re Harvard’s suspension); Ex. 27, S.

Becker Deposition Ex. 36 (Sept. 15, 2015) (DEA Notice of Decision & Order re Masters); Ex. 28, S.

Becker Deposition Ex. 38 (Jun. 10, 2011) (Press Release re KeySource license suspension); Ex. 29, S.

Becker Deposition Ex. 37 (Dec. 23, 2016) (DOJ Press Release re civil penalty levied against Cardinal);

Ex. 30, S. Becker Deposition Ex. 35 (Jun. 25, 2014) (DOJ Press Release re Value Drug settlement).

As shown below, Mallinckrodt’s failure to detect that significant amounts of its opioid products were

being shipped under circumstances indicative of diversion was the entirely predictable consequence

of Mallinckrodt’s failure to maintain controls against diversion, to operate an effective SOM program,

and to halt shipments to questionable customers.
                  1.       Mallinckrodt has admitted that it failed to maintain effective controls against diversion
         Mallinckrodt has already admitted, in an agreement with the U.S. Department of Justice and

the Drug Enforcement Administration, that it failed to maintain effective controls against diversion.

See Ex. 31, Administrative Memorandum of Agreement between U.S. Department of Justice, Drug

Enforcement Administration, Mallinckrodt plc and Mallinckrodt LLC (July 10, 2017) (“AMOA”). In

2011, the DEA commenced a multi-year investigation into Mallinckrodt’s failure to maintain effective

controls against diversion. 41 Based on this investigation, the DEA alleged that Mallinckrodt “sold

excessive amounts of the most highly abused forms of oxycodone, 30 mg and 15 mg tables, placing

them into a stream of commerce that would result in diversion.” Ex. 31, AMOA at 1. 42 According

to the DEA, “even though Mallinckrodt knew of the pattern of excessive sales of its oxycodone

feeding massive diversion, it continued to incentivize and supply these suspicious sales,” and “never

notified the DEA of the suspicious orders in violation of the CSA.” Id.

41 Ex. 32, John Gillies 30(b)(6) Deposition at 239:8-11 (Feb. 7, 2019) (the formal DEA investigation began in September

2011).
42 Indeed, the DEA had previously identified Mallinckrodt as the “kingpin within the drug cartel” in a meeting between

DEA and Mallinckrodt in July 2010. See Ex. 548.

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            The DEA’s investigation identified numerous failures by Mallinckrodt to maintain effective

diversion controls, including a failure to (a) “conduct adequate due diligence of its customers,”

(b) “detect and report to the DEA orders and unusual size and frequency,” (c) “detect and report to

the DEA orders deviating substantially from normal patterns” – including “orders that purchased a

disproportionate amount of a substance which is more often abused compared to other products,”

(d) use “chargeback information from its distributors to evaluate suspicious orders,” and (e) “take

sufficient action to prevent recurrence of diversion by downstream customers after receiving concrete

information of diversion of Mallinckrodt product by those downstream customers.” Id. at 2-3. At

the conclusion of this investigation, and in lieu of an enforcement action against its DEA registrations,

Mallinckrodt agreed that from January 1, 2008, through January 1, 2012, “certain aspects of

Mallinckrodt’s system to monitor and detect suspicious orders did not meet the standards outlined in

letters from the DEA Deputy Administrator, Office of Diversion Control, to registrants dated

September 27, 2006 and December 27, 2007.” Id. at 3-4, see Exs. 4, 6. 43

            Mallinckrodt’s expert, Ronald Buzzeo, opines that Mallinckrodt’s admissions of failure to

comply with the CSA are not legally binding, see Ex. 35, Buzzeo Report at 36-37. This legal opinion

is insufficient to create an issue of fact about whether Mallinckrodt complied with the CSA. 44
                     2.       Mallinckrodt’s SOM Program was primarily based on a threshold formula
            From its inception, the Mallinckrodt SOM program was based on a threshold formula that

compared the size of orders from distributors against the average size of previous orders for either a

12- or 18-month time period. See Ex. 34, K. Harper Deposition at 83:24-84:3 (prior to 2003, the SOM

program consisted of “an algorithm and some other factors.”); see also Ex. 36, J. Rausch Deposition at

194:3-10 (the algorithm was part of the computer code for the order entry system, known as JD

43   See also Ex. 34, Harper Depo. Tr. 453:15-454:6.
44Mr. Buzzeo also contends that Mallinckrodt’s SOM program as designed was compliant, but does not assess how
Mallinckrodt actually implemented it or whether Mallinckrodt ever identified or halted suspicious orders. Again, Mr.
Buzzeo’s failure to offer opinions on these topics prevents his opinion from creating a genuine issue of material fact.

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Edwards or JDE, an Enterprise Resource Planning (“ERP”) software platform). According to

Mallinckrodt’s written policies—the first of which was drafted in 2008—Mallinckrodt initially used a

2x multiplier relative to the prior 12-month average in its formula. See Ex. 37, Mallinckrodt DEA

Compliance Procedure, Controlled Substance Suspicious Order Monitoring, Draft 2 (May 13, 2008).

However, Mallinckrodt later increased this formula to a 3x multiplier to reduce the number of peculiar

orders identified because of the amount of orders it had to review. Ex. 34, K. Harper Depo. 321:11-

25 (justifying moving from a 2x to 3x formula because the peculiar order report was “too lengthy”

and was creating too much of an “administrative burden”). This threshold formula was the foundation

for Mallinckrodt’s SOM program: if an order did not exceed the threshold set by Mallinckrodt’s

numeric formula, it was not flagged as “peculiar” and therefore not examined at all. See Ex. 36, J.

Rausch Depo. at 194:3-23 (confirming that if an order was not flagged by Mallinckrodt’s algorithm, it

was not examined, and acknowledging that if there were gaps or faults in the algorithm, it was possible

for problematic orders to get through); Suspicious Order Monitoring Program No. C/S Comp 3.0,

(Oct. 29, 2010) Ex. 38, MNK-T1_0000264260 (establishing threshold for identifying “peculiar” orders

and setting forth procedure for reviewing and classifying peculiar orders as “suspicious” and elevating

these orders to DEA report status).

        According to the DEA, Mallinckrodt’s own compliance department, and an independent

consultant Mallinckrodt retained to review its SOM program, Mallinckrodt’s reliance on rigid numeric

formulas was inconsistent with maintaining effective controls against diversion. The DEA’s 2007

letter had made clear to Mallinckrodt and other registrants that relying on rigid formulas was

insufficient:
        Registrants that rely on rigid formulas to define whether an order is suspicious may be
        failing to detect suspicious orders. For example, a system that identifies orders as
        suspicious only if the total amount of a controlled substance ordered during one
        month exceeds the amount ordered the previous month by a certain percentage or
        more is insufficient. This system fails to identify orders placed by a pharmacy if the
        pharmacy placed unusually large orders from the beginning of its relationship with the

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       distributors. Also, this system would not identify orders as suspicious if the order were
       solely for one highly abused controlled substance if the orders never grew substantially.
       Nevertheless, ordering one highly abused controlled substance and little or nothing
       else deviated from the normal pattern of what pharmacies generally order.
Ex. 39, Rannazzisi Letter (Dec. 27, 2007), MNK-T1_0007146632; see also Ex. 32, J. Gillies 30(b)(6)

Dep. Tr. at 74:17-23 (testifying that Mallinckrodt knew by the date of this letter that adherence to a

rigid formula was inadequate to detect suspicious orders).

       The DEA’s concerns were echoed by Mallinckrodt’s own compliance department. Ex. 36, J.

Rausch Deposition at 194:3-23 (agreeing that if Mallinckrodt’s algorithm was faulty or had gaps that

it was possible that problematic orders could get through); Ex. 34, K. Harper Deposition at 203:1-17

(acknowledging that releasing an order without conducting an investigation or performing due

diligence meant that the order could potentially be suspicious); see also Ex. 40, SOM Team Activity

Log at 3, MNK-T1_0000477889 (quoting an email from Cathy Stewart in July 2009 “[w]e need to

investigate and make sure they’re not just gradually increasing their order quantities to not get caught

by the 2X formula threshold.”). In addition, Howard Davis, a former DEA employee retained by

Mallinckrodt to specifically evaluate its SOM program, was sharply critical of Mallinckrodt’s reliance

on a formula (what Mallinckrodt referred to as an “algorithm”), and even went so far as to state that

by doing so, Mallinckrodt “would be unnecessarily exposing itself to potential liability.” Ex. 41,

Memorandum from Howard Davis to Karen Harper, Suspicious Order Monitoring Program No. C/S

Comp 3.0, (Nov. 2, 2010), MNK-T1_0000269399. In short, Mallinckrodt was well aware—from

multiple sources—that relying primarily on a rigid formula was inadequate, but it chose to do so

anyway.
               3.      Mallinckrodt’s SOM program failed to detect suspicious orders and report them to the DEA
       Between 2003 and 2011, Mallinckrodt shipped more than 53 million orders of opioid products.

During this time period, Mallinckrodt’s SOM formula—such as it was—identified 37,817 orders as

potentially suspicious (or “peculiar” in Mallinckrodt’s terminology).           But in this same period,



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Mallinckrodt appears to have stopped—at most—33 orders and reported them to DEA. These

numbers speak for themselves: it is inconceivable that at the height of the opioid crisis, Mallinckrodt

encountered only 33 suspicious orders out of 53 million. These numbers are unsurprising, however,

in light of the evidence regarding Mallinckrodt’s implementation of its SOM program.

       First, it is undisputed that Mallinckrodt shipped orders prior to completing the due diligence

on those orders. See Ex. 42, Email from James Rausch to Karen Harper and George Saffold Re

Suspicious Order Monitoring Program (June 9, 2010), MNK-T1_0000279153; see also Ex. 34, Harper

Dep. Tr. 199:24-200:10, (admitting that Mallinckrodt “did not always perform due diligence on

peculiar orders before shipping them”). Shipping orders without due diligence in and of itself indicates

a failure to maintain effective controls against diversion, and is in direct violation of DEA guidance

from the December 27, 2007 Rannazzisi letter. Ex. 39, MNK-T1_0007146632 While Mallinckrodt

claims that it determined, after the fact, that none of these orders were suspicious, this convenient

coincidence cannot constitute effective diversion controls. Mallinckrodt’s director of compliance,

Karen Harper, conceded that the failure to complete due diligence prior to shipping the order meant

that suspicious orders could have been shipped. See Ex. 34, K. Harper Deposition at 203:1-17. Just

as drunk driving is clearly reckless regardless of whether anyone is injured, shipping potentially

suspicious orders is clearly contrary to maintaining effective diversion controls, regardless of whether

any of the orders are ultimately deemed likely to be diverted.

       Second, maintaining effective controls against diversion also requires, at a minimum,

identifying orders of unusual size, frequency, or that deviate substantially from normal patterns. Ex.

39, Rannazzisi Letter (Dec. 27, 2007), MNK-T1_0007146632. Nevertheless, both Mallinckrodt’s

internal communications and witness testimony demonstrate that from 2008 through 2009,

Mallinckrodt’s suspicious order monitoring program consisted solely of verifying DEA 222 forms—

i.e., verifying that the customer had a valid DEA registration and had accurately notified the DEA of



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the order. Ex. 43, Email from Karen Harper to John Adams et al. Re Suspicious Order Monitoring

Training Notes from Bulk Narcotic Sales Meeting Presentation (Jun. 6, 2008), MNK-T1_0000419956;

see also Ex. 36, J. Rausch Deposition at 139:14-140:9 (other than verification of the 222 forms

Mallinckrodt did not have a suspicious order program in place between fall of 2008 and 2009). In

other words, during the 2008-2009 time period, Mallinckrodt discontinued use of its threshold formula

and completely failed to evaluate whether the orders it was filling were of unusual size, frequency, or

deviated substantially from normal patterns. Mallinckrodt’s former director of security, William

Ratliff, acknowledged that this practice—relying solely on DEA 222 forms—was inadequate. See Ex.

44, W. Ratliff Deposition, 242:2-9 (Dec. 19, 2018) (agreeing that it would not be proper to rely solely

on registration status and the 222 form in determining whether to ship an order).

       Finally, the sales force—the national account managers (“NAMs”) responsible for generic

opioid sales—were given key roles in investigating and clearing suspicious orders. According to Karen

Harper, the NAMs were supposedly the “eyes and ears and boots on the ground” for the compliance

department. See Ex. 34, K. Harper Deposition at 59:15-16. But this assignment of roles and

responsibilities ignored that the compensation scheme for NAMs was weighted heavily to favor sales

over compliance. The bonuses for NAMs were largely based on sales volume, and could exceed six

figures for productive account managers. See Excel Spreadsheet showing National Account Manager

bonus payments, Ex. 45, MNK-T1_0000315995. In contrast, there is nothing in the record indicating

that NAMs were evaluated based on their compliance responsibilities, or that NAMs were ever

penalized for failing to stop suspicious orders. In fact, NAMs were viewed by some employees as

“advocates” for their distributor customers, as opposed to watchdogs with a responsibility for

stopping diversion. See Ex. 46, K. Neely Deposition at 354:21-355:21. Moreover, Mallinckrodt

understood this conflict. See Ex. 47, Meeting Notes from Buzzeo Conference (Oct. 27-30, 2008),

MNK-T1_0000302097 (reporting the “general consensus is that sales reps are not considered a good



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option for on-site investigations and initial review prior to accepting new customers due to their

perceived bias in getting the customer approved for sales revenue purposes”); Ex. 48, Email from

Karen Harper to Eileen Spaulding Re SOM (Sept. 24, 2010), MNK-T1_0000280260 (noting the

“conflict of interest” in having sales personnel involved in determining which orders to ship). Despite

awareness that industry standard was to remove sales personnel from SOM decision-making roles due

to this conflict, Mallinckrodt continued to give NAMs the authority to clear orders. See, e.g., Ex. 47,

MNK-T1_0000302097 (Buzzeo industry conference notes); Ex. 49, MNK-T1_0001521990, Ex. 50,

MNK-T1_0000290934 (examples of NAMs clearing orders in 2011 and 2012).

         Regardless of how Mallinckrodt’s SOM program was supposed to function in theory, the

evidence demonstrates that in practice Mallinckrodt’s reliance on its sales force was contrary to its

obligation to maintain effective controls against diversion.      There are numerous examples of

Mallinckrodt clearing suspicious orders for shipment based on weak justifications provided by the

NAMs to the compliance department. Example of such rationales include:
           •   That a customer was an “established customer,” (Ex. 51, Email from Bill
               Ratliff to James Rausch et al. Re Propoxyphene Napsylate orders for Sovereign
               (Sept 3, 2008), MNK-T1_0000290520);
           •   That a distributor customer had a new downstream customer that would be
               ordering a lot of oxycodone, (Ex. 52, Email from Steven Becker to Karen
               Harper et al. Re Old Bridge account (Oct. 28, 2008)), MNK-T1_0000448888);
           •   That a customer had expanded its customer base to other states, (Ex. 53,
               Email from Victor Borelli to Kate Muhlenkamp (Nov. 14, 2008), MNK-
               T1_0000290502 (noting that new Sunrise Wholesale sales manager is
               “extremely tied into the Florida market”);
           •   That the NAM wanted to keep the “momentum rolling” with a customer, (Ex.
               54, Email from Victor Borelli to James Rausch Re Peculiar order report (Mar.
               23, 2010), MNK-T1_0000297371);
           •   That a customer needed to increase its order volume in order to secure
               favorable pricing, (Ex. 55, Emails from Steven Becker to Penny Myers and
               James Rausch Re HD Smith (May 5, 2010), MNK-T1_0000298906);
           •   That a wholesaler customer’s split order of oxycodone (12,720 bottles on July
               1st and 12,720 bottles on July 2nd) was attributable to higher demand for
               oxycodone at the beginning of the month and that customer had shown
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               “extremely large growth [] on all items, especially this one,” (Ex. 56, Email
               from Victor Borelli to Brenda Rehkop et al. (Jun. 23, 2010), MNK-
               T1_0000560555 (in response to Rehkop asking, “Do you know why they are
               ordering so much oxy? We need an answer that will satisfy the DEA, in [case]
               they have questions in the future.”);
           •   That a customer’s inability to obtain opioids from another source justified
               filling an order many times above historical levels, (Ex. 57, Email from Bill
               Ratliff to Kate Muhlenkamp et al. Re Oxycodone orders (Jun. 4, 2008), MNK-
               T1_0000562682).
       Mallinckrodt’s reliance on its NAMs to help implement its SOM program is particularly

problematic given their cavalier attitude towards Mallinckrodt’s compliance obligations. One of their

most highly compensated NAMs, Victor Borelli, engaged in a telling email exchange with one of his

distributor contacts at Key Source Medical, Steve Cochrane, after Mr. Cochrane had received an

overnight shipment of 1200 bottles of oxycodone from Mallinckrodt. Mr. Cochrane wrote: “Keep’em

comin’! Flyin’ out of here. It’s like people are addicted to these things or something. Oh, wait, people

are . . .” Mr. Borelli responded: “Just like Doritos keep eating. We’ll make more.” Ex. 58, Email Chain

Between Victor Borelli and Steve Cochran Re Oxy 30 (Jan. 27, 2009) (emphasis added), (MNK-

T1_0000559532.) This is the same NAM who would tell customer service representatives “anything

they want to hear just so he can get a sale,” as one of the Customer Service Managers, Cathy Stewart,

warned the Director of Compliance and the Director of Security. See Ex. 59, Email from Cathy

Stewart to Bill Ratliff and Karen Harper Re Sunrise Wholesale (May 20, 2008), MNK-

T1_0000290611. 45

       Steven Becker, another highly compensated NAM, repeatedly testified during his deposition

that he had access to information on problematic distributors, but never reviewed any of it. Ex. 67,



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   Mr. Borelli himself once described his job using the phrase “ship, ship, ship,” and emailed a
distributor client asking them to check their inventories and “[i]f you are low, order more. If you are
okay, order a little more. Capesce?”; and joked that the distributor should “destroy this e mail… Is
that really possible? Oh Well….” See Ex. 60, Email from Victor Borelli to Steve Cochrane, Re. things
(May 20, 2008), MNK-T1_0000506535.


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The distributors in question all received substantial amounts of Mallinckrodt products and ultimately

had their licenses revoked by the DEA. Ex. 26, S. Becker Deposition Ex. 33 (June 15, 2010) (DEA

Press Release re Harvard’s suspension); Ex. 27, S. Becker Deposition Ex. 36 (Sept. 15, 2015) (DEA

Notice of Decision & Order re Masters); Ex. 28, S. Becker Deposition Ex. 38 (Jun. 10, 2011) (Press

Release re KeySource license suspension); Ex. 29, S. Becker Deposition Ex. 37 (Dec. 23, 2016) (DOJ

Press Release re civil penalty levied against Cardinal); Ex. 30, S. Becker Deposition Ex. 35 (Jun. 25,

2014) (DOJ Press Release re Value Drug settlement).
                4.      Mallinckrodt failed to use reasonably available chargeback data despite the fact that such
                        data
        Mallinckrodt’s failure to maintain adequate controls against diversion is particularly egregious

given the detailed information that it possessed, in the form of chargeback data, regarding where its

products were going. As Karen Harper explained, chargeback data “tells Mallinckrodt exactly which

pharmacy to which the drugs were sold, what the DEA registration number is, the pharmacy address,

the quantity, and which drugs they have sold to that pharmacy.” Ex. 34, K. Harper Deposition at

227:13-18. As noted above, the NAMs also had access to this data, which essentially gave Mallinckrodt

visibility into the entire supply chain for its products, from manufacturer to distributor to pharmacies

and other end users. See, e.g., Ex. 61, V. Borelli Deposition at 130:5-136:24; Ex. 67, S. Becker

Deposition at 158:13-18, 161:24-163:1. Using this data would have allowed Mallinckrodt’s compliance

department to see that many pharmacies and pain clinics, particularly in Florida, were purchasing

opioids from multiple distributors, a red flag for diversion. See Ex. 62, G. Collier Deposition at 197:6-

11 & Ex. 63, Collier Ex. 15 (Nov. 11, 2010 email between G. Collier, S. Becker, and V. Borelli, MNK-

T1_000418885) & Ex. 64, Collier Ex. 16 (Sept. 2010) (Summary of customers sourcing more than 2

distributors for Oxy 30, MNK-T1_000418885). Chargeback data would also have revealed that

Harvard, one of Mallinckrodt’s distributor customers, was doing business as a vet supply company

(First Veterinary Supply), and had supplied 12,487 orders of Oxy 15 and Oxy 30 to doctors, 92.4% of


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which went to the state of Florida. See Ex. 67, S. Becker Deposition at 190:4-192:19 & Ex. 15). This

data would also have allowed Mallinckrodt to identify problem pharmacies that had been cut off by

certain Mallinckrodt distributors, and make sure that these pharmacies did not continue to receive

Mallinckrodt products from other Mallinckrodt distributors. By way of example, in October 2010,

one of Mallinckrodt’s distributors, Masters, had identified and cut off a problematic pharmacy (Brooks

Pharmacy). Notwithstanding this action, Brooks continued to receive Mallinckrodt products because

Cardinal, another Mallinckrodt distributor, continued to supply them – in fact, Cardinal appears to

have increased its shipments of opioid products to Brooks in response to the Masters shut-off. See

Ex. 65, Harper Exhibit 29 (Oct. 20, 2011 email from Wayne Corona to Karen Harper re cut-off

pharmacies, MNK-T1_0000311741); Ex. 34, K. Harper Deposition at 417:20-419:12; see also, Ex. 66,

Harper Exhibit 30 (Brooks Pharmacy Monthly Total 15mg & 30mg Oxy “Sales Qty Govt UOM”

2010-2011, MNK-T1_0001519959 & MNK-T1_0001810303).

       Mallinckrodt’s chargeback data goes as far back as 1998. See Ex. 68, MNK-T1_0007965587-

7965588 (chargeback data for 1998-2018 produced by Mallinckrodt in this litigation).              But

Mallinckrodt’s compliance department did not begin to consider specifically utilizing chargeback data

until 2007, and the compliance department did not start evaluating that data until 2009-2010, despite

the relative ease in which MNK could access and evaluate this data. See Ex. 69, email from Karen

Harper to herself (Nov. 18, 2010), MNK-T1_0000280835 (Harper notes indicating that she was

currently working on adding chargeback data analysis to the SOM program); Ex. 34, K. Harper

deposition at 355:22-356:22 and Ex. 70, Karen Harper Ex. 21 (MNK-T1_0007728295 (Harper admits

that in April 17, 2007 email chain, she understood that chargeback data could be used to identify end

purchasers of Mallinckrodt pills); Ex. 34, K. Harper deposition at 360:11-365:10 (Harper admits that

she was told it would be easy to access chargeback data, and that the compliance department was




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offered to be trained on how to access this data by certain employees at Mallinckrodt, but that she did

not take up this offer).
        B.      Purdue Failed to Comply with Its CSA Duties to Maintain Effective Controls
                against Diversion
        Purdue failed to comply with its CSA duties in that it failed maintain and operate a system to

identify suspicious orders, failed to use the data it had available to it to identify suspicious orders,

failed to report suspicious orders to the DEA, and failed to stop shipments of suspicious orders

pending investigation.

        Four years after the introduction of Oxycontin in 1996, Purdue created its first suspicious

order monitoring system. Recognizing, in 2000, that it was “[r]equired by the DEA to have such a

system in place,” Purdue drafted its first suspicious order standard operating procedure (SOP), and

placed the burden of identifying suspicious orders on their National Accounts department, Ex. 72.

Purdue received internal warnings that “National Accounts primary function is to sell, not police

orders.” Ex. 72. Purdue received the additional internal warning that National Accounts “receives data

that is a month old,” and any review “would be well after the shipment . . . [and] there is no real time

data available to [National Accounts] so that [they] might participate in the decision process to release

an order.” Id. Despite the warnings, Purdue’s suspicious order monitoring system was eventually

designed to alert Steve Seid, Executive Director of National Accounts & Trade Relations, in the “event

orders [were] out of normal parameters” to approve or deny the shipment of any suspicious orders.

Ex. 73. Until 2009, Steve Seid was the only person responsible for determining whether suspicious

orders should be released, and in 2009 Purdue added just one more individual to assist in deciding if

orders should be released. Ex. 74 & Ex. 75.

        The system Purdue put in place was, in any event, wholly inadequate to guard against diversion.

The suspicious order monitoring system is a part of Purdue’s Finance & Accounting SOPs. Purdue’s




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SOP 7.7 creates a system to disclose suspicious orders of controlled substances, and lists as

considerations in determining whether or not to release an order the following factors:
       The explanation for the order received from the customer; The customer’s existing
       credit line; Purdue’s credit line insurance limits; The customer’s payment history; and,
       Any recent business developments that may have arisen since the customer’s last credit
       review.
Ex. 88 (PPLPC004000119321). Thus, the focus of the system was on financial considerations, not on

the prevention of diversion.

       The application of a financially motivated suspicious order monitoring system allowed Purdue

to justify releasing a suspicious orders placed by Anda totaling $3,432,000 one of which was

“$2,050,000 with a very significant order of 80 mg product.” Ex. 77. Although Anda had “operated

successfully with an $800,000 line of credit,” for two years the orders were released because Anda was

“part of Watson they are okay financially and [Purdue] can justify a $5.0mm exposure.” Ex. 77.

Purdue’s Executive Director of National Accounts & Trade Relations, Steve Seid, had responsibility

to release orders flagged as suspicious, and in his due diligence for the Anda orders he was informed

merely that “Anda had seen a rise in demand particularly at the Ohio facility” with 80mg having

averaged 200-300 in the November to February period per month jumping to 425 in April and 876 in

March. Ex. 77. As the person solely responsible for releasing or stopping orders flagged as suspicious,

Steve Seid not only approved the release of suspicious orders but did so very quickly. Ex. 74, Ex. 75,

Ex. 78, Ex. 79, Ex. 80, Ex. 81, Ex. 82, Ex. 83 and Ex. 84.

       Outside of its so-called “suspicious order monitoring system,” however, Purdue had the

information it needed to identify and halt suspicious orders before they were shipped. Purdue entered

into agreements with distributors called either Fee for Service Agreements (FFS) or Distribution

Service Agreements (DSA), whereby Purdue paid its distributors to provide chargeback data and

852/867 data. (Ex. 85, PPLPC004000344802; Ex. 391, PPLP003430436; Ex. 391, PPLP003430439;

and PPLPC00400317962). Chargeback data and 852/867 data provide details of the sales and


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distribution of Purdue’s opioids from the distributor to individual pharmacies, hospitals and other

dispensers. (Ex. 85, PPLPC004000344802; Ex. 391, PPLP003430436). More specifically, through the

FFSs and DSAs Purdue received the data of what Purdue’s customers had sold to their customers.

Ex. 89. Through chargeback data, which included drug, dosage, and package quantity, Purdue had

access to information regarding the purchasing patterns of their customers’ customers. Purdue

conducted weekly reconciliations with the chargeback data. Ex. 90 and Ex. 91. Purdue used ValueTrak

to analyze the chargeback data, which gave Purdue visibility of the size, pattern and frequency of most

orders of Purdue’s opioids delivered to retail pharmacies and other dispensers. Ex. 74.

       Because of the FFS and DSA agreements, Purdue had 93% visibility of its opioids to the

pharmacies receiving OxyContin. Ex. 92. Although Purdue’s visibility varied at times it was first 93%,

at other times 97%, but it was always 90% or better. Ex. 92 and Ex. 93. Using the visibility provided

by chargeback data, Purdue instituted SOP 007 in 2009. Ex. 92. SOP 007 created a system of collecting

chargeback data as well as data from IMS/IQVIA, and notes and emails, and generating reports for

review by the Order Monitoring System (OMS) committee every quarter. Ex. 94.

       In addition to dosage and sales data, the OMS committee had access to savings card

information, which allowed the committee to see individual prescribers whose prescriptions were

being filled at particular pharmacies. Ex. 94. Although the savings card information did not always

show the volume of prescriptions filled for an individual prescriber, it did indicate to Purdue which

prescriptions were filled for “Region 0” prescribers at a particular pharmacy. Ex. 94. Region 0

prescribers were prescribers suspicious enough that Purdue’s sales forces was prohibited from calling

on them. Id.; Ex. 288, PPLP004035073-7; Ex. 96. As early as 2002, Purdue was evaluating suspicious

prescribers on a monthly basis using Xponent data. Ex. 96. The top 200 prescribers were evaluated to

determine outliers based on an increase of prescriptions of more than 50% in the current six-month

history versus the previous six-months, if more than 25% of prescriptions are paid for with cash or



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more than 75% of prescriptions are for either 40mg or 80 mg strengths of OxyContin. Ex. 96. Between

savings card information and Xponent data, Purdue was able to create a list of Region 0 prescribers

who were “considered to be potential diverters.” Ex 74 and Ex. 75. But Purdue did not report these

potential diverters or do anything to cut off their supply of opioids.

        Pursuant to SOP 007, suspicious orders would be flagged as a result of algorithms applied to

the chargeback data received from Purdue’s authorized distributors concerning approximately 42,000

to 50,000 pharmacies, dispensers and other outlets. Ex. 93. Of all customers of any of Purdue’s

distributors, it appears that as of 2012, 365 were reviewed for referral to the DEA. Ex. 93 and Ex. 87.

Of the 365, 290 were reported in May of 2011 in an attempt to market OxyContin’s new “tamper-

resistant” formulation. Ex. 87. Those 290 pharmacies reported to the DEA comprised “all outlets

with at 50% decline and $350,000 in annual sales” of OxyContin post-reformulation. Ex. 87.

        Regardless of what it reported, however, Purdue shipped the orders in any event. Mark Geraci,

the Vice President and Chief Security Officer from 2009 to present, could recall only one instance in

which an order was cut of blocked due to size, frequency or pattern. Ex. 97.
        C.      Teva Failed to Comply with Its CSA Duties to Maintain Effective Controls
                Against Diversion
        As of September, 2012, Teva had no written suspicious order monitoring system in place, and

had, to the point, never had one. Ex. 35. Indeed, prior to 2012, Teva had never reported a suspicious

order to the DEA. In 2012, apparently concerned about heightened DEA vigilance and inspection of

the opioid distributors’ SOM systems, Teva hired Ronald Buzzeo and Cegedim to perform a review

of Teva’s SOM system. Their September 2012 report is starkly critical, calling Teva’s existing SOM

system “rudimentary” and noting, among other things, Teva had no written SOM procedures in place,

and had not reported a single suspicious order up to that point. Ex. 98.

        Ultimately, Teva decided not to hire Buzzeo or any other third party consultant to design and

operate the SOM system, but rather decided to do it in house. Their purported reason was that Buzzeo


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had a cloud-based system, and that Teva had concerns about security of the system. The main reason,

however, appears to have been to save on costs. Ex. 99. Instead, in early 2013, Teva hired Kevin

Kreutzer from AmerisourceBergen to run its SOM program and design a new system. Kreutizer was

quickly fired, after just 90 days, when he contacted a downstream customer about a potentially

suspicious order. Ex. 100. Teva next hired Joe Tomkiewicz in January 2014, also from

AmerisourceBergen, to design Teva’s program, even though he does not even have a college degree.

Ex. 8. Tomkiewicz testified that just before joining Teva, he had been visited at his home by DEA

agents on two occasions, where they advised him to get a lawyer presumably with regard to an

investigation they were conducting into AmerisourceBergen’s SOM program and opioid diversion.

Tomkiewicz also interviewed with the U.S. Attorney’s office in Philadelphia the month he joined Teva,

but he professed at his deposition he did not remember details about the DEA visits or the interview.

Ex. 8.

         Tomkiewicz ultimately designed an SOM program which he coined “DefOps,” which means

“Defensible Operations,” which Tomkiewicz admitted was named that way because it was intended

to be a system defensible to keep Teva out of trouble with the DEA and because it “sounded good.”

Ex. 8. The written SOPs for the system were approved in August 2014, nearly two years after the

Buzzeo report stated Teva needed to have written procedures in place. Ex. 101, Ex. 102, Ex. 103, Ex.

104, Ex. 105, Ex. 106, Ex. 107, Ex. 108, Ex. 109 and Ex. 110. The biggest flaw with the SOPs is that

they kept the key investigatory role in the hands of Teva’s Sales Department, which directed customer

service to contact the customer for initial investigation and to gather information, and to send a sales

rep to the customer if the response was not satisfactory. Ex. 101. The conflicts are apparent from the

Plaintiffs’ rationale above as to why design of the SOM system was kept in-house, and were readily

admitted by Tomkiewicz’s 2017 powerpoint on Teva’s system which references the sales department

under the slide titled “Managing Conflicts.” Ex. 111.



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        Teva’s parent company in Israel, Teva Pharmaceuticals Industries Ltd., audited Teva’s DEA

compliance department in 2015 and prepared a report critical of the department and the SOM

program. Ex. 112. The report stated that Teva investigated 10,000 line orders per month of Schedule

II products; of these 10,000 orders, 95% were automatically released. Only 5% of the orders were

placed on hold to be manually checked. Ex. 8. The report found the DEA Department was in “non-

compliance with DEA requirements” and was at “High Risk” of DEA regulatory action, and the SOM

program was at “Moderate Risk” for such action. Ex. 112. For the SOM program, the report focused

primarily on the fact that suspicious orders were cleared through the decisions of a single person

(Tomkiewicz), which exposed the system to the risk of mistaken releases. Ex. 112. 46 The audit noted

that the SOM program is must clear 5000 pending potentially suspicious line orders per month under

pressure from the sales department to clear those orders quickly so as not to disrupt their customers’

opioid supply chain. That number probably more than doubled after the 2016 acquisition of the

Actavis generic business from Allergan. Plaintiffs have found no attempt by Teva to obtain verification

or an audit from any SOM or other trained outside consultant verifying the design and operation of

their SOM system. It is noteworthy the Teva Ltd. auditor did not interview anyone from customer

service or the sales department, despite their critical role in interfacing directly with the customers

during any investigation of pended SOs.

        The inadequacy of Teva’s system is confirmed by the fact that even after implemented a

written SOMs policy, it reported and stopped very few suspicious orders. Teva report its first ever

suspicious order to the DEA on February 13, 2013. It was an order from a small distributor called

Capital Wholesale Drug. Ex. 113. The suspicious order report states that the order quantity is not

within the customer’s normal purchasing pattern, yet fails to elaborate on the customer’s historic

purchasing quantity. The report provides virtually no information about the SO, nor does it offer to

46 Tomkiewicz narrowly interpreted the report to require a person to stand behind him to determine whether he was

clicking the right button in clearing the order. (Ex. 8, Att. 3, Tomkiewicz Dep. pp. 329-335)

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provide any information from Teva’s investigation, its findings or the reasons the order was

suspicious. This uninformative report is typical of all reports Teva submitted to the DEA.

         From 2013 through 2016, moreover, Teva reported only 6 suspicious orders out of 600,000

total line orders (and not all were opioid products). Ultimately, Teva’s SOM program reported

.00001% of all line orders it was processing. For 2017, Tomkiewicz claimed at least 18 SOs were

reported in 2017, but only five such reports are supported by documentary evidence. Ex. 111.

Similarly, for 2018, Tomkiewicz testified he reported “close to 50” suspicious orders, but only 15

reports are documented. Ex. 8, Ex. 111, Ex. 114, Ex. 116. Teva reported even fewer suspicious

opioids involving opioid products and even fewer involving Schedule II drugs, which in theory should

call for the highest levels of scrutiny.
         D.       The Endo Defendants Failed to Comply with Their CSA Duties to Maintain
                  Effective Controls Against Diversion
         The Endo Defendants include Endo Pharmaceuticals, Inc. (“Endo”), Qualitest

Pharmaceuticals (“Qualitest”), Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical

Holdings, Inc. and its wholly-owned subsidiary, Par Pharmaceutical, Inc. (together, “Par”). Endo was

founded in 1997. 47 Its initial portfolio included Percocet (immediate release oxycodone/APAP pills),

as well as Numorphan (IV form of oxymorphone). 48 Endo later added generic Oxycontin, which it

sold from 2005 to 2006, and Opana/Opana ER (oral oxymorphone, immediate and extended release

versions), which it sold from 2006 to 2017. 49

         In 2012, Endo discontinued its original formulation of Opana ER “for safety reasons” because

it “was subject to both intentional and inadvertent abuse and misuse.” 50 Endo claimed that its



47       Ex. 117 [Campanelli Dep. at 28:9-11].
48        Ex. 118 [Macrides Dep. Ex. 4]; Ex. 119 [Macrides Dep. at 122:10-12, 127:21 – 134:2]; Ex. 117 [Campanelli Dep.
at 44:6 – 45:10].
49       Ex. 117 [Campanelli Dep. at 370:15 – 372:5]; Ex. 120 [Walker Dep. at 482:4-12]; Ex. 118 [Macrides Dep. Ex. 4].
50       Ex. 121; Ex. 122 [Walker Dep. Ex. 23 (E0734) at p. 1].

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reformulated version of Opana ER, launched that same year, was safer than its original reformulation

because it was “designed to be crush resistant[.]” 51 On June 8, 2017, the FDA requested that Endo

withdraw its reformulated Opana ER given the dangerous growth of abuse of that product. 52 The

FDA determined that risks of the reformulated Opana ER outweighed the benefits. 53                         Endo agreed

to the withdrawal. 54

         In 2010, at the height of the opioid epidemic, Endo acquired Qualitest, a major manufacturer,

seller, and distributor of generic opioids. 55 Qualitest’s biggest opioid product was generic Vicodin

(hydrocodone/APAP). 56 Qualitest had been selling opioids since at least 2001. 57 In 2015, Endo

acquired Par, another manufacturer of generic opioids. 58 Prior to its acquisition, Par’s biggest opioid

product was generic Percocet. 59 After the acquisition, Endo consolidated the entirety of its generic

opioid operations (including Qualitest) into Par. 60 Endo remained responsible for its branded opioid

portfolio. 61 During the entire time Endo, Par, and Qualitest were manufacturing and selling opioids,

they failed to maintain effective controls against diversion, which they were legally required to do. 62

51       Ex. 121 [ENDO-CHI_LIT-00008100-101 at 101]; Ex. 122 [Walker Dep. Ex. 23 (E0734) at p. 1].
52        Ex. 122 [Walker Dep. Ex. 23 (E0734) at p. 1]; Ex. 120 [Walker Dep. at 464:13 – 465:15, 467:2-5].
53        Ex. 120 [Walker Dep. at 464:17 – 465:3, 474:21 – 475:6, 488:2-16]; Ex. 122 [Walker Dep. Ex. 23 (E0734) at p. 1].
54        Ex. 120 [Walker Dep. at 435:18 – 435:2]. The FDA asked Endo to cease shipping the reformulated Opana ER
by August 31, 2017. Ex. 120 [Walker Dep. at 474:18-20]. Despite the FDA finding that the risks of the drug outweighed
the benefits, Endo chose not to stop selling it immediately and instead continued to sell it until the end of August 2017.
Ex. 120 [Walker Dep. at 465:16-23, 467:2-15, 468:23 – 469:16, 470:19 – 473:18]; Ex. 123]. In fact, in order to sell as much
of the drug as possible before that date, Endo offered a 20% discount to its wholesalers. Ex. 124; Ex. 120 [Walker Dep.
at 475:20 – 477:24, 479:20-24, 484:2-8, 485:22 – 487:15, 489:2 – 490:21]; Ex. 125. Endo sold over $100 million worth of
Opana ER from the date of the FDA’s advisory committee meeting in March 2017 through August 2017. Ex. 120 [Walker
Dep. at 492:9 – 496:14]; Ex. 126 [Walker Dep. Ex. 28 at E0651.4].
55        Ex. 117 [Campanelli Dep. at 30:21 – 31:4]; Ex. 127 [PAR_OPIOID_MDL_0001593258-275 at 260-261]; Ex.
120 [Walker Dep. at 68:20 – 69:11].
56        Ex. 117 [Campanelli Dep. at 58:15-21, 136:17 – 137:23].
57        Ex. 117 [Campanelli Dep. at 143:22 – 146:20].
58        Ex. 117 [Campanelli Dep. at 31:13-15, 32:4-7].
59        Ex. 128 [Macrides Dep. Ex. 16]; Ex. 117 [Campanelli Dep. at 153:6 – 154:3].
60        Ex. 119 [Macrides Dep. at 82:4-17, 83:12-19]; Ex. 129 [Norton Dep. at 124:11-15]; Ex. 120 [Walker Dep. at 69:6-
1481:23 – 82:1]; Ex. 117 [Campanelli Dep. at 32:8-18].
61        Ex. 120 [Walker Dep. at 25:6-14, 69:6-14]; Ex. 119 [Macrides Dep. at 83:12-19].
62        At all relevant times, Par and Qualitest were “registrants” under the CSA. Ex. 117 [Campanelli Dep. at 32:8-18,
34:11 – 35:1, 136:17-23]; Ex. 119 [Macrides Dep. at 167:1-14, 168:2-6]. Although Endo was not technically a registrant,
because it outsourced the manufacture and distribution of its opioids, it has conceded that it owed a duty to maintain
effective controls against diversion. Ex. 119 [Macrides Dep. at 62:8 – 64:17, 94:5-21]; Ex. 130 [ENDO-OPIOID_MDL-
01500831-936 at 834, 850-851, 920]; Ex. 131 [ENDO-CHI_LIT-00234542-587 at 564-565]. It also represented to the

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                   1.      Endo failed to maintain effective controls against diversion.
           Endo failed to maintain effective controls against diversion because it employed a rigid

“excessive orders” system operated by sales and customer service personnel, never looked to available

data on its customers’ customers, and failed to conduct any meaningful due diligence of its customers.

It never determined any order to be suspicious, nor did it report any orders flagged by its SOM

program to the DEA.

           Until at least mid-2014, Endo’s internal order review system was admittedly a “limited” system

using a rudimentary algorithm that was designed only to identify “excessive” orders from a commercial

perspective, rather than suspicious orders based on unusual volume, frequency, or pattern. 63

Specifically, Endo’s “limited SOM Program” looked at its “buying (wholesalers) customers’ 3 month

and 12 month history and if any order [wa]s above the 3 or 12-month it [went] on hold until it [wa]s

reviewed by Customer Service.” 64

           Endo’s apparent justification for its “[l]imited SOM Program” was that UPS, the DEA

registrant Endo used to process and ship orders, 65 had its own SOM program. 66 Yet Endo and

Qualitest conducted an audit of UPS’s SOM system in 2013 and found that UPS had not reported any

Endo/Qualitest product orders as “suspicious orders” to any agency, did not visit customers, lacked

the functionality to visit or know customers’ customers, and did not utilize chargeback data, trending

analyses, or modify its program based on current diversion trends. 67 Regardless, Endo acknowledges

government, including the DEA, that it would monitor orders and distribution for signs of diversion, including suspicious
orders. Ex. 132 [ENDO-OPIOID_MDL-00451334]; Ex. 133 [ENDO-OPIOID_MDL-01706006-011 at 008-009];
Ex. 131 [ENDO-CHI_LIT-00234542-587 at 564-565]; Ex. 134 [PAR_OPIOID_MDL_0001596408-442 at 408-410]; Ex.
119 [Macrides Dep. at 121:4 – 122:3].
63        Ex. 135 [ENDO-OPIOID_MDL-05969976-988 at 985]; Ex. 120 [Walker Dep. at 31:7-10, 31:24 – 32:2, 34:4-6,
35:7-11, 73:14 – 75:17]; Ex. 136 [EPI000620553-554 at 553].
64         Ex. 137 [ENDO-OPIOID_MDL-01239749-753 at 749]; Ex. 135 [ENDO-OPIOID_MDL-05969976-988 at
985].
65         Ex. 135 [ENDO-OPIOID_MDL-05969976-988 at 976]; Ex. 120 [Walker Dep. at 59:10-19].
66         Ex. 135 [ENDO-OPIOID_MDL-05969976-988 at 976, 985]; Ex. 137 [ENDO-OPIOID_MDL-01239749-753
at 749].
67      Ex. 138 [Norton Dep. Ex. 14 (PAR_OPIOID_MDL_0000376972-973 & attachment; E0588) at E0588.9]; Ex.
139 [PAR_OPIOID_MDL_0000404285]; Ex. 120 [Walker Dep. at 629:15 – 631:16, 633:18 – 634:13, 636:8 – 638:21]; Ex.

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it bears the ultimate responsibility for performing customer due diligence: “The customer relationship,

the customer diligence is with Endo in that case. . . . [T]he ultimate responsibility for the customer

resides with Endo, not with UPS.” 68

         Beginning in May 2014, Endo expanded its algorithm for identifying suspicious orders to

include three order characteristics—quantity, size, and frequency—by class of customer trade. 69 Yet

it does not appear that Endo ever had any SOM-specific SOPs. 70 Nor did Endo ever utilize

chargeback data or IMS/IQVIA data, to which it had access, as part of its internal order review process

for its branded opioids. 71 Endo also never conducted due diligence site visits of its customers, despite

recognizing the importance of such visits. 72

         At all times, Endo’s internal review system was handled by employees in its customer service

department. 73 Endo’s Director of Distribution and Customer Service, Lisa Walker, 74 testified that in

140 [PAR_OPIOID_MDL_0000404096-097 at 095]. See also Ex. 135 [ENDO-OPIOID_MDL-05969976-988 at 983]
(2016 summary of UPS SOM program; “The client needs to assist (as needed) with contacting the customer whose order
is in a pended status, as UPS SCS does not maintain relationships with our client’s customers.”); Ex. 141 [UPSSCS0007432-
433 at 432] (2009 summary of UPS SOM program; “Because UPS SCS does not hold the relationship directly with the
registrants for outbound shipments, it is often not possible for UPS SCS to specifically ‘know our customers’ as
recommended by the [DEA] with regard to SOM. Because of these challenges and UPS SCSs lack of direct contact with
our clients’ customers, UPS SCS is unable to directly profile the entities to whom Controlled Substances and List I
Chemicals are shipped, by conducting routine customer questionnaires, on-site visits, having letters of agreement of
product use for legitimate medicinal purposes, etc.”); Ex. 120 [Walker Dep. at 96:4-14, 251:10-14].
68       Ex. 119 [Macrides Dep. at 544:14 – 545:14]; see also Ex. 142 [ENDO-OPIOID_MDL-05968962-963]. Notably,
at one point, Endo asked UPS whether it could carry out the due diligence on Endo’s behalf, but UPS made it clear it
could not carry out Endo’s “know your customer” duties. Ex. 143 [ENDO-OPIOID_MDL-0000369517]; see also Ex. 141
[UPSSCS0007432-433 at 432]; Ex. 120 [Walker Dep. at 254:13 – 155:3].
69       Ex. 135 [ENDO-OPIOID_MDL-05969976-988 at 985]; Ex. 287 [ENDO-OPIOID_MDL-01334119-124]; Ex.
120 [Walker Dep. at 83:17-20]. Purportedly, this “same SOM program” was to be implemented for Qualitest in July 2014.
Ex. 135 [ENDO-OPIOID_MDL-05969976-988 at 985].
70      Ex. 120 [Walker Dep. at 300:23 – 304:14, 305:19 – 314:2]; Ex. 142 [ENDO-OPIOID_MDL-05948286-292]; Ex.
146 [Walker Dep. Ex. 8 (ENDO-OPIOID_MDL-05950068-072 & attachment; E0674)].
71       Ex. 120 [Walker Dep. at 162:23 – 163:24, 175:6-21, 190:1-5, 635:1-7].
72       Ex. 120 [Walker Dep. at 166:11-12, 168:24 – 169:17, 171:1-21, 173:13-18, 632:24 – 635:7]. Endo’s Director of
Distribution and Customer Service claimed Endo relied on Qualitest and Par to perform site visits and due diligence,
although she admittedly did not know when those site visits began. Ex. 120 [Walker Dep. at 164:9 – 168:22, 631:18 –
632:15, 634:17 – 635:7]. Yet Qualitest’s former head of DEA compliance testified that her group had no responsibility
for Endo’s branded business. Ex. 129 [Norton Dep. at 32:6-9, 346:13-18].
73       Ex. 120 [Walker Dep. at 42:24 – 43:18, 53:5 – 54:10]; Ex. 135 [ENDO-OPIOID_MDL-05969976-988 at 977].
74       Ex. 120 [Walker Dep. at 556:3-7].

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the twenty years she has been at Endo, 75 she does not recall any order being determined to be

“suspicious” by her or her team. 76 Nor does she recall UPS ever flagging an order as “suspicious.” 77

This is despite the fact that tens of thousands of order line items for controlled substances were flagged

under Endo’s internal review system. 78 Endo never blocked shipment of any of these flagged orders. 79

Moreover, neither Endo nor UPS ever reported a suspicious order for Endo’s products to the DEA. 80
                  2.       Qualitest failed to maintain effective controls against diversion.
         Qualitest failed to maintain effective controls against diversion because, until at least the spring

of 2013, it applied SOM review only to “retail” customers, used a rigid formula that did not examine

orders for unusual size, frequency, or pattern or account for class of trade, ignored available data on

its customers’ customers, and failed to conduct any meaningful due diligence. Even after Qualitest

revamped its SOM program in late 2013, it lacked real rigor, independence, and consistency.

         Both prior to and after its acquisition by Endo, Qualitest’s SOM process was severely deficient.

In an August 2008 audit, the auditor, a former DEA official, 81 stated that “[t]he Qualitest system for

reporting suspicious orders to DEA needs to be improved to comply with 21 CF 1301.74.” 82 For

example, Qualitest’s employees were “not aware that in addition to notifying DEA of sales that were

above established thresholds and suspicious, they are expected to report to DEA suspicious orders,



75       Ex. 120 [Walker Dep. at 56:5-11, 555:24 – 556:4].
76      Ex. 120 [Walker Dep. at 54:12-18, 63:16-22, 65:20 – 66:4, 352:6-8]; see also Ex. 119 [Macrides Dep. at 107:1-13]
(“We did not have any orders that we deemed suspicious during th[e] time period [from 1999 to 2019].).
77       Ex. 120[Walker Dep. at 66:19 – 66:2, 352:6-8].
78       Ex. 120 [Walker Dep. at 79:13 – 122:8]; Ex. 134 [PAR_OPIOID_MDL_0001596408-442 at 421-442].
79       Ex. 120 [Walker Dep. at 95:16 – 96:2, 106:6-17, 109:4-10]; Ex. 119 [Macrides Dep. at 99:15 – 100:16, 107:1-17].
80        Ex. 120 [Walker Dep. at 55:5-11] (“Q: Has Endo ever reported a suspicious order for one of its branded products
to the DEA? A: No, we have not.”) (internal objection omitted), 57:12-20, 66:4 – 67:18 (“[N]o, nothing has been – that I
recall, nothing has been reported to the DEA.”), 107:22-24 (“Q: None were cancelled and no one was reported? A: That’s
correct.”), 118:16-24, 352:6-8, 630:15-23; Ex. 139 [PAR_OPIOID_MDL_0000404285]; Ex. 119 [Macrides Dep. at 95:3 –
99:14, 107:10-19].
81       Ex. 119 [Macrides Dep. at 387:17 – 388:4].
82       Ex. 147[PAR_OPIOID_MDL_0000076009-011 at 010].

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even if the sale was declined by Qualitest.” 83 Notably, in 2012, there were at least two occasions in

which “controlled product [was] released that should not have been.” 84

         Even into 2013, Qualitest’s SOM program had multiple deficiencies. 85 The program, which

had been “built in pieces[,]” “only applie[d] to the retail side of the business[,]” despite Qualitest

knowledge that the “DEA requires it to apply to all customers.” 86 Orders were flagged only on the

basis of “historical purchases by an individual customer (thresholds),” and not by size, pattern, or

frequency as required by CSA regulations. 87 The sales department set the threshold amounts and they

were authorized to increase them if requested by the customer. 88 A 2009 Qualitest SOM audit review

found that Qualitest’s employees were simply modifying large orders by dividing them into several

smaller orders to ensure each modified order cleared Qualitest’s SOM thresholds. 89 In other words,

the customer still received the amount of opioids it originally requested, it was merely divided into



83       Ex. 147 [PAR_OPIOID_MDL_0000076009-011 at 010]. See also Ex. 148 [PAR_OPIOID_MDL_0000398174-
191 at 177] (2009 audit noted: ”Each Order Release that is rejected or modified by QT should be sent to DEA as a
suspicious order.”).
84      Ex. 151 [Norton Dep. Ex. 17 (PAR_OPIOID_MDL_0000363469-473 & attachments; E0574) at E0574.24]; Ex.
129 [Norton Dep. at 387:14 – 388:3].
85      See, e.g., Ex. 150 [Norton Dep. Ex. 12 (PAR_OPIOID_MDL_0000018920-18936 & attachments; E0606) at
E0606.14-16]; Ex. 119 [Macrides Dep. at 428:11 – 429:7].
86      Ex. 151 [Norton Dep. Ex. 17 (PAR_OPIOID_MDL_0000363469-473 & attachments; E0574) at E0574.24]; Ex.
129 [Norton Dep. at 288:11-15, 291:3-24, 294:6-14, 386:17 – 387:13, 388:8-18, 389:5-11]; Ex. 150 [Norton Dep. Ex. 12
(PAR_OPIOID_MDL_0000018920-18936 & attachments; E0606) at E0606.14-15] (noting that other classes of trade
were “not evaluated for SOMS”).
87       Ex. 152 [PAR_OPIOID_MDL_0000216198-201 at 199]; Ex. 150 [Norton Dep. Ex. 12
(PAR_OPIOID_MDL_0000018920-18936 & attachments; E0606) at E0606.15] (Qualitest internally acknowledging in
2013 that one of the issues with its current SOM process is that there is “[n]o check for order frequency and pattern
discrepancies”); Ex. 153 [PAR_OPIOID_MDL_0000034190-215 at 201, 209] (in 2/13, Qualitest internally
recommending that its DEA Compliance Team “[i]mplement system solution that identifies orders based on unusual size,
orders deviating substantially from normal pattern and order of unusual frequency[,]” “[c]reate procedures for escalating
exceptions[,]” and “[r]evise and implement a new customer addition”; recognizing need to “[i]mplement a robust
suspicious order monitoring system that guarantees reliability in the legitimacy of our customer base”).
88        Ex. 150 [Norton Dep. Ex. 12 (PAR_OPIOID_MDL_0000018920-18936 & attachments; E0606) at E0606.14-
15]; Ex. 129 [Norton Dep. at 289:19 – 290:6, 297:2-4].
89        Ex. 148 [PAR_OPIOID_MDL_0000398174-191 at 177] (“The review of Order Release Requests showed that
many requests were made for quantities of drugs that were several times greater than the current limit set in the order
monitoring system. In most of those instances, the size of the order was cut down and the order was approved to be
released, with some increase to the limit in the Order Monitoring System.”).

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multiple orders rather than one large order. Yet, Qualitest never reported the size of the original single

order to the DEA as suspicious, as required by CSA regulations. 90 Even Qualitest’s former Director

of DEA Compliance agreed that working with customers to structure their orders so they stay within

the thresholds is “a very bad practice” that “defeats the purpose of the program” and that a company

that does that is “not maintaining effective controls against diversion[.]” 91

         Qualitest also shipped orders that fell within its own established threshold even when it knew

“that the customer had been limited in quantity for the same drug by another wholesaler.” 92 It did

not evaluate chargeback data or other third-party data for SOM. 93 Nor did it conduct rigorous due

diligence of its customers or its customers’ customers. 94 Any site visits or due diligence was carried

out by Qualitest’s sales personnel, rather than compliance staff, 95 which was viewed as a “conflict of

90        Ex. 148 [PAR_OPIOID_MDL_0000398174-191 at 177] (“Although the original order requested a quantity of
controlled substances that was larger than QT was willing to ship to the customer, no report of a suspicious order was
sent to the DEA as required by 21 CFR 1301.74(b).”).
91       Ex. 129 [Norton Dep. at 356:15 – 358:5].
92       Ex. 147 [PAR_OPIOID_MDL_0000076009-011 at 011].
93        Ex. 151 [Norton Dep. Ex. 17 (PAR_OPIOID_MDL_0000363469-473 & attachments; E0574) at E0574.24]
(noting in 2013 that its SOM system “needs to be revamped, all customers added, IMS data and chargeback data
incorporated . . .”); Ex. 129 [Norton Dep. at 258:4-18, 305:2-15, 307:4 – 308:4, 319:20 – 320:15, 342:14-17, 372:13 –
374:15, 388:20-22, 389:5-11]; Ex. 153 [PAR_OPIOID_MDL_0000034190-215 at 209] (2/13 internal Qualitest
presentation recommending that Qualitest start “[u]tiliz[ing] chargeback and IMS data to ‘know your customer’s customer’
” in the first quarter of 2014); Ex. 152 [PAR_OPIOID_MDL_0000216198-201 at 199]; Ex. 150 [Norton Dep. Ex. 12
(PAR_OPIOID_MDL_0000018920-18936 & attachments; E0606) at E0606.16]; Ex. 138 [Norton Dep. Ex. 14
(PAR_OPIOID_MDL_0000376972-973 & attachment; E0588) at E0588.7].
94         Ex. 147 [PAR_OPIOID_MDL_0000076009-011 at 011] (8/08 DEA audit report stated: “Generally speaking,
Jeremy Tatum is responsible for releasing orders for retail pharmacies and doctors where the quantity shipped is above
the established thresholds for the particular drug as established by Qualitest. At the present time, the only information
that Mr. Tatum has to consider when make the decision is the customer history, possible a note or email from the account
representative, or input from the phone sales representative. It is imperative that the Controlled Substance Questionnaire
that has been developed be finalized and put into the system. Without that level of information, Qualitest will be
making the ship/not ship decision with insufficient information.”) (emphasis added); Ex. 151 [Norton Dep. Ex. 17
(PAR_OPIOID_MDL_0000363469-473 & attachments; E0574) at E0574.29] (as of 2013, Qualitest checked customers
once a year to “assure they have a valid DEA registration[,]” despite the “DEA requir[ing] [it] verify that a customer has a
valid DEA registration prior to shipment of any controlled product”; “We need to check registrations more frequently to
limit risk.”); Ex. 152 [PAR_OPIOID_MDL_0000216198-201 at 199-201]; Ex. 154 [PAR_OPIOID_MDL_0000390035-
037 at 037] (discussing 2011 DEA inspection: “DEA then spoke about SOMS at length and also discussed the need to
monitor customers (wholesalers in particular), including our wholesaler’s customers, through periodic audits or on-site
visits. This is not something we are currently doing and another item we will need to work on improving.”); Ex. 129
[Norton Dep. at 253:6-18, 326:4-8, 344:11 – 345:17, 400:9-21].
95        Ex. 152 [PAR_OPIOID_MDL_0000216198-201 at 200] (“Ms. Hernandez stated the only individuals who visit
their customers are from the sales force and not compliance.”); Ex. 153 [PAR_OPIOID_MDL_0000034190-215 at 209]

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interest” by the DEA. 96 Qualitest lacked sufficient SOM-related SOPs until late 2013. 97 Moreover,

“[n]o mandatory, routine DEA training exist[ed] for employees handling controlled substances” and

“[k]nowledge of DEA regulations [wa]s not incorporated in employee’s job descriptions or

performance reviews.” 98         This is particularly egregious considering that approximately 70% of

Qualitest’s business was controlled substances. 99

         Qualitest recognized that failures in its SOM program could lead to diversion of opioids with

“heart-wrenching consequences.” 100 Yet Qualitest itself internally admitted that its SOM program was

“[i]nadequate[.]” 101 It further acknowledged that its SOM program needed to be revamped to address

these deficiencies and that the risks associated with its current program were severe. 102 The DEA

agreed. At a March 2013 meeting with Qualitest, the DEA Staff Coordinator stated that “Qualitests’

[sic] current [SOM] system as explained to him and as seen on their ARCOS data is inadequate to




(2/13 internal Qualitest presentation recommending that Qualitest start “utilizing [an] external audit team” to “[i]mplement
on-site customer audits” in the first quarter of 2014); Ex. 129 [Norton Dep. at 81:7-24]. Indeed, it does not appear that
Qualitest even had a DEA compliance department prior to 2013. Ex. 155 [ABDCMDL00337067-073 at 068] (noting it
had sent a letter to its customers in late 2013 “explaining [its] development of a DEA Compliance Dept. and our SOMS
program . . .”); Ex. 129 [Norton Dep. at 340:10-14] (Qualitest had no manager of the SOM program prior to 9/13).
96        Ex. 150 [Norton Dep. Ex. 12 (PAR_OPIOID_MDL_0000018920-18936 & attachments; E0606) at E0606.15]
(“Retail Pharmacy review and approval is handled by the Sales department. Sales department should not set the threshold
amount or be involved with releasing held orders. DEA views this as a conflict of interest and consider the sales
department as a department that is driven by dollars.”; “No separate/unbiased check of order quantity out side [sic] of
Sales and Marketing departments.”); Ex. 129 [Norton Dep. at 319:2-18].
97         Ex.     156   [PAR_OPIOID_MDL_0000002282-309];             Ex.      151    [Norton     Dep.     Ex.     17
(PAR_OPIOID_MDL_0000363469-473 & attachments; E0574) at E0574.28] (“SOPs need to be created for several
activities related to DEA compliance but more importantly, departmental SOPs need to be evaluated and be made to
incorporate DEA compliance requirements into them. This is a lengthy task based on the number of SOPs that are needed
and the company’s lack of a robust, automated change control process.”); Ex. 129 [Norton Dep. at 341:7-8].
98      Ex. 151 [Norton Dep. Ex. 17 (PAR_OPIOID_MDL_0000363469-473 & attachments; E0574) at E0574.28]; Ex.
129 [Norton Dep. at 391:3-24].
99       Ex. 129 [Norton Dep. at 391:9-12].
100     Ex. 155 [ABDCMDL00337067-073 at 069]; see also Ex. 129 [Norton Dep. at 271:4 – 287:7]; Ex. 150 [Norton
Dep. Ex. 12 (PAR_OPIOID_MDL_0000018920-18936 & attachments; E0606) at E0606.1-6].
101      Ex. 153 [PAR_OPIOID_MDL_0000034190-215 at 197]; Ex. 129 [Norton Dep. at 378:12 – 380:9, 389:15-19].
102     Ex. 151 [Norton Dep. Ex. 17 (PAR_OPIOID_MDL_0000363469-473 & attachments; E0574) at E0574.24]; Ex.
129 [Norton Dep. at 389:21 – 390:25].

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say the least[.]” 103 This was further confirmed by external consultants who reviewed Qualitest’s SOM

program in January 2013: “The consultants concluded that our ‘current SOM program, systems and

procedures do not meet the regulatory requirements[.]’ ” 104

         Qualitest’s purported improvements to its SOM program in late 2013 were nothing more than

window dressing. Although Qualitest claimed it would now require confirmation that its customers

had SOM practices in place to ensure legitimate use of its products, in actuality, even when its

customers’ SOM policies were lacking or raised concerns, Qualitest continued to seek ways to work

with those customers rather than terminating the relationship. 105 Indeed, Qualitest never reported or

ceased distribution for any of its biggest customers or those customers’ customers. 106 It was only

when Qualitest began looking at chargeback data that it found and reported problematic secondary

customers. 107 Even the due diligence process Qualitest implemented in late 2013 was not applied

conscientiously or consistently. For example, orders from large “Tier 1” customers 108 could not be

reported or stopped as suspicious through the process that applied to other customers, but were

instead routed to the Chief Operating Officer (“COO”). 109 Similarly, only the COO had the authority

to terminate Qualitest’s relationship with a Tier 1 customer, whereas the SOM team had the authority

to discontinue shipments of controlled substances to Tier 2 & Tier 3 customers. 110

103      Ex. 152 [PAR_OPIOID_MDL_0000216198-201 at 201] (emphasis added); see also Ex. 129 [Norton Dep. at
259:12 – 260:4].
104     Ex. 157 [Norton Dep. Ex. 15 (PAR_OPIOID_MDL_0000034190, 0001424664-667 & attachment; E1052) at
E1052.2-4, 7-12] (emphasis added); see also Ex. 129 [Norton Dep. at 360:14-22, 382:13-22].
105      Ex. 158 [ENDO-HSGAC_0010594-595 at 594]; [PAR_OPIOID_MDL_0000020898].
106      Ex. 160 [Par’s 3/4/19 Suppl. Resp. to Ps Rogs at response to ROG 32].
107      Ex. 129 [Norton Dep. at 450:4 – 453:16]; [PAR_OPIOID_MDL_0000020898]; [ENDO-HSGAC_0010368];
Ex. 160 [PAR_OPIOID_MDL_0000021256-272 at 268-27]; Ex. 160 [Par’s 3/4/19 Suppl. Resp. to Ps Rogs at pp. 62-63].
108       “Tier 1” customers were customers with a minimum of ten million dollars in overall sales and/or 750,000 dosage
units of controlled substances or List 1 chemical purchases annually. Ex. 163 [PAR_OPIOID_MDL_0001642692-695 at
693].
109      Ex. 163 [PAR_OPIOID_MDL_0001642692-695 at 694]; see also Ex. 147 [PAR_OPIOID_MDL_0000076009-
011 at 010] (8/08 DEA audit noted that Qualitest’s SOP for Suspicious Orders “states that Qualitest Senior Management
will make a determination if a suspicious order is reported to DEA”).
110      Ex. 163 [PAR_OPIOID_MDL_0001642692-695 at 693, 695].

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        Given the severe deficiencies in its SOM program, it is not surprising that Qualitest has been

the subject of several DEA investigations, letters of admonition, civil penalties, and enforcement

actions. 111 Among other things, the DEA found Qualitest records could not account for, and had

deviations of, at least 9 million pills for the period of December 31, 2012 through July 14, 2014. 112
                  3.     Par failed to maintain effective controls against diversion.
        Par failed to maintain effective controls against diversion because it had no effective,

independent SOM program prior to 2015 and, thereafter, operated under the deficient program

Qualitest used.

        Par was selling generic opioids prior to 2010, yet an outside audit dated May 8, 2010

determined that Par had no SOM program whatsoever at that time. 113 Par’s first SOM SOP was not

implemented until April 2012. 114 The 2012 SOP failed to define what a “suspicious order” was or

explain when and how to report suspicious orders to the DEA. 115 It simply stated: “Weekly

replenishment Purchase Orders are analyzed by Account Service Executives verses Customer

provided usages. If quantities are higher than the average transmission it is question. The Buyer is

contacted to review, a written request is asked as to the reason for the increase. It is reviewed to

ensure it is correct and warranted.” 116 In October 2012, the SOM SOP was modified to add a section

on “Reporting Suspicious Criminal Activities”: “If criminal activity is suspected, report the following

to the state agencies that licensed the facility (e.g. board of pharmacy) and Food and Drug



111   Ex. 129 [Norton Dep. at 84:2 – 90:4]; Ex. 164 & Ex. 168 [PAR_OPIOID_MDL_0001059825-827]; Ex. 165
[PAR_OPIOID_MDL_0000399716 at 2]; Ex. 166 [PAR_OPIOID_MDL_0001615738 at 3]; Ex. 167
[PAR_OPIOID_MDL_0002102288 at 4].
112     Ex. 164 & Ex. 168 [PAR_OPIOID_MDL_0001059825-827]; Ex. 129 [Norton Dep. at 87:21 – 88:7].
113        Ex. 169 [PAR_OPIOID_MDL_0001053153-168 at 162] (“There is no Suspicious Order Monitoring program in
place.”); see also Ex. 119 [Macrides Dep. at 164:9 – 166:16, 174:17 – 175:1, 181:6-17, 182:18-24].
114   Ex. 119 [Macrides Dep. at 177:18 – 180:17, 183:1 – 186:13, 186:19 – 187:2]; Ex. 170
[PAR_OPIOID_MDL_0001058273-279 at 274-277].
115     Ex. 119 [Macrides Dep. at 187:4 – 189:16]; Ex. 170 [PAR_OPIOID_MDL_0001058273-279 at 274-277].
116     Ex. 170 [PAR_OPIOID_MDL_0001058273-279 at 275]; Ex. 119 [Macrides Dep. at 187:22 – 190:12].

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Administration (FDA), as well as Drug Enforcement Administration (DEA) for controlled substances

within three days of suspecting criminal activity.” 117

         Even in 2015, when it was acquired by Endo, Par’s order review process was severely

deficient. 118 An outside audit of Par’s SOM process conducted that year determined that “Par’s current

SOM system as it currently operates may be difficult to explain and defend during a DEA review.” 119

At that time, there were no SOMS employees and the SOMS function was limited to a manual review

by sales or customer service personnel, 120 rather than regulatory employees, which was “viewed as a

conflict of interest by the DEA.” 121 Par conducted no customer due diligence other than confirming

the customer held a DEA license. 122 There was no reliable review for unusual size, pattern, or

frequency. 123 Moreover, Par’s SOP required only that “criminal” activities be reported to the DEA,

rather than suspicious orders. 124 Par’s outside auditor warned Par that this requirement “should be

117      Ex. 173 [PAR_OPIOID_MDL_0001410508-513 at 510].
118      Ex. 171 [PAR_OPIOID_MDL_0001024034-079]; Ex. 172 [PAR_OPIOID_MDL_0001596366-369 at 367].
119      Ex. 171 [PAR_OPIOID_MDL_0001024034-079 at 057, 073].
120        Ex. 171 [PAR_OPIOID_MDL_0001024034-079 at 073-074] (6/15 audit notes that under Par’s SOM
SOP: “‘Sales Operations’ is responsible for ensuring that Par Pharm is ‘in line’ with DEA requirements. . . . If customers
order more than would be expected, a sales person would interview the customer to determine whether there is a legitimate
reason for the order.”; auditor recommends that “SOM decisions should be managed by regulatory officials rather than
sales officials or customer service account representatives” and that “[a]ny employees that receive incentives for controlled
substance orders should not be involved in evaluating either accounts or orders”); Ex. 170
[PAR_OPIOID_MDL_0001058273-279 at 274]; Ex. 173 [PAR_OPIOID_MDL_0001410508-513 at 508]; Ex. 119
[Macrides Dep. at 191:10 – 192:12].
121      Ex. 150 [Norton Dep. Ex. 12 (PAR_OPIOID_MDL_0000018920-18936 & attachments; E0606) at E0606.15];
Ex. 172 [PAR_OPIOID_MDL_0001596366-369 at 367]. After Par’s acquisition by Endo, the former elements of the
Qualitest DEA compliance unit took responsibly for SOMS for both businesses.                     Ex. 172
[PAR_OPIOID_MDL_0001596366-369 at 366-367].
122       Ex. 171 [PAR_OPIOID_MDL_0001024034-079 at 073] (6/15 audit notes that under Par’s SOM SOP: “Due
diligence is conducted on new accounts at the time they become new and quarterly. Due diligence consists of assuring
that the customers have a DEA registration.”; auditor recommended that Par “conduct additional ‘due diligence’ on all
customers” and that “to enhance due diligence site reviews are strongly recommended”).
123       Ex. 171 [PAR_OPIOID_MDL_0001024034-079 at 073] (6/15 audit of Par’s SOM SOP states: “There is no
indication that [Par’s SOM] system measures or attempts to measure order size, pattern and frequency. These are the
requirements in the regulations.”).
124       Ex. 173 [PAR_OPIOID_MDL_0001410508-513 at 510]; Ex. 171 [PAR_OPIOID_MDL_0001024034-079 at
056, 073] (4/15 audit report notes: “[Par’s] SOP does not contain instructions for reporting suspicious orders. Instead
there is a section, which is ‘bolded’ which states that ‘Criminal Activities’ will be reported to federal and state agencies . .
.”); Ex. 119 [Macrides Dep. at 196:6 – 197:18].

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corrected as soon as possible, since it misses the point of the regulations[,]” which is that “[s]uspicious

orders should be reported as soon as they are identified.” 125

         Par did not identify or report any suspicious orders from 2010 through 2012. 126 Between 2013

and 2017, a multitude of orders were flagged by its SOM system, but they were all cleared to ship. 127

There is no indication Par reported any suspicious orders to the DEA prior to 2015. 128
         E.       J&J Failed to Comply with Its CSA Duties to Maintain Effective Controls
                  against Diversion
         The pharmaceutical products of Janssen Pharmaceuticals, Inc. f/k/a Ortho-McNeil-Janssen

Pharmaceuticals, Inc. f/k/a Janssen Pharmaceutica, Inc. are distributed by Johnson Ortho McNeil

Pharmaceutical’s Customer Service and Distribution Center (“JOM,” and collectively with Janssen

Pharmaceuticals, Inc., “Janssen” 129). 130 Janssen’s opioid portfolio includes and/or included Duragesic

(fentanyl patch) and Nucynta/Nucynta ER (tapentadol hydrochloride, immediate and extended

release). 131 Duragesic was launched in the 1990s. 132 Nucynta and Nucynta ER launched in June 2009

and June 2011, respectively. 133 Janssen sold the rights to Nucynta and Nucynta ER in early 2015. 134

         Janssen’s SOM program began in 2005 when it implemented its first SOM SOP. 135 Since 2005,

Janssen’s SOM program has used the same algorithm and same definition for a suspicious order: “A


125      Ex. 171 [PAR_OPIOID_MDL_0001024034-079 at 074].
126      Ex. 119 [Macrides Dep. at 190:13-22].
127      Ex. 134 [PAR_OPIOID_MDL_0001596408-442 at 414].
128     Ex. 119 [Macrides Dep. at 530:6 – 532:14]; [Macrides Dep. Ex. 41] (listing eight suspicious orders reported
between 1/15 and 4/17).
129       “Janssen” also includes Noramco, Inc., a wholly-owned subsidiary of Johnson & Johnson, which produced the
active ingredients for Janssen’s pharmaceutical products. Ex. 174 [Dempsey Dep. Vol. I at 17:12-18, 34:1-12, 37:7 – 39:23]
130      Ex. 175 [Dempsey Dep. Ex. 5 (JAN-MS-03054480-482) at p. 1 of the ppt.].
131      Ex. 176 [JAN-MS-04199587 at slide 12]; Ex. 177 [JAN-MS-00653403 at slides 1, 4].
132      Ex. 177 [JAN-MS-00653403 at slide 4].
133      Ex. 176 [JAN-MS-04199587 at slide 12].
134      Ex. 179 [JAN-MS-02983598-599 at 599].
135       Ex. 180 [JAN-MS-03741170-176]; Ex. 181 [JAN-MS-03741177-200]; Ex. 182 [JAN-MS-03741201-205]. Janssen
revised its SOM SOP in 2013. Ex. 183 [JAN-MS-03124101-110].

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potentially suspicious or excessive controlled substance order can be defined as an order that exceeds

the minimum order quantity requirements, and is above 3xs (300%) of the calculated, 12 month, per

weekly order average.” 136 Janssen was well aware that the CSA defines “suspicious orders” to include

orders of unusual size, orders deviating substantially from a normal pattern, and orders of unusual

frequency. 137 Yet, Janssen’s SOM program only monitored for orders of unusual size for customers

with a prior order history; 138 it failed to ever monitor for frequency and/or pattern in real time. 139

Accordingly, as Janssen has conceded, its SOM program would not detect: (i) multiple customer

orders during a given month; (ii) orders which consisted of gradual quantity increases of a controlled

substance over time; and (iii) a new customer’s orders for controlled substances which initially

commence with larger than normal quantities and remain at a constant. 140

         Janssen has previously argued that, after 2012, its SOM program included monthly or quarterly

136      Ex. 183 [JAN-MS-03124101-110 at 101]; see also Ex. 180 [JAN-MS-03741170-176 at 172] (2005 SOP did not
define “suspicious order” but stated that an order should be flagged if it had “a % variance value greater than 3x the
customer’s average order over a 52-week period”); Ex. 184 [JAN-MS-00454956-958 at 957-958]; Ex. 185 [JAN-MS-
02987651-656 at 652]; Ex. 186 [Dempsey Dep. Vol. II at 445:9 – 446:1, 471:23 – 472:18, 481:22 – 482:13, 559:22 – 566:2].
137     Ex. 186 [Dempsey Dep. Vol. II at 434:13 – 435:19, 447:2 – 451:7]; Ex. 187 [JAN-MS-02960654-719 at 712]; Ex.
174 [Dempsey Dep. Vol. I at 51:1-11]; Ex. 186 [Dempsey Dep. Vol. II at 434:13 – 435:19].
138       Ex. 180 [JAN-MS-03741170-176 at 172]; Ex. 183 [JAN-MS-03124101-110 at 101]; Ex. 186 [Dempsey Dep. Vol.
II at 472:12 – 473:23].
139       Ex. 188 [JAN-MS-02983578-579 at 578] (on 1/23/18, Janssen’s Director of Controlled Substance Compliance
acknowledged that the algorithm “only measures quantity and does not consider frequency or pattern of ordering by the
same customer”); Ex. 184 [JAN-MS-05444730-737 at 730] (“The DEA guidelines include an expectation for us to flag:
• Orders of unusual size[;] • Orders deviating substantially from normal pattern[;] • Orders of unusual frequency[.] We
currently have a process to flag unusual based on list 1 chemicals and is not up to current industry practice. The other
two requirements are vulnerabilities that must be addressed. Our current monitoring program flags orders of unusual size
(a running average of past orders is taken and we flag any order that is 300% more than average). We do not currently
account for ordering frequency or cumulative effect of multiple orders in one month against a threshold[.]”); Ex. 186
[Dempsey Dep. Vol. II at 472:19 – 473:18] (“Q:…. I said this algorithm only measures quantity and does not consider
frequency or a pattern of ordering by the same customer. Do you agree with that? A: That is what the algorithm does,
the quantity. Q: And so you agree with that, right? Yes? A: Yes.”).
140 Ex. 185 [JAN-MS-02987651-656 at 652] (“The report rolling average will not show slow increases in order patterns or
if a new customer starts at higher levels vs similar size customers.”; “The report does not take into consideration multiple
orders in one month – the accumulating effect exceeding the total for the month. It compares the one order against the
historical 3x12 month week average.”); Ex. 188 [JAN-MS-02983578-579 at 578] (“The algorithm compares a customer’s
order quantity against only that customer’s average annual purchases. The algorithm would not detect multiple customer
orders during a given week; it would not detect orders which consist of gradual quantity increases of a controlled substance
over time; it would not detect a new customer’s orders for controlled substances against similar size and geographically-
placed customers, and perform national, regional, state and perhaps three-digit zip code comparisons among like size
customers.”); Ex. 186 [Dempsey Dep. Vol. II at 473:19 – 475:9, 478:6-15, 811:24 – 813:7].

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reviews that allowed it to compare the number of controlled and non-controlled products a customer

purchased, as well review the customer’s complete order history and patterns. 141 However, Janssen’s

Director of Controlled Substance Compliance, Michele Dempsey, conceded that only an order flagged

for unusual size by the SOM program’s one-dimensional algorithm could be stopped for review in real

time. 142 Thus, even if Janssen was able to later identify an unusual pattern or frequency in its

monthly/quarterly reviews, by that time any order not previously flagged by the algorithm for unusual

size would have already been released to the customer. 143 And, as Ms. Dempsey admitted, Janssen did

not “want to question release decisions after the fact.” 144

          Janssen’s SOM program was also materially deficient in other ways. Significantly, it was

narrowly designed such that a Schedule II order would only be compared to previous orders of

products with an identical SKU (i.e., the same product at the same strength) placed in the prior 52

weeks. 145 In other words, if a customer ordered 1000 Nucynta 100 mg tablets, the SOM system would

only compare that order to the customer’s other orders of Nucynta 100 mg tablets placed within the

past year. The system failed to take into consideration prior orders from the same customer of

Nucynta 50 mg tablets, for example, or of Nucynta ER tablets. 146 Janssen has conceded that its SOM

system was not designed to aggregate all products, track consolidated customer orders, or compare



141       Ex. 174 [Dempsey Dep. Vol. I at 148:7 – 149:22]; Ex. 186 [Dempsey Dep. Vol. II at 537:19 – 538:4, 806:21 –
807:6].
142       Ex. 174 [Dempsey Dep. Vol. I at 453:8 – 455:13] (“Q: Okay. So the fact that you have a program that has the
capability to analyze orders beyond the algorithm only comes into play when that – on that date the order is placed when
an order is flagged; isn’t that right? A: When the order is flagged as atypical, it gets investigated. And then that includes
running all of the historical – looking through the ordering pattern, as well as the frequency part of that. Q: But you can’t
do an investigation until the order is flagged, right, in realtime? A: Agreed.”) (internal objection omitted), 512:20 – 513:5
(“Q: Okay. But an order in realtime in a moment of the day is not investigated, as you testified earlier, until it’s first
flagged, right? A: Yes. Q:”) (internal objection omitted), 803:19 – 804:9 (Dempsey admits Janssen used the one-
dimensional algorithm the entire time Nucynta was sold).
143       Ex. 186 [Dempsey Dep. Vol. II at 748:23 – 749:22].
144       Ex. 190 [JAN-MS-05444781-782 at 782]; Ex. 186 [Dempsey Dep. Vol. II at 498:8 – 499:20].
145       Ex. 185 [JAN-MS-02987651-656 at 652]; Ex. 174 [Dempsey Dep. Vol. I at 144:22 – 148:10, 149:23 – 150:15].
146       Ex. 185 [JAN-MS-02987651-656 at 652]; Ex. 174 [Dempsey Dep. Vol. I at 149:23 – 150:15].

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customers’ ordering patterns to those of other like-size customers:
                   Current BW report (algorithm) measures orders by NDC number
                   (SKU) not drug class (total fentanyl for example) or consolidated
                   customer (just ship to address). [sic] and does not track total gram base
                   of controlled substances to the consolidated or individual registrant.
                   For example, we do not follow how much methylphenidate (Concerta)
                   is shipped to all HD Smith locations or to the individual locations. We
                   track how much of each SKU is shipped to a location. The team
                   aligned that in the future, our software should track by drug code (in
                   grams base not EA) and consolidate customer locations.
                                                            ***
                   The current report does not compare customers against similar
                   wholesalers and their ordering patters [sic]. The team aligned that in
                   the future, our software should differentiate by customer type (large,
                   medium, small wholesaler).[ 147]

         Significantly, Janssen had access to transactional sales data that could have allowed it to

identify suspicious orders based on unusual size, pattern, and frequency (as required under the CSA),

including, but not limited to, chargeback data, 148 wholesalers’ inventory and sales data, 149 and third-

party data from Integrichain and ValueTrak. 150 Among other things, this data allowed Janssen to track

the purchasing behavior of its customers and its customers’ customers, down to the retail level (e.g.,

individual pharmacy locations), as well as the prescribing behavior of individual physicians. 151

Janssen’s sales and marketing teams, along with its trade group, extensively utilized this data to


147      Ex. 185 [JAN-MS-02987651-656 at 652-653] (notes from Janssen’s 12/13/17 SOM Workshop). See also Ex. __
Ex. 188 [JAN-MS-02983578-579 at 578] (1/23/18 e-mail from Janssen’s Director of Controlled Substance Compliance
suggesting future modifications to the SOM program to address these deficiencies); Ex. 189 [JAN-MS-05444730-737 at
736] (in mid-2018, Janssen proposed enhancing its SOM program so that it would “compl[y] with applicable state and
DEA regulations”); Ex. 174 [Dempsey Dep. Vol. I at 365:24 – 366:13].
148     Janssen had access to chargeback data since 2005. Ex. 191 [JAN-MS-01117436 at slide 3]; Ex. 185 [JAN-MS-
02987651-656 at 654].
149       Since at least 2011, Janssen had access to 852 data (wholesalers’ inventory and total sales out to their customers)
and unblinded 867 data (wholesalers’ total sales out to their customers broken out by outlet, i.e., Retail Pharmacies,
Hospitals, Long Term Care, Clinics, etc. Last Points-of-Care in the Supply Chain where product is shipped prior to
delivering to the patients)). Ex. 191 [JAN-MS-01117436 at slides 3-4]. See also Ex. 184 [JAN-MS-00454956-958 at 956];
Ex. 174 [Dempsey Dep. Vol. I at 98:4 – 99:2].
150     Ex. 184 [JAN-MS-00454956-958 at 956]; Ex. 191 [JAN-MS-01117436 at slides 11-12]; Ex. 185 [JAN-MS-
02987651-656 at 654].
151      Ex. 184 [JAN-MS-00454956-958 at 956]; Ex. 191[JAN-MS-01117436 at slides 3-6, 10].

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promote sales and target high-volume prescribers. 152                Janssen could have used this same data to

monitor suspicious prescribers; it chose not to. 153 In fact, Janssen failed to incorporate any of this

sales data into its real-time SOM system. 154

         Janssen knew how valuable this data could be when monitoring for suspicious orders. In

March 2012, Purdue’s Jack Crowley, a former DEA employee, 155 presented a benchmarking seminar

to Janssen’s executives, including Ms. Dempsey. 156 Mr. Crowley advised Janssen that Purdue had



152      Ex. 191 [JAN-MS-01117436 at slides 5-6, 10-14, 25] (“New un-blinded data allowed Janssen to gain a number of
new insights. . . . Based on purchasing behavior, we can now identify the most valuable individual pharmacies in the
marketplace.”; “Insights around purchasing behavior of individual outlets can resolve demand issues and help build
demand strategies.”; “Utilizing 867 data, we were able to create 4 levels of stocking penetration reports for Nucynta ER.”);
Ex. 184 [JAN-MS-00454956-958 at 956] (using ValueTrak data to identify “hot spot markets prescribers writing the higher
strengths” so that such information can be provided to the “JOM Planners and Wholesaler Buyers”); Ex. 174 [Dempsey
Dep. Vol. I at 134:18 – 138:23].
153      Ex. 174 [Dempsey Dep. Vol. I at 187:12 – 188:3, 193:22 – 194:8].
154        Ex. 174 [Dempsey Dep. Vol. I at 98:4: - 98:16] (Janssen’s Director of Controlled Substance Compliance, Michele
Dempsey, was not aware that Janssen “had the ability to unblind and unblock the sales it was making to wholesalers to
obtain visibility of [its] inventory at individual retail stores” until 2017), 106:3-8 (“Q: Okay. And yet in 2012, your
compliance group wasn’t getting this unblended data to see where your drugs were winding up at the retail level, were you?
A: No.”), 111:3-18 (in 2012, Janssen had access to pharmacy-level stocking tool data; “Q: Yet, you in your compliance
group wasn’t [sic] getting this stocking tool data while you were looking at suspicious order monitoring in 2012, were you?
A: No, we were not.”), 132:18 – 134:23 (conceding that the ValueTrak data was not a data source built into Janssen’s
suspicious order monitoring program), 187:19 – 188:3, 200:14 – 201:5; Ex. 188 [JAN-MS-02983578-579 at 579] (in January
2018, Dempsey, suggested as a future modifications to the SOM program that Janssen “[u]tilize IntegriChain data, data
from Value Centric’s Value Trak 852 and 867 EDI programs to evaluate and/or verify customer inventory levels and
activities[,]” and “[e]valuate chargeback data and information in J&J’s possession, and determine if any of the data or
information is of value to the goals and objectives of the JOM SOM program[,]” and “[c]onsider using chargeback data to
assist in evaluating regional distribution trends for J&J controlled substance products”); Ex. 185 [JAN-MS-02987651-656
at 654-655] (during an internal SOM Workshop on December 13, 2017, Janssen suggested that it should “[i]dentify how
chargeback/EDI Value Centric data could be routinely used to identify potential suspicious trends at the pharmacy/patient
level” and that it “need[ed] to discuss how we can use 852, 867 and Intrachain [sic] data for follow up investigations on
atypical orders as well”); Ex. 192 [JAN-MS-02963719-721] (analyzing data on its controlled substance sales to a particular
Walgreens only after DEA suspended that Walgreens’ license; Dempsey noted: “[W]e should be doing this not just when
DEA shuts down Walgreens… Mike and I fear that JOM is going to reduce headcount and there will not be anyone left
to do this kind of analysis. These are the key products we should be constantly monitoring but the current process of
collecting data is time consuming—took Greg all week.”); Ex. 193 [JAN-MS-05444748-763 at 759-760]. As of 2012,
Janssen’s SOM program required a JOM Customer Service member to run a ValueTrak report only on orders that had
already been flagged as suspicious by the program, and even then only to show the customer’s inventory and compare that
inventory to the demand of the increase. Ex. 183 [JAN-MS-03124101-110 at 105]; Ex. 184 [JAN-MS-00454956-958 at
958].
155      Ex. 194 [Dempsey Dep. Ex. 6; JAN-MS-03115781-783, 03115790-798 at 781]; Ex. 174 [Dempsey Dep. Vol. I at
165:9 – 166:2].
156       Ex. 194 [Dempsey Dep. Ex. 6; JAN-MS-03115781-783, 03115790-798]; Ex. 174 [Dempsey Dep. Vol. I at 163:16
– 164:3, 175:12 – 176:11].

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invested heavily in resources to revamp its SOM program in 2008. 157                             In particular, Purdue

incorporated real-time data feeds from ValueTrak and Integrichain into its SOM system, enabling

Purdue to “know [its] customers’ customer.” 158 Janssen ignored Mr. Crowley’s recommendations and

made no effort to get to know its customers’ customers. 159                         Notably, despite attending this

benchmarking seminar, and taking nine pages of notes, 160 Ms. Dempsey now claims that she was

unaware that other opioid manufacturers were using this type of data prior to 2017. 161 Mr. Crowley

reached out to Janssen again in 2013, after he left Purdue, to pitch a program to train Janssen’s sales

representatives to spot suspicious prescribers. 162 Janssen ultimately chose not to implement that

program. 163

            Another significant flaw in the design of Janssen’s SOM program was that the algorithm

stopped automatically flagging suspicious orders at 3:45 p.m. every day. 164 But orders could be placed



157         Ex. 194 [Dempsey Dep. Ex. 6; JAN-MS-03115781-783, 03115790-798 at 782].
158       Ex. 194 [Dempsey Dep. Ex. 6; JAN-MS-03115781-783, 03115790-798 at 790-798]; Ex. 174 [Dempsey Dep. Vol.
I at 173:17-23, 174:12-17, 176:12 – 177:9, 185:10 – 187:17, 193:2 – 195:1, 196:10 – 200:23]; Ex. 186 [Dempsey Dep. Vol.
II at 553:6 – 554:9].
159        Ex. 174 [Dempsey Dep. Vol. I at 173:17 – 174:11, 178:10-23, 179:24 – 180:8, 187:8 – 188:3] (“A: I am – what he
was saying at a high level, that Purdue does use prescriber data and analyze where it’s coming from. Q: In other words,
they were looking at prescriber data as a potential red flag, right? A: It appears that they were for their products. Q: And
Janssen and JOM were not doing that, correct? A: No, for our Duragesic and Nucynta and other scheduled products, we
did not do trend analysis on the prescriber data as I previously said. We stopped at the wholesaler.”) (internal objections
omitted), 193:22 – 194:8, 200:14 – 201:5 (“Q: But [Purdue] fed ValueTrak data into their system. Do you see that? A:
Yes. Q: Okay. JOM and Janssen did not do that between your meeting, benchmarking meeting on March 21, 2012, and
at least January of 2018; is that right? A: No, we did not.”).
160         Ex. 194 [Dempsey Dep. Ex. 6; JAN-MS-03115781-783, 03115790-798]; Ex. 174 [Dempsey Dep. Vol. I at 172:20
– 173:7].
161       Ex. 174 [Dempsey Dep. Vol. I at 61:8-22]. Ms. Dempsey also claims she was unaware that Janssen’s sales
department was using this data. Ex. 174 [Dempsey Dep. Vol. I at 188:5 – 189:2, 190:4 – 191:12]. Incredibly, when asked
if this was information she would have wanted to have, she said “No.” Ex. 174 [Dempsey Dep. Vol. I at 189:4-9].
162       Ex. 196 & Ex. 197 [Dempsey Dep. Ex. 36; JAN-MS-02984629-631 & attachment] (“We discussed training for
the sales force, how to recognize what is suspicious or a cause for concern . . . This is really a white board type exercise,
suitable for your small, dedicated sales team (contract sales organization) working within about 10,000 HCP’s in the pain
management space.”); Ex. 186 [Dempsey Dep. Vol. II at 554:14 – 556:21, 557:12 – 558:8].
163         Ex. 186 [Dempsey Dep. Vol. II at 556:22 – 557:11, 558:10 – 558:8].
164       Ex. 185 [JAN-MS-02987651-656 at 652]; Ex. 188 [JAN-MS-02983578-579 at 578]; Ex. 186 [Dempsey Dep. Vol.
II at 467:20 – 468:15].

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at any time. 165 Accordingly, any Schedule II order placed after 3:45 p.m. would have to be manually

checked by someone the next morning, before the order was shipped out, in order to determine

whether it was of unusual size. 166 Janssen internally recognized that “there is the potential that an

order can be released the next morning without being monitored in the program.” 167

         Incredibly, despite the many deficiencies in its SOM program, Janssen did not perform a SOM-

related workshop, or use an outside consultant to analyze and improve its SOM program until around

December 2017. 168 Both its internal workshop and its outside consultant’s report acknowledged the

existence of these deficiencies and recommended significant modifications to its SOM program. 169 Of

course, by this point in time, Janssen had long since stopped selling Nucynta. 170 Regardless, Janssen

has yet to implement many of the recommended modifications. 171

         Janssen not only failed to implement a SOM system that identified all suspicious orders, it

failed to report the orders that were actually flagged by its system. 172 In January 2018, Janssen’s outside

consultant concluded: “It appears that the JOM SOM has not reported an order for controlled

substances as suspicious during its time in operation[.]” 173 Janssen claims that this is because “[t]here



165      Ex. 193 [JAN-MS-05444748-763 at 750]; Ex. 185 [JAN-MS-02987651-656 at 652].
166       Ex. 188 [JAN-MS-02983578-579 at 578]; Ex. 193 [JAN-MS-05444748-763 at 750-751]; Ex. 186 [Dempsey Dep.
Vol. II at 457:22 – 459:16].
167       Ex. 185 [JAN-MS-02987651-656 at 652] (“Any time we need to have a review done each morning by personnel
leads to potential of error.”); Ex. 188 [JAN-MS-02983578-579 at 578] (“Any orders that are received by J&J customer
service via EDI after that time may be shipped to a customer the following day without being subjected to the SOM
algorithm unless the EDI orders are checked the next morning to ensure the SOM algorithm has been applied.”); Ex. 174
[Dempsey Dep. Vol. I at 313:21 – 314:12, 327:8 – 328:21].
168      Ex. 185 [JAN-MS-02987651-656] (12/17 internal SOM workshop); Ex. 193 [JAN-MS-05444748-763] (1/18
evaluation of Janssen’s SOM program by The Drug and Chemical Advisory Group).
169      Ex. 185 [JAN-MS-02987651-656 at 651-656]; Ex. 193 [JAN-MS-05444748-763 at 750-763].
170      Ex. 186 [Dempsey Dep. Vol. II at 803:7 – 804:9].
171      Ex. 186 [Dempsey Dep. Vol. II at 551:22 – 552:5, 556:22 – 557:11, 707:10-19, 799:23 – 800:3].
172    Ex. 186 [Dempsey Dep. Vol. II at 487:2-14] (“We have not reported a suspicious order, yes.”); Ex. 193 [JAN-
MS-05444748-763 at 761].
173      Ex. 193 [JAN-MS-05444748-763 at 761]. Significantly, when Janssen received this report, it reached out to the
consultant to request that that sentence be modified or removed. Ex. 198 [JAN-MS-05444648-649].

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have been no orders identified as suspicious and thus there have been none reported.” 174 But to the

contrary, there were many suspicious orders flagged by Janssen’s SOM program, some of which

Janssen did not appear to investigate before approving the release of the order to the customer. 175

Regardless of whether Janssen ultimately approved or cancelled these flagged orders, all potentially

suspicious orders flagged by Janssen’s SOM program should have been reported to the DEA. See

Masters Pharm., Inc. v. Drug Enf't Administration, 861 F.3d 206, 212–13, 215-17 (D.C. Cir. 2017). 176

         The truth of the matter is that Janssen did not want to identify, report, and stop shipping

suspicious orders. Instead, Janssen intentionally buried its head in the sand in order to maximize

profits. For example, one of Janssen’s customers, McKesson Corporation, was found by the DEA to

have repeatedly violated the CSA by failing to design and implement an effective system to detect and

report suspicious orders for controlled substances distributed to its independent and shall chain

pharmacy customers. 177 As a result of those violations, McKesson agreed to pay a $13.25 million civil

penalty in 2008 and a record $150 million civil penalty in 2017. 178 As part of its 2017 settlement,

174      Ex. 198 [JAN-MS-05444648-649 at 648]; Ex. 186 [Dempsey Dep. Vol. II at 492:4-22].
175       See, e.g., Ex. 199 [JAN-MS-02964442 at “Sch. II Call Outs” tab] (in Q2 2015, Janssen’s customer, Burlington
Drug Co., “had a 420% increase in orders for Schedule II products”; Janssen ultimately approved the order); Ex. 200
[JAN-MS-03739743-744 at 743] (in 3/15, six orders by three customers, including HD Smith and Prescription Supply,
were flagged by the SOM program; Janssen decided there was “[n]o need to contact HD and PS” and released all six
orders); Ex. 390 [JAN-MS-03739793] (informed at 4:49 p.m. of a flagged order that day from McKesson, who “originally
ordered 636 eaches”; Janssen reduced McKesson’s order to 288 eaches and approved the reduced order to be released
four hours later); Ex. 201 [JAN-MS-03739717-718 at 717] (informed at 4:23 p.m. on Friday, October 3, 2014, of an order
from Smith Drug flagged by the SOM program that day for lack of order history within the past year; the order was
approved to be released less than five hours later); Ex. 202 [JAN-MS-03739719] (informed at 3:47 p.m. on November 26,
2014, the day before Thanksgiving, of an order from ABC flagged by the SOM program that day for lack of order history
within the past year; the order was approved to be released five hours later); Ex. 203 [JAN-MS-02960359-360 at 359]
(“There is one suspicious/excessive order for today.”; Janssen approved order to be released the following day); Ex. 204
[JAN-MS-02960361]; Ex. 205 [JAN-MS-02960362-363 at 362]; Ex. 206 [JAN-MS-02960364]; Ex. 207 [JAN-MS-
02960370-371]. See also Ex. 183 [JAN-MS-03124101-110 at 102] (2013 SOM SOP requires the Customer Support Services
member “to ensure all Schedule II products remain on hold until they are reviewed for suspicious and excessive ordering”).
176      Ex. 180 [JAN-MS-03741170-176 at 171] (2005 SOM SOP requires JOM QA representative “to report any
potentially suspicious or excessive narcotic orders to the DEA as identified by this process”) (emphasis added)); Ex.
183 [JAN-MS-03124101-110 at 102] (2013 SOM SOP states that it is “the responsibility of the DEA Compliance Team
to review and determine the decision to ship any order identified by this process and to report any potentially suspicious
or excessive orders to the DEA and/or appropriate state or federal regulatory agency”) (emphasis added).
177      Ex. 208 [JAN-MS-02966153-156 at 155].
178      Ex. 208 [JAN-MS-02966153-156 at 155].

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McKesson was required to suspend sales of controlled substances from its distribution centers in

Colorado, Ohio, Michigan, and Florida for multiple years. 179                 After the 2017 settlement was

announced, Janssen internally discussed whether McKesson’s suspended Ohio distribution center was

one to which Janssen shipped its controlled substances and what precautions should be taken to

ensure Janssen did not ship to a location that is no longer allowed to sell controlled substances. 180

JOM’s Senior Planner for McKesson explained how Janssen had worked around that issue to ensure

it could continue selling McKesson controlled substances:
                 JOM ships Scheduled products/Controlled Substances to McKesson’s
                 RDC (Regional Distribution Centers, Olive Branch, MS) and RDC
                 distributes down to their forwarding DCs. So from JOM perspective,
                 we do NOT sell/ship Scheduled products/Controlled Substances
                 direct to McK forwarding DCs.[ 181]

Thus, despite knowing that its controlled substances would eventually reach McKesson’s forwarding

distribution centers and that some of those centers could no longer sell controlled substances, Janssen

disclaimed any responsibility for ensuring that its controlled substances were not sold to the suspended

distribution centers. 182
        F.       Allergan Failed to Comply with Its CSA Duties to Maintain Effective Controls
                 against Diversion
        Allergan and its SOM system are descended from Watson Pharmaceuticals, Inc. (“Watson”),

Actavis, Inc. (“Actavis”), which Watson bought in 2012-2013, and Allergan, which the merged

companies then bought in 2015. 183 Neither of the two prior companies, or the merged group,

maintained effective controls against diversion.

179     Ex. 208 [JAN-MS-02966153-156 at 155].
180     Ex. 208 [JAN-MS-02966153-156 at 154]; Ex. 174 [Dempsey Dep. Vol. I at 289:14 – 292:9].
181     Ex. 208 [JAN-MS-02966153-156 at 153]; Ex. 174 [Dempsey Dep. Vol. I at 292:11 – 293:2].
182     Ex. 208 [JAN-MS-02966153-156 at 153].
183      See, Ex. 480 & Ex. 481 (Press Releases dated Jan. 23, 2014, June 15, 2015) Through a 2013 acquisition, the
company had become a “plc” and moved its headquarters to Ireland to take advantage of “a favorable tax structure” but
kept its executive headquarters in New Jersey, USA.            See https://www.Allergan.com/news/news/thomson-
reuters/actavis-to-acquire-warner-chilcott-to-create-premi

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                  1.       Pre-Merger Actavis employees repeatedly recognized the Company failed to maintain effective
                           controls against diversion
         Before the year-end 2012 merger, Actavis produced twelve different generic opioids including

some of the most abused and diverted opioids such as generic OxyContin (Oxycodone I

hydrochloride tablet), generic Opana ER (Oxymorphone tablet) and generic Duragesic (a fentanyl

transdermal patch). See Ex. 483 (Allergan Kaufhold Ex. 3 at 4) (listing the Amended New Drug

Application (“ANDA”) number for each of the pre-merger Actavis generic opioids). Pre-merger

Actavis maintained same rudimentary threshold-based SOM system in place from November 2000

through October 2012. 184 Under that system, the Customer Service group printed a report “several

times a day” showing any controlled substance order that was “25% over the customer’s rolling

average” of orders placed over the prior six months. Ex. 486 (Woods Depo. Ex. 12) at 2. Then,

according to an internal document, “Customer Service reviews (eyeballs) the suspicious order report

throughout the day (when a new report is created)” and “any order that looks unusual is investigated

and any unusual items are cleared before the order is released.” Id. In February 2009, Senior Manager

of Actavis’s Customer Service Department, Nancy Baran told her boss that the existing Actavis

process was inadequate to “prevent shipping excess product” because it was not cumulative and

because there were too many orders over the 25% threshold. Ex. 487 (Allergan_MDL_02128035).

Baran remembered only one order between 2008 and 2017 that was ever deemed to be suspicious and

reported to the DEA as such, but testified she did not “know any details about it.” Ex. 489 (Baran

Deposition, 303:7-304:10). All other pended orders were cleared and released. Id.

         The 2000-2012 Actavis system only flagged orders unusual in size; it did not flag orders

unusual in frequency or pattern in real time. The system did not utilize any downstream customer

information available to Actavis, did not differentiate among NDC codes for drugs with a higher risk


184     See Ex. 484 (Woods Depo. Ex. 12 (Allergan_MDL_02081243)); Ex. 485 (Ex. 13 (Allergan_MDL_02128514)).
Mary Woods served as the Corporate Representative of the Allergan Defendants with regard to Suspicious Order
Monitoring issues. The first 24 exhibits to her deposition are the SOM SOPs the Allergan Defendants said were in place.

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of diversion, and did not automatically stop orders from shipping. Although Actavis mailed reports

to the DEA of orders that were identified in the system from 2009-2012, the lack of any analysis of

such data made the reports meaningless. The system was not an effective control and Actavis

employees recognized as much. Yet the system remained in place until 2012. 185

         In September 2012, Actavis was implementing a statistics-based more modern SOM system

designed by the Buzzeo/Cegedim group to detect “orders of interest” in “Direct Customer sales.” Ex.

492 (Woods Depo. Exhibit 15 (Allergan_MDL_01684748)). On October 1, 2012, it began working

alongside Actavis’s prior system. 186 Until that date, the company had used the SOM system as

described in November 2000. 187

         At the same time Actavis was preparing to implement the Buzzeo/Cegedim SOM system, its

personnel were called to meet with the DEA. On September 12, 2012, five Actavis employees met

with the seven DEA personnel at its Arlington, Virginia office for about three hours to discuss opioid

diversion. At the meeting Barbara J. Boockholdt, Chief, Regulatory Section, told the Actavis

employees that its products were being distributed in Florida in quantities and under circumstances

highly suggestive of diversion. Ex. 496 (US-DEA-00000001). Leonard Levin, Staff Coordinator of the

DEA Regulatory Section told Baran that:
             •    “Actavis should send someone from their compliance team to visit pharmacies
                  who were receiving their products in south Florida, in order for them to
                  witness the long lines at pain clinics, out of state license plates, questionable


185      A separate program from January 2011 designed by Actavis’s marketing group, tracked only “oxycodone IR
suspicious orders.” Ex. 490 (Woods Depo Ex. 14 (Allergan_MDL_00490306)). The marketing program compared
monthly order rates and noted “any individual customer locations that have ordered 50% or greater than their established
six month order average.” Id. It was not designed to track any DEA regulations, and after three months of trials, it was
apparently abandoned. Ex. 388 (Acquired_Actavis_00665233) (March 24, 2011 email discussing SOP).
186     Ex. 493 (Allergan_MDL_03380778) (Thursday October 4, 2012 email noting that “we went live on Monday with
our enhanced Suspicious Order Monitoring” system).
187      A separate system, titled “Indirect Customer Sales” also was issued in late 2012. Ex. 494 (Woods Depo. Exhibit
16 (Allergan_MDL_01979834)). This SOP, which was to focus on customers of Actavis’s direct customers using
chargeback and other data, was never implemented. As the contemporaneous notes of a Watson employee noted, Actavis
assigned “no resources,” or personnel, to carry out the indirect SOP. Ex. 495 (Woods Depo. Ex. 36 at 12 ( “Also prepared
to work on the indirect side, no resources but have SOP’s – work has been completed already”)).

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               clients, security guard(s) in the parking lots, and signs stating cash payment
               only.”
           •    Actavis employees should “get to know their customers, visit distribution
               sites, visit customers of those distributors, check on customers' suspicious
               order monitoring systems, review due diligence files, and obtain printouts of
               pharmacies or practitioners who are receiving Actavis products.”
           •   “[I]f their customers refused to provide them with sales information Actavis
               should consider cutting them off.”
           •   “Actavis [should take a] serious look at their quota request, review their
               suspicious order monitoring system, visit their customers to review their
               suspicious order monitoring systems as well as their due diligence files, ask to
               see their customers' top customers for Actavis products, and contact their local
               DEA Office with any questions or issues.”
Id. The DEA presentation included slides “compiled from ARCOS reports [Actavis had] previously

submitted to DEA” showing the massive amount of Actavis opioids being shipped to Florida

compared to other states. Id. at 92. One slide, for example showed that 2011 sales of Actavis’s 30 mg

Oxycodone (generic OxyContin) were six times higher in Florida than in the next highest state. Id.

       Actavis’s Ethics & Compliance Officer, Michael R. Clarke, testified that the meeting was

“ostensibly for the DEA to talk to us about our anti-diversion efforts,” but that “the tone and the

tenor of the meeting . . . made it less productive than it could have been” because, instead of treating

the Actavis individuals “as professionals,” the DEA looked at and talked to the Actavis representatives

“as street dealers.” Ex. 497 (Clarke Depo., 86-89). “[T]hey described it,” Clarke continued, “without

using these specific words, but in a way that we would just manufacture, put the product out on the

street, and not have a care as to where it went” and “described finding or seeing or obtaining product,

you know, opioid products that seemed to be diverted relatively easily.” Id. at 90-91. In late October

2012, Actavis had a follow-up meeting with two field representatives from the DEA’s Newark, New

Jersey office where, according to Clarke, DEA requested a reduction of approximately 30%-40% in

Actavis’ manufacturing quota for oxycodone. Id. at 98-102. According to Clarke, Actavis’ then CEO,

Doug Boothe, rejected the DEA’s request. Id. at 103-104.



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         Boothe has testified that he believed Actavis’ responsibility was only to making certain that

orders were received from licensed pharmacies and were within numerical thresholds, and that Actavis

had no responsibility (or accountability) for preventing diversion:
         Again, I don't think we had responsibility for, accountability for preventing diversion.
         We had responsibility and accountability for making certain that the orders that we
         received were valid from licensed pharmacies and were within our suspicious order
         monitoring thresholds as it was described earlier then with the Buzzeo model or the
         more statistical model. So we -- that was our responsibility. Once it goes outside of
         our chain of custody, we have no capability or responsibility or accountability to -- or
         at least my understanding, I'm not a lawyer, as it relates to diversion. So, once we ship
         a valid order to a wholesaler or ship a valid order to a distributor or another smaller
         wholesaler, our chain of custody is finished at that point.
Ex. 498 (Boothe Depo., 408-09).
                  2.       The Pre-Merger Watson SOM was even more rudimentary than Pre-Merger Actavis’s
         The core of the pre-merger Watson SOM system, like the early pre-merger Actavis system,

dated to the early 2000s. Ex. 499 (Woods Depo. Ex. 1 (Allergan_MDL_01844864)). A 2001 memo

says Watson’s inventory system automatically compiled a “12-month average” of customers’ various

orders, and reported violations of it Customer Service personnel (also known as the “Call Center”

group). Id. A May 2004 Operational Procedure added a “SOMS multiplier table” to the system that

increased the level at which the inventory system would alert a potentially suspicious order. Ex. 500

(Woods Depo. Ex. 3 (Allergan_MDL_01839001)). The multiplier, set by people instead of an

algorithm, placed a different value for various “classes of trade,” and orders from wholesalers,

distributors and chain pharmacies were regularly allowed at triple the historical average, or more. 188

         The Watson system affirmatively allowed customers to get around violations by canceling the

order, or cutting the quantity. Ex. 503 (Allergan_MDL_01838989) at ‘9001. Mary Woods, who was

in charge of the Watson SOM system, stated that Watson “never needed to file a report” because they


188  Ex. 501 (Allergan_MDL_02181123 at ‘1150)(noting that the “SOMS Multi” for wholesalers was “3”); see also Id. at
‘1131 (noting that the “SOMS Multi” for “chain” stores was “6”). The wholesaler/distributor and chain store multipliers
apparently covered “99 percent of the orders” in the system. Ex. 502 (Allergan_MDL_02578082)

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would cut or cancel the order instead. 189 This policy was consistent through 2012. 190 In 2012, Watson

merely required that “[i]f the customer decides to cancel or reduce the quantity, they will need to

provide a reason for the reduction or cancellation.” Ex. 506 (Allergan_MDL_01175574) at ‘81.

Before the merger with Watson, Actavis policy did not allow reducing or cancelling an order. 191 After

the merger, the combined company adopted the Watson SOM system, and cutting or cancelling was

not generally prohibited. Watson also allowed orders to be shipped based on “an employee inside of

the company [including salespeople] providing the justification” in “an email.” Ex. 508 (Woods Depo.

I, 140:3-141:9). Watson Call Center/Customer Relations Operation did not add any new staff to

handle the SOMs “validations” between 2009 and 2012, but the number of validations increased

substantially. Ex. 509 (Woods Ex. 35 at Allergan_MDL_03802654). In 2009, each “administrator”

handled an average 62 “SOMs validations” per month. Id. at 2660. In 2010, that number jumped to

an average of 180, and in 2011 the number reached 280, a 350% increase over 2009. Id. Woods, who

oversaw the system, did not seek to add more personnel at any time. 192

         Like Nancy Baran at Actavis, Thomas Napoli, Watson’s (and then post-merger Actavis’s)

DEA Compliance Chief, made clear that the system did not comply with the DEA laws and

regulations. In November 2008 Napoli wrote a memo stating that “[i]t is highly recommended that

industry utilize a 'total SOM model.' This model favors a more statistically-based model that

dynamically evaluates a variety of order characteristics to determine whether an order should be


189       Ex. 304, Woods 1/10/19 Depo. at 25:18-31:16; Ex. 386, Woods Depo. Ex. 30 (“[a]ny time there was a question
during the order process of a suspicious order quantity, we went (and still follow the same procedure) back to a customer
to let them know we would need to notify the DEA due to the quantity they wanted to order. In response, they either
reduced the quantity or cancelled the order").
190       Ex. 504 (Allergan_MDL_02146521) at 2 (July 2011 SOM policy); see also Ex. 505 (Allergan_MDL_03952774) at
9 (April 2007 SOM policy); Ex. 500 (Allergan_MDL_1839002) at 2 (May 2004 SOM policy).
191       Ex. 507 (Allergan_MDL_03368470) (Baran PowerPoint presentation making clear that “’Cutting’ orders to a
volume that puts the order under a threshold is not acceptable,” and that the “DEA has stated on this topic, ‘That is like
saying a little bit of diversion is okay’”).
192     See e.g. Ex. 510 (Woods Ex. 33, Allergan_MDL_02187056 at 7060)(noting static headcount in “SOMS Admin”
and “Order Administration-Support”).

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pending. Characteristics include order size, ordering frequency, ordering patterns and percentage of

CS ordered." Ex. 511 (Napoli Depo. Ex. 1 (Allergan_MDL_0353513)). He continued that “[t]his

approach is viewed to be more effective and defensible than the traditional approach of just setting a

threshold." Id.

        Starting in 2011, Napoli advocated to hire Buzzeo/Cegedim to create a new system, just as

Baran had at Actavis. Napoli wrote that, among other things, the requirement of “manual effort is

very labor intensive, as the current system is not configured with any analytical tools to support timely

and accurate decision making. This approach also introduces the element of ‘human interaction’ in

the order evaluation process.” Ex. 512 (Allergan_MDL_02467540) at ‘46. A 2012 PowerPoint from

Napoli’s files notes that Cegedim had “produced a written report” and under “Findings” noted that

the multiplier threshold was “not consistent with specific requirements noted within regulations and

guidance,” that Watson’s system “evaluates at SKU level,” left open the “possibility of distributing

orders across multiple SKU’s without detection,” and that Watson’s system did not “evaluate listed

chemicals.”    Ex.    513    (Allergan_MDL_02468983)        at    ‘87-89.   The    PowerPoint      made

“Recommendations” including developing an SOM system to “Fully address specific regulatory

requirements,” and that system was “Budgeted for 2012 Implementation.” Id. at ‘90-91. But the new

system was never implemented, and when Watson bought Actavis, the combined Company reverted

to the Watson system until 2015 when it announced it was selling all of its generic drugs and various

corporate subsidiaries to Teva, and as Napoli said, Teva “already had their own program in place for

Suspicious Order Monitoring.” Ex. 514 (Napoli Deposition at 324:3-12); After the sale, Napoli said,

he “was laid off.” Id. at 325:19.

        Like the pre-merger Actavis system, the automated portion of Watson’s system only looked

for orders of unusual size and not for frequency and/or pattern. The rigid formula used did not satisfy

DEA requirements to detect and investigate suspicious orders. The automated portion of the system



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did not utilize any downstream customer information available and did not differentiate among NDC

codes for drugs with a higher risk of diversion. The companies’ failure to identify suspicious orders

was known among their employees. The SOM was not an effective control and the Watson and

Actavis employees recognized as much. Yet the system remained in place until 2016, and was not

replaced. Now, Allergan asserts that as a “virtual manufacturer” that outsources its manufacturing,

transport and delivery systems, it is no longer a DEA registrant with regard to Kadian and Norco, and

need not have a suspicious order monitoring system at all. 193                        Yet no category of “virtual”

manufacturers exists, and Allergan cannot delegate its duties to prevent diversion.
          G.       Cardinal Failed to Comply with Its CSA Duties to Maintain Effective Controls
                   against Diversion
          Cardinal, too, has admitted that it failed to comply with the requirements of the CSA. In a

May 2012 agreement with the DEA, Cardinal stated that it “admits that its due diligence efforts for

some pharmacy customers and its compliance with the 2008 MOA, in certain respects, were

inadequate.” Ex. 209 (CAH_MDL2804_02465983). Nor is there any dispute that, prior to January

2008, Cardinal also failed to meet its duties under the CSA to maintain effective controls against

diversion.

          In a January 2008 email to Cardinal leadership, then-CEO Kerry Clark called for more

accountability from Cardinal management regarding regulatory compliance. In the 18 months leading

up to the CEO’s email, Cardinal Health had accumulated nearly $1 billion in “fines, settlements, and

lost business” as a result of multiple regulatory actions, including the suspension of Cardinal

distribution centers’ licenses for failure to maintain effective controls against the diversion of opioids.

Mr. Clark noted that the company’s “results-oriented culture” was perhaps “leading to ill-advised or

short-sighted decisions.” 194 As set forth below, the corporate mindset described by Mr. Clark was

193     See e.g., Ex. 515 (Acquired_Actavis_01843335) (discussing regulation of entities that refer to themselves as “virtual
manufacturers”).
194   Ex. 210 (CAH_MDL_PRIORPROD_DEA07_00827893).

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confirmed by the underfunded, understaffed, and under-developed suspicious order monitoring

system in place at that time.

            Mr. Clark’s January 2008 call for change was not the first time Cardinal management raised

the issue of the company’s apathy toward regulatory compliance. In a January 2005 Cardinal

presentation regarding Cardinal’s Quality and Regulatory Affairs (QRA) department, it was noted that

“[q]uality is not a mindset at Cardinal health – we are not proactive” and “[t]his is not high enough

priority today[.]” 195 The presentation further describes QRA as being “[u]nder resourced today” and

that there were “[n]ot enough people.” 196 The problems highlighted in the 2005 presentation went

ignored. In a year-end review of Cardinal’s compliance budget for the 2006-2007 fiscal year, it was

noted that QRA staff workloads were at “full capacity,” that “[e]ffective management of current

projects and initiatives is difficult,” and that the company lacked resources “to improve and enhance

existing programs.” 197 In a January 7, 2008 email to members of Cardinal’s Anti-Diversion Steering

Committee, Vice President of Retail Marketing, Steve Lawrence, voiced his concern that QRA did not

have sufficient resources. 198 Then on January 26, 2008, Lawrence provided an update regarding

Cardinal’s efforts to staff its QRA department and stressed that the staff was working “day, night, and

weekends” but that the group remained understaffed. 199

            With Cardinal’s lack of resources for regulatory compliance, it is no surprise that in late 2007

and early 2008 the DEA served immediate suspension orders or orders to show cause on four Cardinal

distribution centers in Washington, Texas, Florida, and New Jersey for distributing opioids to

pharmacies Cardinal knew, or should have known, were diverting opioids. 200 The DEA’s action

195   Ex. 211 (CAH_MDL_PRIORPROD_DEA07_01181262, 01181325).
196   Id.
197   Ex. 212 (CAH_MDL2804_02102331, 02102332).
198   Ex. 213 CAH_MDL_PRIORPROD_DEA07_00884713.
199   Ex. 214 (CAH_MDL_PRIORPROD_DEA07_00875539, 00875540).
200   Ex. 215 (CAH_MDL_PRIORPROD_DEA12_00013056).

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resulted in a Settlement and Release Agreement and Administrative Memorandum of Agreement

(2008 MOA) that covered, inter alia, the “alleged failure of Cardinal to maintain adequate controls

against the diversion of controlled substances, on or prior to September 30, 2008, at all distribution

facilities … operated, owned, or controlled by it,” which includes the Wheeling, West Virginia

distribution center that services CT1 counties. 201

          The DEA’s 2007/2008 action should not have been a surprise to Cardinal because before

2008, Cardinal did not have a suspicious order monitoring system in place that would allow it to

sufficiently detect and report suspicious orders of opioids. In 2005, Cardinal Health VP of Health

System Sales, Mark Mitchell, stated that to his knowledge Cardinal did not have a “specific protocol

to monitor possible drug diversion (outside of ARCOS) activity with internet pharmacies or

wholesaler [accounts].” 202 Cardinal simply did not monitor what these accounts purchased. Nearly

three years later, in a January 2008 email chain regarding whether Cardinal could continue to distribute

to a Minneapolis internet pharmacy (it was believed that the pharmacy did not order controlled

substances) counsel for Cardinal reminded VP of Anti-Diversion and Supply Chain Integrity, Michael

Moné, that Cardinal “does not yet have a system for detecting all suspicious orders.” 203

          As more fully described below, prior to 2008, Cardinal primarily reported suspicious orders to

the DEA after they had already been shipped in the form of monthly summaries called Ingredient

Limit Reports (ILRs). ILRs accounted only for the volume of a drug purchased and were not able to

track unusual patterns or frequency. Each of Cardinal’s more than two dozen distribution centers

manually submitted hard copies of ILRs to the DEA every month, which contained information

related to thousands of orders. Cardinal failed to provide the resources necessary to even review its



201   Ex. 215 (CAH_MDL_PRIORPROD_DEA12_00013056, 00013058, 00013068) (emphasis added).
202   Ex. 216 (CAH_MDL_PRIORPROD_DEA07_00318789).
203   Ex. 217 (CAH_MDL_PRIORPROD_DEA07_00968964).

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own ILRs. 204 Cardinal Health’s former VP of QRA, Steve Reardon, testified that at a company with

30,000 employees, Cardinal tasked just three employees with reviewing ILRs. Reardon agreed that

three individuals for such a task was insufficient. 205

           In 2007, Cardinal hired Cegedim Dendrite (Dendrite) to conduct an audit of its Suspicious

Order Monitoring system. With respect to Cardinal’s ILRs, Dendrite found that because the reports

were based on historical information, they are “not sufficient to monitor deviations in ordering

patterns on a real time basis” and that the ILRs “do not substitute for real time automated analysis of

pattern and frequency.” 206 However, Cardinal, by its own admission, did not have a policy to stop

shipment of suspicious orders until 2008. As described more fully below, for more than a year,

Cardinal knowingly violated the CSA’s “shipping requirement” by reporting suspicious orders via

ILRs, shipping the suspicious orders prior to reporting them, and conducting no due diligence to

dispel suspicions of diversion.

           It was not until after the DEA suspended its distribution center licenses in 2007/2008 that

Cardinal took steps to implement an electronic suspicious order monitoring program. 207 In 2007,

Cardinal hired Deloitte to create a threshold system, which set thresholds for each base code for each

customer based on the customer’s designation as small, medium, or large (based on sales) and the

average orders for the prior year of all customers in that size designation multiplied by a factor of

three. 208 Deloitte’s calculation of initial thresholds was based on the previous twelve months’ worth



204   Ex. 218, Reardon Dep., 71:16-72:5; 147:14-21.
205   Id. at 464:4-20.
206   Ex. 219 (CAH_MDL2804_03309960).
207 Prior to this time “there was no electronic system for analyzing orders” and “most of the files on customers

and orders were on paper, rather than electronic[.]” See April 12, 2013 Investigation Report of the Special
Demand Committee of the Board of Directors of Cardinal Health, Inc., Ex. 220
(CAH_MDL_PRIORPROD_HOUSE_0003331, 0003341).
208        Deloitte      Procedure       for      Threshold      Limit       Determination,        Ex.      221
(CAH_MDL_PRIORPROD_DEA07_00950932).

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of ordering data. These numbers were significantly inflated due to the fact the United States was

already in the middle of the deadly opioid epidemic. 209 Cardinal Health took no steps to consider the

opioid epidemic when setting or increasing these thresholds.

            In late 2012, Cardinal’s relationship with Deloitte was coming to an end. For the previous 4-

5 years, Deloitte advised Cardinal Health regarding the development of its suspicious order monitoring

system. Emails among Deloitte employees indicate hesitation to end the relationship as Cardinal had

not implemented many of the changes Deloitte suggested and Cardinal’s sense of urgency to do so “if

not gone completely, at least was invisible.” 210 The Deloitte emails describe Cardinal repeatedly

pushing back deadlines on implementing critical changes to its suspicious order monitoring system

and Deloitte employees described the “situation” at Cardinal as chaotic. 211

            After 2008, Cardinal ceased submitting ILRs as its suspicious order reports, but continued to

manually submit suspicious order reports. Cardinal documents indicate that, nationwide, Cardinal

reported only a few dozen suspicious orders per year from 2008 to 2013. 212 The Baltimore, Maryland

DEA office found that between 2008 and October 1, 2011, Cardinal’s Swedesboro, New Jersey

distribution center failed to report any suspicious orders while shipping many orders that were

suspicious. 213

            As an additional indication of its failure to maintain effective controls against diversion,

Cardinal provided preferential treatment to chain pharmacies, treating them differently than retail-


209Mark Hartman, who was appointed by Cardinal in December 2007 to the position of Senior VP of Supply
Chain Integrity and Regulatory Operations for Healthcare Supply Chain Services (HSCS), “responsible for
leading HSCS’s initiative to build state of the art diversion prevention, supply chain integrity and regulatory
compliance processes and systems” testified that he was aware of the opioid epidemic in 2007. Ex. 222, Hartman
Dep. 19:1-20:12; 322:4-8. See also, Ex. 223 (CAH_MDL2804_00225021), November 6, 2008 presentation by
Mark Hartman regarding “Supply Chain Integrity.”
210   Ex. 224 (DC00120560, 120561).
211   Id.
212   Ex. 225 (CAH_MDL2804_03262274, 03262438.
213   Ex. 227 (CAH_MDL2804_02509732, 02509741).

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independent pharmacies with respect to setting thresholds and conducting due diligence. Cardinal

refused to impose the same requirements on chain customers that it did on retail-independents

because, as stated in Cardinal’s June 27, 2006 letter to the New York Attorney General, large, national

pharmacy chains can “take their billions upon billions of dollars in business to any wholesaler in the

country.” 214 Cardinal did not calculate thresholds for chain pharmacies in the same manner described

above; instead, it merely adopted a standard threshold for the entire chain. 215 Cardinal also failed to

conduct due diligence on its retail pharmacy chain customers, and instead, relied on the chains’ in-

house loss prevention departments to report this information. Cardinal did not, however, make any

effort to evaluate chain pharmacies’ anti-diversion programs. 216 Former Cardinal Health Director of

Supply Chain Integrity, Steve Morse, confirmed this practice, particularly with respect to CVS. 217

Morse testified that despite Cardinal’s written policy requiring pharmacies to provide drug utilization

reports, controlled and non-controlled substances sales data, and prescriber information, and that a

pharmacy’s refusal to provide such information would be a red flag, CVS refused to provide this

information despite multiple requests. Despite the clear violation of Cardinal’s own policies, Cardinal

continued to supply CVS stores with huge volumes of opioids.

           In 2012, the DEA began another prosecution of Cardinal for failing to prevent diversion and

for not complying with the 2008 MOA. 218 The DEA served another Immediate Suspension Order

(ISO) on Cardinal’s distribution facility in Lakeland, Florida – one of the facilities at issue in the 2008

action – for distributing excessive amounts of oxycodone to retail pharmacies, including some chain


214   Ex. 228 (89(5) FOIL Appeal G000804 000006).
215   Ex. 220 (CAH_MDL_PRIORPROD_HOUSE_0003331, 0003345).
216   Ex. 229, Deposition of Todd Cameron, 347:16-348:15 (CAH_MDL2804_02953369, 02953715-6).
217   Ex. 230, Deposition of Steve Morse, 113:8-13.
218 The DEA’s many prosecutions of Cardinal belie the opinion of Cardinal’s expert Brian H. Reise that Cardinal was at
all times in compliance with its CSA duties. See Ex. 231, Reise Expert Report. Indeed, Because no reasonable jury could
credit Mr. Reise’s opinions that contradict the official actions of the DEA during the relevant time, the Reise Report is
insufficient to create a triable issue of fact.

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stores. 219 Steve Morse, who Cardinal hired following the 2008 MOA, was demoted for failing to timely

terminate pharmacy customers despite finding evidence of suspected diversion. Morse was removed

from his position as a Director of Investigations to a position in regulatory management. A 2013

report of the Special Demand Committee of Cardinal Health’s Board of Directors cited Morse’s

questionable judgment as part of the reason for this demotion and the fact that he failed to review

pharmacy site visit reports as required by Cardinal’s 2008 Standard Operating Procedures. 220 Similarly,

as a result of the 2012 ISO and DEA investigation, Michael Moné was moved from his position as

Vice President of Anti-Diversion into a position as an attorney with the company’s regulatory group.

The Special Demand Committee report states that Mr. Moné was moved as part of Cardinal’s

transition to “assessing customers based more on objective criteria;” under Moné evaluation of

customers was a subjective standard. 221

           In response to the 2012 DEA investigation, Cardinal admitted that it failed to comply with

the 2008 MOA and had not engaged in proper due diligence in evaluating its customers for diversion.

The DEA testified, through Thomas Prevoznik, that it was “in fact frustrated that registrants were

blatantly violating the MOUs[/MOAs] from prior administrative actions” including “Cardinal

Health’s 2008 MO[A] and settlement which resulted in a second DEA fine.” 222

           Complying with the Controlled Substances Act was simply not a priority at Cardinal Health.

It is this mindset that led to the following failures for which Plaintiffs seek partial summary judgment

finding that Cardinal violated the Controlled Substances Act.




219   Ex. 209 (CAH_MDL2804_02465982).
220   Ex. 220 (CAH_MDL_PRIORPROD_HOUSE_00003331, 0003367).
221   Ex. 220 (CAH_MDL_PRIORPROD_HOUSE_0003331, 0003367).
222   See Ex. 10, Prevoznik Dep., Vol. II, 621:5 to 621:20.

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                   1.       Cardinal Allowed Suspicious Orders to Ship Without First Conducting Due Diligence to
                            Determine the Orders Were Not Likely to be Diverted
           Prior to 2008, Cardinal Health did not have a system in place to timely report suspicious orders

or prevent suspicious orders from being shipped to customers in CT1 jurisdictions. Despite

purportedly identifying hundreds of suspicious orders in CT1, Cardinal only reported the orders to

the DEA after they had shipped, without first conducting any due diligence to dispel suspicions of

diversion.

           From at least the mid-1990’s until 2008, Cardinal relied on the submission of ILRs to identify

and report suspicious orders. 223 Each of Cardinal Health’s more than two dozen distribution centers

submitted an ILR to the DEA every month. Cardinal has produced ILRs that were purportedly

submitted to the DEA by the Wheeling, West Virginia distribution center 224 for each month from

August 2005 through December 2007 and April 2008. 225

           Each ILR contains information regarding Cardinal Health customers who purchased

controlled substances in excess of a pre-determined limit applicable for that month. Each ILR

identifies the pharmacies’ address, DEA number, dates of each order of controlled substance for the

month, the dosage amount (e.g., 20 milligrams, 40 milligrams, 80 milligrams), and the size of each order

(e.g., number of pills). If a customer is included in an ILR, it is because for that month the customer’s

total orders of a particular drug exceeded the limit for that drug base code. 226 The ILRs include all




223   Ex. 218, Reardon Depo., 424:9-17; 425:2.
  From 2006 to 2017, the Wheeling facility shipped over 99% of opioids/opioid products to customers in
224

Cuyahoga and Summit Counties. See Ex. 232, Cardinal Health’s Written Response to Plaintiffs’ Second 30(b)(6)
Notice, Topic 2.
  For nearly all months, Cardinal produced to Plaintiffs what appears to be duplicates of the same ILR.
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Duplicates are included in this chart for the sake of completeness.
226The base code for oxycodone hydrochloride, for example, is 9143, codeine is 9050, and hydrocodone is
9193.

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orders of the drug base code by a given customer for that month, and the orders in excess of the limit

were considered suspicious orders by Cardinal. 227

           ILRs were retrospective, detailing orders for the previous month, and were submitted to the

DEA after the month ended and after the identified orders had been shipped to their respective

customers. 228 In other words, Cardinal was reporting suspicious orders to the DEA well after they had

already been shipped and without conducting any due diligence to dispel suspicions of diversion.

           This is hardly surprising, given that Cardinal did not have a policy of halting suspicious orders

until 2008 when it began utilizing a threshold system. By Cardinal’s own admission, it was knowingly

shipping orders it had identified as suspicious to pharmacies in Summit and Cuyahoga Counties until

2008. These shipments, alone, are sufficient to establish that Cardinal shipped opioids in violation of

the CSA – but they are not Cardinal’s only violations.
                    2.        Cardinal Failed to Report Suspicious Orders
           Between 2012 and 2015, Cardinal failed to report more than 14,000 suspicious orders to the

DEA, the majority of which included orders for opioids and at least four orders from customers in

CT1 jurisdictions. On September 26, 2018 the Montana Attorney General deposed Cardinal employee,

Todd Cameron, pursuant to an investigative subpoena. Clarifying earlier testimony, Mr. Cameron

explained that in 2018 Cardinal met with DEA to “talk about suspicious orders that [Cardinal] had

identified internally” that “did not get reported to DEA.” 229 Mr. Cameron testified that from 2012

through 2015 there were approximately 14,000 suspicious orders from “across the country” that

Cardinal failed to report to the DEA and that the “vast majority” of those orders involved opioids. 230



227   Ex. 218, Reardon Depo., 426:16-427:4; see also Ex. 233, Cardinal Health’s Supplemental Response to Plaintiffs’
Combined Discovery Request No. 3.
228   Ex. 218, Reardon Depo., 427:17-428:6.
229   Ex. 229, Cameron Depo., 268:21-269:3.
230   Id. at 269:12-270:13.

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Cardinal “uncovered” the unreported suspicious orders retrospectively through an audit process put

in place in 2015. 231 At least four of these orders were placed by customers in CT1 jurisdictions. 232

           Through its 30(b) designee, Cardinal Health testified that the CSA’s reporting requirement has

been “in place since 1971 and applicable to Cardinal Health as modified by the guidance provided by

the DEA over the years.” 233 Cardinal’s failure to report more than 14,000 suspicious orders to the

DEA between 2012 and 2015 is a clear violation of the CSA, and Plaintiffs seek partial summary

judgment finding that Cardinal so violated its duties under the CSA.
           H.       McKesson Failed to Comply with Its CSA Duties to Maintain Effective
                    Controls against Diversion
           McKesson’s systemic failure to follow the CSA requirements has been documented in two

large settlements with the DEA and has been conceded by its corporate designee, Nate Hartle during

his 30(b)(6) deposition when he testified that as a result of its conduct McKesson accepts partial

responsibility for the societal costs of the opioid epidemic this country faces today. (See 7/31/18

Hartle Dep. at 285:6-286:15, Ex. 12). Indeed, in January 2017 settlement with the DEA, McKesson

accepted responsibility for violating the CSA and expressly acknowledged that:
           at various times during the period from January 1, 2009 up through and including the
           Effective Date of this Agreement (the “Covered Time Period”), it did not identify or
           report to DEA certain orders placed by certain pharmacies which should have been
           detected by McKesson as suspicious based on the guidance contained in the DEA
           Letters about the requirements set forth in 21 C.F.R. § 1301.74(b) and 21 U.S.C.
           § 8942(a)(5).
Ex. 249 (2017 Settlement Agreement at p. 5) Based on this acknowledgement alone, Plaintiffs believe

that this Court can find, as a matter of law, that McKesson violated the CSA. Moreover, as is

demonstrated below, McKesson failure to comply with the basic CSA requirements is supported by

ample additional documentary evidence and sworn testimony.

231   Id. at 271:18-22.
232   See Ex. 229, Cardinal’s Written Response to Plaintiffs’ Second 30(b)(6) Notice, Topic 16, n. 1.
233   Ex. 11, Depo. of Norris, 65:20-66:2.

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                    1.        McKesson’s SOM Programs Prior to 2008 Were Wholly Inadequate and Failed to Comply
                              with the Requirements of the CSA
                              (a)      McKesson’s “Section 55” Program Was a Rudimentary System that
                                       Failed to Meet the Most Basic CSA Requirements.
          From at least 1997 234 until May 2007, the sole system utilized by McKesson to identify and

report suspicious orders of controlled substances, including opioids, was found in Section 55 of the

McKesson Drug Operations Manual. Under this system, McKesson produced daily and monthly

reports – known as DU-45 reports – that documented retrospective sales of controlled substances

when those sales exceeded three times of that customer’s 12 month purchase average for that drug

base code. Ex. 237 & Ex. 238 (MCKMDL00651873 at 00651919-20; 1/10/19 Gary Hilliard Depo.

at 163:21-169:7). 235

          McKesson’s own regulatory employees have acknowledged that this system did not flag true

suspicious orders, as required by the CSA. McKesson’s Regulatory Affairs Director, David Gustin,

noted “the previous reports [DU-45] were not the exclusive and proper response to this regulation.

We have an obligation to report ‘suspicious orders.’ … Simply reporting larger than usual orders does

not when there are so many plausible and routine reasons for orders to be ‘larger than normal.’” Ex.

240 (MCKMDL00510747). Similarly, another Director of Regulatory Affairs for McKesson, Gary

Hilliard, has testified that McKesson’s suspicious order monitoring system prior to 2007 was not

designed to detect true suspicious orders. Ex. 238 (1/10/19 Gary Hilliard Depo. at 176:8-176:22).

Instead, this system was focused solely on reporting excessive orders, which is not consistent with the

requirements of the CSA.

          Of equal importance, Section 55 included no requirement to block orders that were deemed

excessive and ultimately reported to DEA. In fact, McKesson made no effort to block suspicious

234
      The earliest CSA compliance-related SOP produced by McKesson is from 1997. (See Ex. 237, MCKMDL00651873).
235 However, it should
                     be noted that McKesson has not been able to locate any DU-45 reports that were allegedly generated
from the New Castle Distribution Center, which was the distribution center that serviced Summit and Cuyahoga Counties.
Ex. 239 (McKesson Corporation’s Second Supplemental Objections and Responses to Plaintiffs’ Combined Discovery Requests at p. 10).



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opioid orders until it began utilizing the Controlled Substances Monitoring Program in May 2008. Ex.

238 (1/10/19, Gary Hilliard Depo. at 52:21-53:3). Similarly, outside of confirming erroneous “fat

fingered” orders, McKesson undertook no investigation of the legitimacy of excessive orders under

the Section 55 program either. Ex. 241 (11/8/18, Blaine Snider Depo. at 77:3-78:4).

        The massive shortcomings of Section 55 were perhaps best illustrated in DEA’s investigation

into large shipments of opioids provided by McKesson to rogue internet pharmacies in 2005 and 2006.

In late 2005, DEA began investigating McKesson for filling large quantities of hydrocodone and

oxycodone orders for rogue internet pharmacies. In January 2006, DEA notified McKesson that it

had identified more than 2 million doses of hydrocodone delivered by McKesson to several rogue

internet pharmacies during           a   3    week    period.         Ex.    242    (MCKMDL00496876             at

MCKMDL00496877). 236 Importantly, during discussions with DEA, McKesson conceded that these

extremely large orders were not flagged under its Section 55 system, in part, because McKesson did

not track the sale of generic drugs for suspicious order monitoring purposes under that system. Ex.

242 (MCKMDL00496876 at MCKMDL00496877 - MCKMDL00496878).
                          (b)      McKesson’s Short-Lived Lifestyle Drug Monitoring Program Did
                                   Little to Improve Upon Section 55’s Shortcomings.
        In May 2007, McKesson launched the Lifestyle Drug Monitoring Program (hereinafter

“LDMP”).       The LDMP was limited to four drugs (oxycodone, hydrocodone, alprazolam and

phentermine). Ex. 243 (MCKMDL00355251). For these four drugs, an 8,000 monthly dosage unit

threshold was set for every McKesson customer nationwide. Ex. 243 (MCKMDL00355251). Once

the 8,000 dosage unit threshold was met in a given month, a 3 level review process was to be triggered.

Ex. 243 (MCKMDL00355251 at MCKMDL00355252-00355255).

        McKesson represented to DOJ that under the LDMP “customers will not be allowed to

exceed the 8,000 monthly dosage limit until a due diligence review has been completed.” Ex. 245

236 During his transition from DEA to McKesson in 2013, Gary Boggs confirmed that the pharmacies at issue in DEA’s

2006 investigation were in fact rogue internet pharmacies. Ex. 244 (MCKMDL00336833 at MCKMDL00336847).

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(MCKMDL00330924 at 00330926; also stamped MCK-HOI-002-0000001 at 0000003). But, this is

not how the program actually operated. Testimony from McKesson’s regulatory employees has

confirmed the LDMP had no mechanism to block orders once the 8,000 unit threshold was met and

while an investigation was ongoing. Ex. 246 (11/28/18 William Mahoney Depo. at 584:11-17). In

fact, pharmacy customers were routinely permitted to exceed the 8,000 monthly dosage thresholds

prior to a due diligence reviewing being completed by McKesson. (See e.g., Ex. 247,

MCKMDL00540033).

         McKesson’s LDMP did not fare better when it came to identifying suspicious orders either.

McKesson has been unable to produce any documentation of true suspicious orders being reported

during this time period. Instead, to the extent any orders were reported to DEA during this time

period it was only excessive orders meeting the parameters of the Section 55 protocols discussed

above.

         Additional problems with the LDMP were uncovered during routine auditing of the program.

First, it was noted that “it is possible not all of the products containing one of the generic ingredients

are included” in the reports generated as part of the LDMP. Ex. 248 (MCKMDL00591949 at

MCKMDL00591951). Additionally, the Daily Dosage Summary Report generated under the LDMP

was organized by distribution center, and therefore a customer could exceed the monthly 8,000 dosage

unit threshold and avoid detection by simply spreading its purchases across multiple distribution

centers. Ex. 248 (MCKMDL00591949 at MCKMDL00591951).
                        (c)     McKesson’s 2008 Settlement Agreement Confirms the Lack of CSA
                                Compliance under Section 55 and the LDMP.
         By 2008, DEA and DOJ felt compelled to punish McKesson for its flagrant non-compliance

with the CSA. On May 2, 2008, McKesson entered into a settlement agreement with DEA and DOJ

and paid $13,250,000 in fines for numerous violations of the CSA concerning the distribution of

opioids. Ex. 249 (MCKMDL00337001). The scope of the violations at issue was sprawling. Ex. 249


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(MCKMDL00337001 at MCKMDL00337013 - MCKMDL00337014). Given the national scope of

McKesson’s SOMs system and the systemic nature of McKesson’s CSA violations, the conduct in the

2008 settlement agreement clearly reflects on McKesson’s conduct nationwide.

       In short, the violations at issue were as egregious as they were widespread. For example, from

January 2005 to October 2006 McKesson delivered over 3,000,000 doses of hydrocodone to a single

small pharmacy in Baltimore, Maryland while also failing to report any of the orders from that

pharmacy as suspicious. Ex. 249 (MCKMDL00337001 at MCKMDL00337013). In a single month,

McKesson delivered more than 2 million doses of hydrocodone to seven pharmacies in the Tampa

area and failed to report any orders from those pharmacies as suspicious. Ex. 249

(MCKMDL00337001 at MCKMDL00337013). Over a several month period in 2007 McKesson

delivered 2.6 million doses of hydrocodone to two Texas pharmacies while failing to report any orders

from those pharmacies as suspicious. Ex. 249 (MCKMDL00337001 at MCKMDL00337013). These

violations only scratch the surface of the conduct at issue in the 2008 settlement agreement.

       In sum, under both Section 55 and the LDMP, McKesson failed to identify and report true

suspicious orders and it completely failed to properly investigate or block orders that were flagged

under either system. Thus, the conclusion is inescapable that from at least 1997 to May 2008

McKesson failed to meet even the most basic CSA requirements.
               2.      Even with the Adoption of a New Program in 2008, McKesson Still Failed to Identify and
                       Report Suspicious Orders
                       (a)     McKesson Undertook Significant Efforts To Ensure Its New Program
                               Was Not an Effective Anti-Diversion Program.
       In May 2008, McKesson launched the Controlled Substances Monitoring Program

(hereinafter “CSMP”). The CSMP continued to apply monthly thresholds, but, unlike the LDMP

thresholds, the CSMP’s monthly thresholds applied to all opioid products. Thresholds were initially

set under the CSMP by reviewing the customer’s 12 month purchase history for each drug base code,

reviewing the highest month of purchases in that 12 month period, and adding a 10% buffer to that

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purchase amount. Ex. 250, 286 (MCKMDL00267635 at MCKMDL00267641; MCKMDL00633917).

Thresholds could then be adjusted thereafter through a process referred to as a threshold change

request (hereinafter “TCR”). Ex. 250 (MCKMDL00267635 at 00267649).

       The CSMP also retained the LDMP’s tiered three-level review process, which was triggered

once a customer met their monthly threshold. However, the due diligence files produced for Summit

and Cuyahoga Counties covering the time span of 2006 to Jan, 1, 2014 include no evidence of a Level

2 or Level 3 review being conducted by McKesson in either county. Ex. 251, Ex. 252, and Ex. 253

(MCKMDL00496212-MCKMDL00496305;                           MCKMDL00555448-MCKMDL00555744;

MCKMDL00568207-MCKMDL00568281). Under the CSMP, McKesson also included a “Know

Your Customer” process. Again, however, McKesson’s due diligence files produced in this case show

that for years this process was very rudimentary in nature and that there were very few substantive

investigations being performed.         Ex. 251, Ex. 252, & Ex. 253 (MCKMDL00496212-

MCKMDL00496305;              MCKMDL00555448-MCKMDL00555744;                     MCKMDL00568207-

MCKMDL00568281). Thus, McKesson’s due diligence files make clear that McKesson was

completely failing to comply with the CSA’s investigatory requirements.

        With the launch of the CSMP, for the first time McKesson established a process for blocking

opioid orders that were identified as suspicious. However, it is clear that the CSMP contained multiple

loopholes to ensure as few orders as possible were blocked, thereby ensuring that the controls that

were put in place remained completely ineffective.

       At the outset of the program, McKesson notified all of its customers they should not expect

any change in their ability to order controlled substances under the CSMP. In a document that was

disseminated to McKesson’s pharmacy customers when introducing them to the CSMP, McKesson

stated “[t]his program addresses the DEA’s requirements to ensure controlled substances are used in

the way they were intended, but it also ensures that you as a McKesson customer can continue with



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business as usual.” Ex. 254 (MCKMDL00543610 at 00543613) (emphasis added). Given that this

document was written just after McKesson entered into a $13.25 million dollar settlement with DOJ

for failing to have effective controls against diversion as it pertained to opioid distribution, the message

to McKesson’s customers should have been that it would be the opposite of business as usual going

forward.    But McKesson’s promise of “business as usual” was backed up by very significant

shortcomings in the new program, which ensured that the program would not interfere with opioid

sales.

         First, although McKesson established thresholds under the CSMP, those thresholds were

frequently set far too high to ever be triggered. In fact, in August 2014, DOJ readily pointed out this

flaw in McKesson’s CSMP. DOJ noted that McKesson’s review process under the CSMP was not

even triggered until a customer purchased more than 10% of their average 237 month in the prior 12

month period. In addition, these thresholds were set based on purchases from the 2007-2008 time

period which DOJ noted was a “year in which McKesson had settled claims because diversion was

flourishing in McKesson-supplied pharmacies.” Ex. 264 (MCKMDL00409224 at 00409234).

         The extremely high thresholds set by McKesson for controlled substances did not go

unnoticed within the company. On August 31, 2011, Director of Regulatory Affairs, David Gustin,

stated, “I have thought of an area that needs to be tightened up in CSMP and it is the number of

accounts we have that have large gaps between the amount of Oxy or Hydro they are allowed to buy

(their threshold) and the amount they really need. (Their current purchases) This increases the

‘opportunity’ for diversion by exposing more product for introduction into the pipeline than may be

being used for legitimate purchases.”’ Ex. 256 (MCKMDL00507799). Despite Mr. Gustin’s concerns,



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    The reference to the thresholds being set based on the average orders from the prior 12 months also underestimates
how McKesson actually set thresholds. According to McKesson’s own documents, these thresholds were set based on
the highest ordering month from the prior 12 months, not the average month. (See e.g., Ex. 259, MCKMDL00626898).



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no serious efforts were undertaken to systematically reduce thresholds until 2015, a full four years

later. (See Ex. 257, MCKMDL00410744; Ex. 258, MCKMDL00402184).

        Second, McKesson routinely increased thresholds without obtaining adequate justification for

the increase. In order to have a threshold increased under the CSMP, a customer was supposed to

provide documentation supporting a legitimate change in business that warranted the threshold

increase. Ex. 250 (MCKMDL00267635 at MCKMDL00267649). However, these requirements were

routinely ignored.

        For example, in April 2011, David Gustin expressed that McKesson needed to tighten up the

process regarding threshold increases because threshold increases were “almost automatic” and being

granted for insufficient reasons, like “business increase”. Ex. 260 (MCKMDL00507221 at 00507223).

Regulatory Affairs Director Tom McDonald reiterated these concerns in July 2012. Mr. McDonald

noted that the company was too liberally granting threshold increases without proper documentation

and often based only on a claim of business growth by the customer. Ex. 261 (MCKMDL00633455).

Mr. Gustin became so concerned about the lack of due diligence being conducted by McKesson that

he even noted to other colleagues in regulatory affairs that “[w]e as DRAs need to get out visiting

more customers and away from our laptops or the company is going to end up paying the price . . .

big time.” Ex. 262 (MCKMDL00634329 at 00634331). Another Regulatory Affairs Director, Michael

Oriente, responded, “I am overwhelmed. I feel that I am going down a river without a paddle and

fighting the rapids. Sooner or later, hopefully later I feel we will be burned by a customer that did not

get enough due diligence. I feel it is more of when than if we have a problem rise up.” Ex. 262

(MCKMDL00634329 at 00634330-31).

        McKesson ultimately acknowledged the problem of deficient due diligence, especially as to

threshold increase requests. A November 2013 training deck noted a desire to make threshold change

increases “the exception, not the rule” going forward in order to address the lack of due diligence that



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had become commonplace at McKesson. Ex. 263 (MCKMDL00516748 at 00516754). The lack of

due diligence for threshold increases was also readily apparent to DOJ. In August 2014, DOJ noted

that McKesson appeared to be willing to approve threshold increases for opioids for the flimsiest of

reasons. Ex. 264 (MCKMDL00409224 at 00409235).

       Third, McKesson has a long history of absolute deference to retail national account customers

when it comes to threshold increases. McKesson’s Senior Director of Distribution Operations,

Donald Walker, testified that McKesson did not ask for dispensing data in order to verify the

legitimacy of threshold increases for retail national account customers and generally deferred to those

customers to decide when it was appropriate for them to get threshold increases for controlled

substances. Ex. 265 (See Donald Walker Deposition; Jan 10, 2019; pp. 190-193.). These lax practices

resulted in McKesson routinely granting threshold increases to retail national account customers

without any apparent due diligence, including many for retail national account customers in Summit

and Cuyahoga Counties. (See e.g., Ex. 266, MCKMDL00000497; Ex. 267, MCKMDL00363951; Ex.

268, MCKMDL00574488; Ex. 252, MCKMDL00555448; Ex. 269, MCKMDL00512974; Ex. 270,

MCKMDL00628614; Ex. 271, MCKMDL00555473; Ex. 272, MCKMDL00555484; Ex. 273,

MCKMDL00555501; Ex. 274, MCKMDL00555506; Ex. 275, MCKMDL00628660; Ex. 253,

MCKMDL00568233; Ex. 252, MCKMDL00555480; Ex. 276, MCKMDL00555536).

       Fourth, McKesson took affirmative steps to reduce the number of blocked controlled

substance orders by warning customers that they were approaching a threshold. This process ensured

that customers could seek an increase before McKesson would be forced to block their orders. In

fact, this threshold warning system was designed solely to ensure that thresholds could be increased

before any sales were lost. In discussing the creation of these reports in October 2006 Sharon

Mackarness of McKesson noted, “[w]e are in the business to sell product. If we could produce a

report … that warned a customers approach to the threshold, say at 85% of their 10,000 dosages,



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work could begin on justifying an increase in threshold prior to any lost sales.”              Ex. 277

(MCKMDL00543971 at 00543972). These threshold warning reports were utilized for years thereafter

to great effect as a preemptive tool to increase thresholds before orders had to be blocked.

       Acknowledging the impropriety of providing these warning reports to customers, in

November 2013 McKesson announced to its employees a new policy pertaining to threshold warning

reports. The presentation states “[w]e are not communicating specific thresholds or providing

threshold warning reports. We believe this is a better practice. Thresholds are not intended to allow

customers to manage against a number. We strongly believe that customers should exercise their

corresponding responsibility one prescription at a time.” Ex. 278 (MCKMDL00476786 at 00476791).

However, in the following months McKesson was already making exceptions to this newly established

policy for customers in Summit and Cuyahoga Counties. (See e.g., Ex. 279, MCKMDL00476692; Ex.

280, MCKMDL00485800). The shift to not providing these warning reports was appropriate and

McKesson should have abided by this policy without exception.

       The above measures individually and collectively rendered McKesson’s CSMP ineffective as

an anti-diversion tool. Thus, while the CSMP could have been used as a tool to identify suspicious

orders and properly investigate them, significant efforts were undertaken by McKesson to thwart the

effectiveness of the system as whole.

       McKesson’s CSMP also could have been used as a tool to report suspicious orders, but was

not used to meet that regulatory requirement until five years after the program was initially launched.

For Summit and Cuyahoga Counties, McKesson failed to report a single suspicious order from May

2008 to July 31, 2013. Ex. 281 (MCKMDL00478912). To put those numbers into further context,

during that time period McKesson filled approximately 366,000 opioid orders in these two counties.

Ex. 282 (MCKMDL00478913). This wholesale failure to report suspicious orders during this time

frame is not an anomaly that is restricted to Summit and Cuyahoga Counties. As DOJ recognized as



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part of its investigation in 2013 and 2014, there was a “nationwide” and “systemic” failure of

McKesson to report suspicious orders and otherwise maintain effective controls against diversion. Ex.

255 (MCKMDL00409453 at 00409454).

        The egregiousness of McKesson’s failure to report suspicious orders is further supported by

the quantity of orders McKesson did report as suspicious once it finally decided to begin engaging in

the practice. For example, in 2015 alone, McKesson has acknowledged it reported a total of 230,000

suspicious controlled substance orders nationally. Ex. 283 (McKesson Board of Directors’ Response

to International Brotherhood of Teamsters at p. 24). Similarly, the rise in suspicious order reports by

McKesson in Summit and Cuyahoga Counties beginning in late 2013 cannot be supported by any

conclusion except that prior to that time McKesson completely failed to meet its reporting

responsibility.

        McKesson’s failure to report suspicious orders was not accidental or due to a

misunderstanding of its regulatory duties. In fact, the term “suspicious” when it came to controlled

substances was taboo within the company. At the time McKesson’s CSMP was created in 2008 it

included a section that advised employees to “[r]efrain from using the word ‘suspicious’ in

communications”’ because “[o[nce McKesson deems an order and/or customer suspicious,

McKesson is required to act. This means that all controlled substances sales to that customer must

cease and the DEA must be notified.” Ex. 284 (MCKMDL00518064 at 005118078). This passage

demonstrates that McKesson was both fully aware of its regulatory responsibilities and was

determined to avoid them at all costs.
                       (b)     McKesson Admitted It Violated the Requirements of the CSA From
                               2009-2017 as Part of Its 2017 Settlement Agreement with DEA/DOJ.
        Ultimately, DEA and DOJ concluded that McKesson’s desire for increased sales and customer

retention had overridden its obligations to report suspicious orders and jeopardized the health and

safety of people around the country. Ex. 264 (MCKMDL00409224 at MCKMDL00409234). DEA


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and DOJ described McKesson’s due diligence failures as to opioids as both “nationwide” and

“systemic”. Ex. 255 (MCKMDL00409453 at MCKMDL00409454). As a result of these broad

sweeping due diligence failures, McKesson agreed to a $150,000,000 settlement with the DEA and

DOJ. Ex. 236 (MCKMDL00355349).

          Additionally, as noted above, McKesson accepted responsibility for its nationwide due

diligence failures as to opioid distribution spanning 2009 to 2017 and acknowledged that it had not

fulfilled its obligations under the CSA during this period. Ex. 236 (MCKMDL00355349 at

MCKMDL00355352). (2017 Settlement Agreement at p. 5).

          It would be expected that such a harsh financial penalty would have dramatically altered

McKesson’s practices. However, before the ink of the settlement agreement was even dry, McKesson

was already re-assuring customers who were concerned that the flow of opioids would be curtailed

that it would remain “business as usual” at McKesson. Ex. 285 (MCKMDL00418094). Thus, even

after paying a hefty fine for widespread CSA violations, McKesson still indicated it had not learned its

lesson.

          The overwhelming evidence demonstrates that even with the adoption of the CSMP in 2008

McKesson still failed to properly report, investigate, and block suspicious opioid orders both in

Summit and Cuyahoga Counties and nationally. For this reason, summary judgment is appropriate on

these points in Plaintiffs’ favor. 238
          I.      ABDC Failed to Comply with Its CSA Duties to Maintain Effective Controls
                  against Diversion
          Defendant AmerisourceBergen Drug Corporation (“ABDC”) failed to maintain effective

controls against diversion because it systematically ignored and violated the “no-shipping duty”

articulated in Masters Pharmaceutical. AmerisourceBergen consistently shipped orders it identified as


238Like other defendants, McKesson attempts to establish the contrary through expert testimony. See Ex. 290, Aquino
Expert Report. And as is true for other defendants, this expert opinion is inadequate to create a genuine issue of material
fact in the face of McKesson’s admissions to the DEA.

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suspicious before conducting due diligence to determine whether the orders were likely to be diverted

into illegal channels.

         Prior to 2007, AmerisourceBergen maintained what it referred to as a “ship and report process.”

Ex. 289, ABDCMDL00000101-122, at 109 (emphasis in original). According to Chris Zimmerman,

AmerisourceBergen’s Senior Vice President of Corporate Security & Regulatory Affairs and Chief

Compliance Officer, AmerisourceBergen shipped all orders of controlled substances it identified as

suspicious before those orders were ever reported to the DEA. See Ex. 291, Zimmerman Deposition

I, 108:11-109:16; 110:16-22 (“Q: Just so we have a clear record, the practice was to ship the orders at

night, and then the next day any orders that were identified as suspicious were then reported to the

DEA; is that correct? A: Correct.”) Despite AmerisourceBergen’s purported use of a threshold-

based system to flag “excessive” (i.e., suspicious) orders that exceeded three-times a particular average

sale benchmark, AmerisourceBergen’s policy was to ship all “excessive” orders that exceeded that

threshold. Id., at 121:7-122:3 (“Any order that was over the threshold amount would be produced

[sic] an excessive order report.” Q: But it would still be shipped?” A: “The product?” Q: “Yes.”

A: “Yes.”)

         AmerisourceBergen’s use of a threshold-based system with a three-times multiplier to detect

“excessive” orders derived from the DEA’s Chemical Handler’s Manual’s order monitoring system

for “listed chemicals.” See Ex. 291, Zimmerman Deposition I, 131:7-133:22. 239 The Chemical

Handler’s Manual specifies that “when a regulated person suspects that an order may be intended for

illicit purposes, good practice requires that every reasonable effort be made to resolve those suspicions.

In addition to making the required reports, the transaction should not be completed until the customer


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      The DEA Chemical Handler’s Manual’s reference to a threshold-based system with a three-times multiplier relates to
“Listed Chemicals,” rather than controlled substances, which are primarily focused on the sale of chemicals used to make
illicit methamphetamine. See Ex. 292, Chemical Handler’s Manual, 2001 Edition, at p. 43 (“Factor equals 3 for C-II and
C-III Controlled Substances Containing List I Chemicals”) (emphasis added). “Suspicious Orders” of Listed Chemicals are
defined by 21 U.S.C. § 830(b)(1)(A) as orders of “extraordinary” size. Relying upon a threshold of “extraordinary” size
accordingly fails to detect orders of “unusual” size, and is thus not compliant with 21 C.F.R. § 1301.74(b).

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is able to eliminate the suspicions. The distributor may have to forego some transactions.” Ex. 292 at

p. 21. Despite this directive from the Chemical Handler’s Manual, AmerisourceBergen did not

consider foregoing such transactions, or halting the shipment of suspicious orders, at the time. See

Ex. 291, Zimmerman Deposition I, 142:16-143:3; 143:9-145:2.

        During this timeframe, AmerisourceBergen’s policy was to ship all such “excessive” (i.e.,

suspicious) orders either before, or in the absence of, a due diligence determination that such orders

were unlikely to be diverted into illegal channels. Prior to 2007, Eric Cherveny, AmerisourceBergen’s

Director of Diversion Control and Security, Corporate Security and Regulatory Affairs, was involved

with conducting investigations of orders AmerisourceBergen identified as “excessive.” See Ex. 293,

Cherveny Deposition, 277:16-281:7; 298:7-12. Mr. Cherveny, however, admitted that all such due

diligence investigations only occurred after those orders had already been shipped to

AmerisourceBergen’s customers:
        Q: Do you recall if one of the things that you were evaluating was whether to fill the
        order?
        A: Well, keep in mind this was a system that we operated that was prior – prior to the
        system that held orders.
        Q: Okay.
        A: So this was investigations that occurred after the shipment was already completed.
        Q: Okay. So it’s your understanding that all these orders and in the possible suspicious
        order report had already been shipped; is that correct?
        A: Yes. Those were – those were orders that have already been shipped. That’s
        correct.
Id., 281:14-282:8; see also 337:22-338:2 (“Prior to 2007 orders weren’t held when investigation – or

when a suspicious order was flagged. We would conduct those investigations after the fact.”) (emphasis added).

        Notwithstanding the fact that AmerisourceBergen’s policy was to ship all “excessive” orders

prior to conducting any due diligence, the post-hoc due diligence AmerisourceBergen did conduct was

itself woefully inadequate. In addition to the excessive order reports which included orders that

exceeded the relevant threshold, employees in AmerisourceBergen’s distribution centers were

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provided with guidelines instructing them to report orders that were of unusual size or frequency, or

which deviated from the normal ordering pattern. See Ex. 291, Zimmerman Deposition I, 118:1-11.

AmerisourceBergen placed signs in the distribution center “cages” with the base quantity levels that

could be ordered and it was left to a distribution center employee’s discretion to determine whether

an order was suspicious. Id; see also Ex. 294, Steve Mays Deposition I, 173:19-174:9. However,

AmerisourceBergen did not have any policies or procedures in place to compare its customers’

purchase of controlled substances with the average purchases of similarly situated customers. See Ex.

295, Steve Mays Deposition II, 68:1-71:23. Nor did AmerisourceBergen have any system in place to

monitor its purchasing of Schedule II or III controlled substances as it compared to other types of

substances (id., 72:1-5), or any system to evaluate the frequency of orders of controlled substances

placed by its customers (id., 72:22-73:3). Prior to 2007, AmerisourceBergen had no clear hierarchy to

establish responsibility for preventing diversion because the company did not even form its Diversion

Control Group until after that year. See Ex. 296, ABDCMDL00270533.

         The year 2007 marks a key shift in AmerisourceBergen’s suspicious order monitoring policies,

and in particular, its policy to comply with the “no-shipping duty” articulated in Masters Pharmaceutical.

That year, the DEA initiated an enforcement action against AmerisourceBergen due to its filling and

shipping of orders of controlled substances ABDC knew, or should have known, to be suspicious.

See Ex. 297, ABDCMDL00269383-86 (April 19, 2007 Order to Show Cause and Immediate

Suspension of Registration). In its Order to Show Cause, the DEA suspended the registration of

AmerisourceBergen’s Orlando distribution facility, and specifically found that “Respondent

[AmerisourceBergen] has failed to maintain effective controls against diversion of particular controlled

substances into other than legitimate medical, scientific and industrial channels, in violation of 21

U.S.C. §§ 823(b)(1) and (e)(1).” 240 Id., at ABDCMDL00269383. While the DEA’s Order to Show

240According to the Order to Show Cause and Immediate Suspension of Registration issued by the DEA,
AmerisourceBergen (1) distributed hydrocodone to pharmacies in amounts that far exceeded what an average pharmacy
orders to meet the legitimate needs of its customers; (2) distributed hydrocodone to pharmacies even though they ordered

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Cause singled out the Orlando distribution facility for violations of the “shipping duty,” those

violations were actually systemic and not limited to the Orlando facility, because AmerisourceBergen

maintained national suspicious order monitoring policies and procedures. See Ex. 295, Steve Mays

Deposition II, 24:18-22; 56:11-17; 57:4-14; 57:16-22; 58:5-15.                     The policies employed by

AmerisourceBergen’s Orlando distribution facility that violated the “no-shipping duty” of the

Controlled Substances Act were accordingly employed by each of its distribution facilities across the

country. Id.

         As a result of the April 19, 2007 Order to Show Cause, the DEA and AmerisourceBergen

entered into a settlement agreement, whereby AmerisourceBergen agreed to overhaul their order

monitoring system to stop shipping suspicious orders in violation of the “shipping duty,” and to

improve their due diligence investigation process:
         THE WITNESS: So through negotiations with DEA and in enhancing our existing
         order monitoring program that we had in place at the time, DEA wanted us to include
         a more in-depth due diligence process in addition to ensuring that we only distribute
         products to licensed individuals. And they also wanted us to modify our suspicious
         order monitoring program to stop orders that we believed – stop orders that could
         possibly be suspicious and then to any suspicious – any order we deem suspicious
         should not be shipped.
         Q: Did AmerisourceBergen agree to do that?
         A: We modified our program per this agreement, correct.
Ex. 291, Zimmerman Deposition I, 139:16-140:13; see also Ex. 298, ABDCMDL00279854-65 (2007

Settlement and Release Agreement).

         In 2017, AmerisourceBergen acknowledged this critical shift in their order monitoring policy,

noting that as a result of the 2007 negotiations with the DEA, AmerisourceBergen “completely

changed the order monitoring process to include holding and not shipping any order that exceeded


small amounts of other drug products relative to those purchases; (3) distributed hydrocodone to pharmacies much more
frequently than AmerisourceBergen’s other customers; and (4) shipped to pharmacies that AmerisourceBergen knew or
should have known that filled many prescriptions issued by physicians who did not conduct a medical examination of its
customers. See Ex. 297, ABDCMDL00269383-387.

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that pharmacies’ peer group threshold,” and that “[p]rior to our implementation of the SO [suspicious

order] hold, suspicious orders were reported after they had been shipped. Orders are shipped at night,

so SO’s would not be identified until the next day.” 241 Ex. 296, ABDCMDL00270533.

         Despite this “complete change” to its order monitoring policy in 2007, however,

AmerisourceBergen continued the practice of shipping some orders it identified as suspicious, with

little or no documentation as to whether a due diligence investigation was conducted to show such

orders were unlikely to be diverted into illegal channels. In 2010, AmerisourceBergen reported one

suspicious order from Summit County (Order No. CES112610). See Ex. 299, ABDCMDL00379674.

Despite reporting this suspicious order to the DEA, however, AmerisourceBergen shipped it to its

customer, Acme Pharmacy #30, anyway. See Ex. 300, ABDCMDL00308070. The only record of

AmerisourceBergen’s due diligence investigation of this order is the note, “Approved for release per

Ed Hazewski.” Id. Likewise, one of the twelve suspicious orders AmerisourceBergen reported to the

DEA in 2012 from Summit County (Order No. 5110197536) was shipped as well. See Ex. 299,

ABDCMDL00383974. The only record of AmerisourceBergen’s due diligence investigation of this

order is the note, “Approved for release.” Id.

         The other due diligence policies put in place as a result of the 2007 Settlement Agreement with

the DEA also suffered from numerous and critical deficiencies. These defects, along with others,

rendered AmerisourceBergen’s due diligence program ineffective and toothless. AmerisourceBergen

implemented a “Know Your Customer” due diligence policy, consisting of a retail pharmacy

questionnaire (the “Form 590”).              The Form 590 was supposed to be completed by the

AmerisourceBergen sales representative assigned to that particular customer. See Ex 291, Zimmerman

Dep. I, 199:4-200:21; 201:11-15.            This structure created a clear conflict of interest because

241Although AmerisourceBergen purported to change components of its order monitoring program in 2007, it continued
to implement a threshold-based system based on a three times multiplier. See Ex 291, Zimmerman Deposition I, 126:13-
127:11. AmerisourceBergen’s post-2007 order monitoring program thus suffered from the same fatal deficiency as its pre-
2007 program. Both programs were based on the Chemical Handler’s Manual’s identification of orders of “extraordinary”
size, rather than “unusual” size, as is required by 21 C.F.R. § 1301.74(b).

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AmerisourceBergen sales representatives, who were responsible for acquiring and maintaining

customers, also were in charge of collecting information that would be used against those customers

and decrease sales, to halt and investigate suspicious orders of those customers.

       Moreover, the Form 590 due diligence process was only used to onboard new customers

(rather than to investigate existing customers) (see Ex 291, Zimmerman Dep. I, 201:11-24), and it

exempted “retail chain pharmacies” (a term broadly defined to include pharmacies with ten or more

locations, or any number of locations in more than one state) (see Ex. 289, ABDCMDL0000107; see

also Ex 291, Zimmerman Dep. I, 213:16-214:9).

       Finally, in 2016, AmerisourceBergen implemented a “CSRA 590 Validation Project” to

“validate that all ABDC customers authorized to purchase controlled substances have the required

due diligence documentation in file.” Ex. 301 [ABDCMDL00159415]; see also Ex. 302, David May

Deposition, 272:2-20. However, one year into the project, despite having identified a significant

percentage of customer files lacking the requisite due diligence, AmerisourceBergen had only collected

the information for about 10% of those files. Ex. 302, David May Dep. 273:18-274:14. By May 29,

2018, AmerisourceBergen estimated that only about 60% of the due diligence deficiencies had been

remedied. Id., at 283:24-284:23. Thus, despite a reported shift in its due diligence policies after its

2007 settlement with the DEA, AmerisourceBergen’s order monitoring program was a failure both in

its implementation, and in its ability to adequately prevent diversion of controlled substances.

       The expert report of Robert Buskey submitted by ABDC is not sufficient to create a triable

issue of fact concerning ABDC’s failure to meet its obligations under the CSA. Ex. 516. Mr. Buskey’s

Report does not dispute any of the facts discussed above. Rather, Mr. Buskey asserts that ABDC’s

SOM program was adequate based on an interpretation of the CSA – and in particular, of the reporting

and no-shipping duties – at odds with the official pronouncements of the DEA and with the most

recent pronouncements and enactments of Congress. Compare Buskey Report with 21 U.S.C. § 832



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(“upon discovering a suspicious order or series of orders, [the registrant shall] notify the Administrator

of the Drug Enforcement Administration. . . .”) (emphasis added); Public Law 115-271, § 3272

(recognizing no-shipping duty); Ex. 10, DEA 30(b)(6) Deposition [Prevosnik]; Ex. 4 [Rannazzisi 2006

letter]; Ex. 6 [Rannissizi 2007] Letter; Southwood Pharmaceuticals, 72 FR 36487-01; see also CSA Duties

Mem. 242 The interpretation of the CSA, however, is a legal question for the Court. See CSA Duties

Mem. Although Mr. Buskey is a former DEA agent, he is not speaking for (and cannot speak for) the

DEA and his view of the law is not an official interpretation. That Mr. Buskey’s view of the law differs

from that of the DEA and Congress (or that ABDC might have been in compliance had the law been

what Mr. Buskey believes) does not create a triable issue of fact sufficient to defeat summary

adjudication that ABDC repeatedly violated the CSA.
            J.         Prescription Supply Failed to Comply with Its CSA Duties to Maintain
                       Effective Controls against Diversion
            Prescription Supply, Inc. (“PSI”) is a family-run business that has been engaged in the

wholesale distribution of pharmaceuticals since 1955. 243 Today, it is a DEA-licensed wholesale

distributor involved in pharmaceutical sales across an estimated thirty states. 244 Since the enactment

of the CSA in 1971, PSI has understood its duty to maintain effective controls against the diversion

of controlled substances, including both its duties to report and halt shipment of suspicious orders. 245

            Prior to 2000, PSI had no written policies and procedures regarding maintaining effective

controls against diversion. 246 When PSI did create guidelines in 2000, it did not include a policy to stop


242Mr. Buskey opines, for example, that “the DEA has been working on a revised version of the regulation relating to the
definition of ‘suspicious order’ for at least four years. See Ex. 516. He does not say that the DEA ever did revise it and
Congress has now codified the definition the DEA has used since 1971. See 21 U.S.C. § 802 (“suspicious order” includes,
but is not limited to, orders of unusual size, unusual frequency, or deviating from normal pattern). Mr. Buskey’s statement
about what DEA may have been thinking about does not change the law or create a triable issue of fact as to whether
ABDC violated the law as it actually was, and is, in effect.
243   Ex. 303, Deposition of Candace Harbauer, 12:11-18; 19-7:5; 13:12-21.
244   Id. at 15:15-16:4.
245   Ex. 20, Deposition of 30(b) Representative Thomas Schoen, 56:18-57:17; 59:11-60:2.
246   Ex. 303, Deposition of Candace Harbauer, 82:10-17.

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shipment of suspicious orders. 247 Even after explicit communication from the DEA reiterating

wholesale distributors’ duty to not ship suspicious orders, PSI never adopted such a policy 248

            Even after PSI adopted a specific policy addressing controlled substances, it did not include

any guidelines for determining how to set or raise a customer’s threshold or the due diligence required

to release a suspicious order. 249 In fact, testimony from the Controlled Substance Handler, James

Schoen, indicates that setting and raising thresholds and releasing suspicious orders was entirely up to

his discretion. 250 PSI maintained no documentation regarding the basis for his decisions. 251

            In addition to failing to create a system that maintained effective controls against diversion,

the undisputed evidence produced by PSI indicates that it violated the CSA by 1) never reporting

suspicious orders of opioids to the DEA; and 2) by shipping suspicious orders of opioids without

conducting any due diligence to dispel the suspicion of diversion from May of 1997 until 2013.
                      1.          PSI Violated the CSA by Never Reporting a Suspicious Order to the DEA
            In 1996, PSI created a suspicious order monitoring system that produced monthly “Suspicious

Order Monitoring Reports.” These reports, also referred to as “variance reports,” indicated whether

a pharmacy bought more than the average amount of a product that PSI sold to its customers. 252 PSI

sent these reports to the DEA from May of 1997 until 2013. 253

            The Suspicious Order Monitoring Reports did not satisfy PSI’s duty to report suspicious

orders to the DEA. The Suspicious Order Monitoring Reports were “lookback” reports identifying




247See id. at 70:4-9 and 94: 22-95:3 (testifying that Plaintiffs have every written policy and procedure of PSI) and 81:4-
82:9; 85:10-86:4 (testifying that none of the produced policies or procedures include not shipping a suspicious order)
248   Id. at 107:24-108:8; 109:12-111:15.
249   Ex. 305, PSI0000653-PSI0000654.
250   Ex. 306, Deposition of James Shoen, 47:8-16; 42:4; 80:10-81:1.
251   Id. at 20:14-23; 55:7-13.
252   Ex. 306, Deposition of James Schoen, 45:18-22.
253   Ex. 306, Deposition of James Schoen, 43:2-8.

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orders that had already been shipped the previous month. 254 Suspicious orders must be reported prior

to shipment. The DEA explained this to PSI, and other wholesale distributors, by noting that “[f]iling

a monthly report of completed transactions ergo excessive purchase report or high unit purchases

does not meet the regulatory requirement to report suspicious orders.” 255

            PSI recognized that its Suspicious Order Monitoring Reports did not satisfy its reporting duty

and has unequivocally admitted that it failed to ever report suspicious orders to the DEA in violation

of its obligations under the CSA. PSI’s 30(b) representative, Thomas Schoen, testified on behalf of

the corporation that the company received suspicious orders as the CSA and federal regulations

defined them 256 and that those orders were never reported to the DEA. 257

            Moreover, when PSI’s Controlled Substance Handler was asked how many suspicious orders

had been reported since 2013, his response was “zero.” 258 This testimony is also consistent with the

Ohio Board of Pharmacy’s letter to PSI in October of 2017 noting that PSI had not reported a

suspicious order to the Board during at least the years of 2014, 2015, 2016, and 2017. 259

            It is undisputed that PSI received suspicious orders, but never reported them to the DEA.

There are no genuine issues of material fact in this regard and, accordingly, Plaintiffs are entitled to a

finding that, as a matter of law, PSI violated the CSA by failing to report suspicious orders to the

DEA.
                      2.      PSI Violated the CSA by Shipping Suspicious Orders from May 1997 –2013
            As explained above, PSI submitted its Suspicious Order Monitoring Reports to the DEA from

May of 1997 until 2013. To the extent PSI intended these reports were to identify and report suspicious


254   Ex. 307, Deposition of Kirk Harbauer, 98:22-99:2.
255   Ex. 308, Deposition of Thomas Schoen, Exhibit 17, at 1; Ex. 306, Deposition of James Shoen, 121:17-122:5.
256   Ex. 20, Deposition of 30(b) Representative Thomas Schoen, 183:23- 184:3.
257   Id. at 150:15-17.
258   Ex. 306, Deposition of James Schoen, 115:19-116:2.
259   Ex. 309, PSI0000009.

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orders to the DEA, PSI failed to stop shipment of the orders identified therein before reporting

them. 260 Because identification of suspicious orders was not done until after shipment, there was no

way for PSI to have done any due diligence to ensure the suspicious orders were not likely to be

diverted before being released. As stated above, PSI was aware of the “no-shipping requirement,” that

it required PSI to not ship suspicious orders, and that the requirement had been in place since

enactment of the CSA. 261 This conclusively establishes that PSI was violating the CSA by shipping

suspicious orders without any due diligence to ensure they would not be diverted from May of 1997

until 2013 and entitles Plaintiffs to judgment as a matter of law in this regard.
            K.       Walmart Failed to Comply with Its CSA Duties to Maintain Effective Controls
                     against Diversion
            As a “self-distributor,” 262 Walmart operated licensed distribution centers to supply its own

pharmacies with controlled substances from the early 2000s until 2018 when it ceased self-distributing

controlled substances. 263 Prior to 2011, Walmart had not designed any system to identify suspicious

orders of controlled substances and, therefore, utterly failed to meet its statutory obligations. Then,

from 2014 until it stopped self-distributing controlled substances, the systems that Walmart designed

and operated to identify suspicious orders of controlled substances did not, and could not, satisfy the

identification, reporting or shipping duty. As late as June 2014, Walmart acknowledged that its lack

of a compliant monitoring program created the likely risk of severe financial and reputational harm. 264

Indicative of these egregious violations of the CSA, Walmart failed to identify, investigate or report a

single order of controlled substances destined for Cuyahoga or Summit Counties prior to April 25,



260   Ex. 307, Deposition of Kirk Harbauer, 98:22-99:2.
261   Ex. 20, Deposition of Thomas Schoen, 59:11-60:2.
  Walmart pharmacies could also order controlled substances directly from McKesson. Ex. 310, Deposition of Jeff
262

Abernathy (“Abernathy Tr.”) 254:2-10. Critically, Walmart’s so-called SOMs did not account for these direct orders.
263    Ex. 311, Deposition of Susanne Hiland (“Hiland Dep. Tr.”) 276:4-14.
264   Exs. 312-13, WMT_MDL_000048100 - WMT_MDL_000048101.

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2018. This is despite Walmart shipping numerous suspicious orders to these counties during this time

period. 265

            Prior to 2011 there is no documentary evidence that Walmart did anything to meet its statutory

obligations. 266 Despite this lack of documentation, Walmart claims that its hourly employees and

associates – who were also responsible for filling orders at Walmart Distribution Centers – monitored

the orders they were filling for unusual size, pattern, and frequency. 267 Walmart claims that these

hourly associates were instructed to alert a supervisor if an order appeared unusual based on their

experience and memory. 268 But there is no written evidence of such instructions, of any training that

would be required to implement such a procedure, or that anyone was ever alerted about an unusual

order pursuant to such a procedure. More importantly, this self-serving post hoc assertion is directly

contradicted by the testimony of a Walmart supervisor Jeff Abernathy that there was no such policy. 269

Moreover, Walmart acknowledges that it failed to provide any guidance to the associates in question

as to how they should flag an order as suspicious. 270 Instead, Walmart relied on these associates’ own

subjective personal experiences and memories. 271 Moreover, identifying suspicious orders was not the

sole or even the primary task of these employees, but was in addition to their daily responsibilities of

packing and shipping orders. 272 To put this in perspective, orders of numerous controlled substances

from more than 4,000 pharmacies were filled four days per week, meaning that the only Walmart


265Ex. 314, Plaintiffs’ Responses to the Amended and Clarified Discovery Ruling 12 Supplemental Interrogatory Issued
to Plaintiffs.
266Walmart concedes that its monthly Controlled Drug Stock Exception Reports were not used to monitor daily orders
for controlled substances. Ex. 315, Walmart Fed. R. Civ. P. 30(b)(6) Deposition Tr., 221:21-222:5, &295:7-18 (referring to
Controlled Drug Stock Exception Reports).
267   Ex. 310, Abernathy Tr., 24:15 – 25:6.
268   Ex. 315, Walmart Fed. R. Civ. P. 30(b)(6) Deposition Tr., 170:17-171:3; see also Ex. 310, Abernathy Tr., 24:15 – 25:6.
269   Ex. 310, Abernathy Tr., 42:23 - 43:5; see also Ex. 316, Deposition of Ramona Sullins (“Sullins Dep. Tr.”), 51:6-61:14.
270   Ex. 315, Walmart Fed. R. Civ. P. 30(b)(6) Deposition Tr., 214:7-22.
271   Ex. 315, Walmart Fed. R. Civ. P. 30(b)(6) Deposition Tr.. 52:1-13; 170:17 - 171-6; and 215:18 – 216:23.
272   Ex. 310, Abernathy Tr.. 24:15 – 25:6.

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Distribution Center for Schedule II controlled substances, DC 6045, filled and shipped approximately

40,000 line items of controlled substances per day. 273 Walmart also claims that if an hourly associate

alerted management regarding a particular order, the supervisor would investigate with the ordering

store to ascertain whether the order was correct. 274 But again, there is no evidence of this ever

occurring.        There was also no policy to hold an order during the pendency of any so-called

“investigation.” 275 Indeed, it was not until late 2014 that Walmart’s written policies and procedures

required a suspicious order to be held until it was verified as appropriate. 276

            Therefore, prior to 2011, the undisputed facts demonstrate that Walmart neither developed,

nor maintained a suspicious order monitoring system. Walmart’s post hoc narrative – that it relied on

the personal experience and memories of untrained hourly associates – is farcical and entirely

unsupported. Even crediting Walmart’s self-serving statements, asking a handful of hourly associates

to use their memories to monitor daily orders from 4,000 pharmacies could not and did not satisfy

Walmart’s identification duty. Additionally, the undisputed evidence shows that even if an hourly

employee happened to identify a suspicious order, Walmart’s policies and procedures failed to hold

shipments of suspicious orders. And, as such, Walmart did not and could not fulfill its shipping duty.

            From approximately 2011 until approximately 2015, Walmart implemented a monitoring

program that flagged weekly orders for controlled substances of 50 bottles (5,000 dosage units) or

more and orders of more than 20 bottles that were 30% higher than a rolling four-week average for

that item. 277 As a result, even if an order was more than 30% greater than the four-week average, it



273   Ex. 317, WMT_MDL_000006511; see also Ex. 316, Sullins Dep. Tr.. 56:6 – 57:5
274   Ex. 315, Walmart Fed. R. Civ. P. 30(b)(6) Dep. Tr. 242:22-243:15.
275   See generally, Ex. 318, WMT Resp. to Combined Discovery.
276 See WMT Resp. to Combined Discovery, Ex. 318; See also WMT_MDL_000054651, Ex. 319 and

WMT_MDL_000011107-11109, Ex. 320.
277 See WMT Resps. to Combined Discovery, Ex. 318; and Walmart Fed. R. Civ. P. 30(b)(6) Dep..Tr. 269:8-21; 270:7-17,

Ex. 315.

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could not draw an alert unless it was also more than 20 bottles (2,000 dosage units). 278 During this

time period, orders over 50 bottles were reduced to 50, and then shipped. 279 Walmart’s corporate

designee testified that it was Mr. Abernathy’s responsibility to report suspicious orders to the DEA. 280

Mr. Abernathy, however, confirmed that he never reported such orders to the DEA. 281 Orders that

were reduced because they exceeded Walmart’s threshold were not reported to the DEA. This

testimony confirms that, even if Walmart met its duty to identify suspicious orders in this time period,

it satisfied neither its reporting duty nor its shipping duty.

            In mid-2012 Walmart implemented “hard limits” on opioid orders. 282 Under this approach,

weekly orders of Oxycodone 30mg (“Oxy 30”) were automatically reduced to 20 bottles (for example,

a 40 bottle order was cut to 20 bottles). 283 Orders that were reduced pursuant to these hard limits

were neither reported to the DEA, nor held until determined to be appropriate (i.e., the orders

shipped). Again, Walmart failed to meet its reporting and shipping duties.

            During this time period, Walmart also monitored weekly orders of other controlled substances

in quantities of more than 20 bottles. 284 These orders were reported on a daily basis to Walmart’s

Home Office for review before shipping by the managers at DC 6045. But while there is evidence of

these daily reports being provided to the Home Office, there is no evidence of any review or any action taking

place at the Home Office. The manager at DC 6045, who often prepared these “Over 20 Reports” testified

that he never recalls the Home Office reviewing or holding any order and that the orders that were

sent for review would routinely be shipped the same day if he did not hear from the Home Office.

278   See WMT Resps, to Combined Discovery, Ex. 318.
279   Abernathy Dep. Tr., 80:2-20, Ex. 310.
280 Walmart Fed. R. Civ. P. 30(b)(6) Dep. Tr.. 293:7-23, Ex. 315 (confirming that Mr. Abernathy was responsible for
reporting suspicious orders to the DEA).
281   Abernathy Dep. Tr., 152:14-15, Ex. 310 (Q: Did you report those orders [cut 50] to the DEA? A: I did not.)
282   See WMT Resps. to Combined Discovery, Ex. 318.
283   Abernathy Dep. Tr. 64:24 - 65:22, Ex. 310
284   See WMT Resps. to Combined Discovery, Ex. 318.

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More specifically, the “Over 20 Report” was provided to the Home Office in the morning, and if

nothing was done by mid-afternoon, the orders were filled and shipped. 285 He could not recall a single

instance when an order was reviewed or even held. 286 Further, if an order was reduced, the ordering

pharmacy could place an order through McKesson or ABDC. 287 These orders were not monitored

by Walmart. In short, Walmart’s system permitted orders flagged by the “Over 20 Report” to ship

prior to completing the investigation and permitted Walmart stores to evade the restriction by ordering

from a different distributor. Thus, even Walmart’s “hard-limit” policy failed to satisfy either the

reporting or the shipping obligation.

            In 2015 Walmart “enhanced” its SOM policy by implementing store-specific thresholds. 288

These thresholds, which were based on the standard deviation of a specific pharmacy’s order history

for each controlled substance, also included minimum amounts, below which no orders were flagged

under any circumstance. Walmart’s corporate designee conceded that thresholds were set for business

purposes, 289 as opposed to the “maintenance of effective controls against diversion . . . into other than

legitimate . . . channels . . . .” 21 U.S.C.A. § 823(a)(1), (b)(1). For almost all pharmacies, this minimum

remained 2,000 dosage units per week (or 8,000 dosage units per month).          Accordingly, even when

Walmart implemented a store specific policy that took into consideration a pharmacy’s order history,

the program was still woefully deficient because a pharmacy could, for example, go from ordering 10

dosage units of Oxycodone 10 mg per month to 7,999 per month without any order being flagged or

reviewed.

            In sum, the undisputed record evidence shows that prior to 2011 Walmart neither designed,

nor implemented a regulatory compliant system to monitor suspicious orders of controlled substances.

285   Abernathy Dep. Tr.. 59:6 - 61:21, Ex. 310.
286   See Abernathy Dep. Tr.. 61:14-21; 122:24 -123:23; and 138:1-7, Ex. 310.
287   Abernathy Dep. Tr.. 254:2-10, Ex. 310.
288   Walmart Fed. R. Civ. P. 30(b)(6) Dep. Tr. 312:7-18, Ex. 315.
289   Walmart Fed. R. Civ. P. 30(b)(6) Dep. Tr. 403:24 - 404:5, Ex. 315.

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There is no written policy and no documentary evidence of any orders being flagged, held or

reviewed. 290 And even crediting the alleged work performed by Walmart’s “hourly associates” it is not

credible (particularly in light of the volume of orders) to claim that associates could use their

experience and memory to determine whether a specific order from a specific pharmacy for a specific

controlled substance was potentially suspicious and, therefore, required further investigation. What is

more, even if that could have occurred (and there is no credible evidence that it did occur), Walmart’s

policies and procedures failed to hold shipments of suspicious orders. And, as such, Walmart did not

and could not fulfill its shipping duty.

          Subsequent to 2011, Walmart’s evolving policy was disjointed, inconsistent, unclear, and

insufficient. Walmart’s witnesses consistently testified that Walmart worked to continuously improve

its SOM program. But even when Walmart attempted to put in place a “better,” more robust policy

to prevent suspicious orders from being shipped, that policy failed due to: (1) the imposition of

minimum thresholds, which inherently meant that almost no orders would be flagged, and (2) lack of

adherence to the policy by Walmart’s responsible personnel. Indeed, as late as 2013 and 2014,

Walmart’s own documents demonstrate that it did not have a complaint system in place. For example,

in a 2013 “Controlled Substance Risk Assessment” presentation, Walmart conceded that it still had

not designed (much less operated) a compliant system for suspicious order identification, monitoring,

and reporting, and that the date for completion of the same was “TBD.” 291 Then in June 2014,

Walmart acknowledged it lacked a compliant monitoring program. 292 It also is apparent that Walmart

employees either were unaware of, or simply did not comply with, DEA reporting requirements.




290 Walmart remains the largest private employer in the United States and the world. The fact that, prior to 2011, it lacked
any written policy or procedure (or even training manual) regarding its legal obligations to monitor orders of Opioids from
its own pharmacies speaks volumes.
291   WMT_MDL_000052999, Ex. 321.
292   WMT_MDL_000048100 - WMT_MDL_000048101, Ex. 322

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            Walmart pharmacies also had other avenues of ordering various narcotics from third-parties.

Walmart did not have access to this information and therefore was incapable of monitoring same. 293

Moreover, it was possible for a Walmart pharmacy to have orders fulfilled by both Walmart and a

third-party at the same time. Walmart pharmacies could also order directly from McKesson. 294 In

other words, a pharmacy could surpass the threshold by ordering directly from McKesson.
            L.        Walgreens Failed to Comply with Its CSA Duties to Maintain Effective
                      Controls against Diversion
            As both a distributor and a retail pharmacy chain, Walgreens’s self-distributed meaning that

its distribution “customers” were its own individual Walgreens pharmacies. 295 Walgreens admits that

it had the ability to conduct “[d]ata mining… across [its] retail pharmacies to determine the maximum

amount that a pharmacy should be allowed to receive….” 296 Though Walgreens had visibility into all

of these criteria due to its vertically integrated distribution and dispensing practices, it failed to take

these factors into account in its SOM program during the vast majority of the time it was distributing

prescription opioids, relying instead exclusively on the extraordinary volume “three times” formula.

As described below, moreover, its programs were wholly inadequate and did not comply with the

CSA. Indeed, as part of a settlement with DEA in June 2013, Walgreens admitted that its “suspicious

order reporting for distribution to certain pharmacies did not meet the standards identified by DEA

in three letters from DEA's Deputy Assistant Administrator, Office of Diversion Control, sent to

every registered manufacturer and distributor, including Walgreens, on September 27, 2006, February

7, 2007 and December 27, 2007.” 297 This admission is sufficient for the Court to determine that

Walgreens in fact failed to comply with its CSA obligations. 298

293   Abernathy Dep. Tr., 254:2-10, Ex. 310.
294   Abernathy Dep. Tr., 245:18-21, Ex. 310.
295   See e.g. WAGMDL00757776, Ex. 323.
296   WAGMDL00757776, Ex. 323.
297   WAGMDL00490964, Ex. 324
298   For this reason, any expert opinion to the contrary does not create a genuine issue of material fact.

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                    1.      Walgreens Violated the Reporting Requirement and the No-Shipping Requirement with
                            Respect to Orders Listed on Walgreens’s Suspicious Control Drug Order report
                            (a)      Walgreens Identified Thousands of Suspicious Orders Based Solely on
                                     Extraordinary Volume.
           At least as early as 1998, 299 and perhaps as early as 1988, 300 Walgreens began to utilize a series

of formulas to identify orders that Walgreens deemed to be suspicious based on the orders’

extraordinary size. These orders were listed on a report called the Suspicious Control Drug Order

report.

           Walgreens used two different formulas: one formula from (at least) 1998-2007 and one

formula from March 2007 through 2012. 301 These formulas were alike in that they each utilized an

average number based on historical orders, applied a three times multiplier to that base number, and

then utilized that formula to deem certain orders which were greater than that number to be

suspicious. 302 Under the later formula, orders were only listed on the report as being suspicious if the

orders exceeded the three times multiplier for two months in a given time period. 303 Walgreens based

this second formula on the DEA’s Chemical Handler’s Manual’s order monitoring system for listed

chemicals. 304

           Though Walgreens did not utilize any of the other criteria for identifying suspicious orders for

these reports, these extraordinarily large orders (three times a historical average) meet the “unusual

size” criterion for suspicion set out by the DEA. Utilizing the three times extraordinary size analysis,

Walgreens identified thousands of orders placed by pharmacies in the Track One jurisdictions as




299   E. Bratton 30(b)(6) Deposition at 41-43, Ex. 325; WAGFLDEA00001854, Ex. 326.
300   US-DEA-00025683, Ex. 327
301 WAGMDL00709510, Ex. 328; WAGMDL00757762 at 772-773, Ex. 329; WAGMDL00400357, Ex. 330. See also Ex.

1, Expert Report of J. Rafalski at p. 125.
302   WAGMDL00709510, Ex. 328; WAGMDL00757762 at 772-773, Ex. 329; WAGMDL00400357, Ex. 330.
303   WAGMDL00400357, Ex. 330.
304   WAGMDL00400357, Ex. 330.

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suspicious and listed them on the Suspicious Control Drug Order report. 305 The Suspicious Control

Drug Order report was generated on a nationwide basis and each report could be thousands of pages

or more in length. 306
                               (b)       Walgreens Shipped the Orders on the Suspicious Control Drug Orders
                                         Reports without Due Diligence Review
            Walgreens did not perform any due diligence on the thousands of orders identified as

“suspicious” on the Suspicious Control Drug Order reports, but instead shipped the orders without

review. 307 Walgreens’s shipment of thousands of orders which Walgreens had identified as suspicious

based on their extraordinary size without performing due diligence review of the orders violated the

“No-Shipping” Requirement.
                               (c)       Walgreens Did Not Report the Orders Listed on the Suspicious
                                         Control Drug Order report to the DEA Until After the Orders
                                         Shipped.
            Walgreens did not report the suspicious orders listed on the Suspicious Control Drug Order

report until after the orders were already filled and shipped. Walgreens sent the post-shipment

Suspicious Control Drug Order report to the DEA on a monthly basis. 308 In some instances, months

may have elapsed between an order’s shipment and its subsequent reporting to the DEA, as post-2007

orders exceeding the three times multiplier were not reported as suspicious until they exceeded the

three times multiplier for more than one month in a given time period. 309 Walgreens’s failure to report

these orders to the DEA until after they were shipped violated the Reporting Requirement.




305 See Walgreens’s Second Supplemental Responses to Plaintiffs’ Combined Discovery Requests at p. 12-13, Ex. 331.

(“Walgreens responds that it has produced over 5,000 Suspicious Control Drug Orders (i.e. Suspicious Order Reports) for
the Track One jurisdictions.”).
306   See E. Stahmann Deposition at 282:8 – 289:1, Ex. 332.
307   See E. Bratton 30(b)(6) Deposition Erratum No. 3, Ex. 333.
308   See, e.g., E. Stahmann Deposition at 30:14 – 33:5, Ex. 332.
309   WAGMDL00400357, Ex. 330.

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                                (d)   The DEA Found that the Suspicious Control Drug Order Reports Did
                                      Not Satisfy Walgreens’s Duties under the CSA
            In September 2012, the DEA issued an immediate suspension order (“ISO”) regarding one of

Walgreens three Schedule II distribution centers, finding Walgreens’s distribution practices

constituted an “imminent danger to the public health and safety” and were “inconsistent with the

public interest.” 310 The ISO contained a “statement of [the DEA’s] findings regarding the danger to

public health or safety” 311 posed by Walgreens’s distribution practices. Therein, the DEA specifically

considered the Suspicious Control Drug Order reports and made the following findings of fact and

conclusions of law 312 regarding the reports and Walgreens’s suspicious order monitoring system:
                 •   “[Walgreens’s] practice with regard to suspicious order reporting was to send
                     to the local DEA field office a monthly report labeled ‘Suspicious Control
                     Drug Orders.’” 313
                 •   “[The Suspicious Control Drug] reports, consisting of nothing more than an
                     aggregate of completed transactions, did not comply with the requirement to
                     report suspicious orders as discovered, despite the title [Walgreens’s] attached
                     to these reports.” 314
                 •   Upon review of an example of the Suspicious Control Drug Order report for
                     December 2011, “[Walgreens’s] suspicious order report for December 2011
                     appears to include suspicious orders placed by its customers for the past 6
                     months. The report for just suspicious orders of Schedule II drugs is 1712
                     pages and includes reports on approximately 836 pharmacies in more than a
                     dozen states and Puerto Rico.” 315
                 •   Finding that the reports failed to appropriately consider the population and
                     area being served by the pharmacy: “This report from the Jupiter Distribution

310See Settlement and Memorandum of Agreement between the Department of Justice, DEA, and Walgreens Co., with
appendices, Ex. 334 (collectively, “Walgreens 2013 MOA”) (WAGMDL00490963-WAGMDL00490978;
WAGMDL00387975-WAGMDL00387982;                         WAGMDL00387653-WAGMDL00387974)   at     Exhibit     B,
WAGMDL00387654, Ex. 335 (Letter from Michele Leonhart to Walgreen Company, Order to Show Cause and Immediate
Suspension of Registration (Sept. 13, 2012), (“ISO”)).
311   21 C.F.R. § 1301.36(e).
312Walgreens does not dispute that ISO contains final findings of fact and conclusions of law. See Brief of Petitioner
[Walgreen Co.], Walgreen Co. v. Drug Enforcement Administration, et al., CV No. 12-1397, Doc. #1411758 (D.C. Cir. Dec. 26,
2012) (ISO contains “’final determinations, findings, and conclusions’ made by DEA”) (citing 21 U.S.C. §877).
313   ISO, WAGMDL00387654 at 657, Ex. 335
314   ISO, WAGMDL00387654 at WAGMDL00387657, Ex. 335
315   ISO, WAGMDL00387654 at WAGMDL00387657, Ex. 335

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                  Center covers pharmacies in multiple states and Puerto Rico, yet the average
                  order and trigger amount is the same for a particular drug regardless of the
                  pharmacy's location, the population it serves, or the number of other
                  pharmacies in the area.” 316
              •   “As made clear in 21 CPR§ 1301.74(b), Southwood, and the December 27, 2007
                  letter to distributors from the Deputy Assistant Administrator for the Office
                  of Diversion Control, suspicious orders are to be reported as discovered, not in
                  a collection of monthly completed transactions. Moreover, commensurate
                  with the obligation to identify and report suspicious orders as they are
                  discovered is the obligation to conduct meaningful due diligence in an
                  investigation of the customer and the particular order to resolve the suspicion
                  and verify that the order is actually being used to fulfill legitimate medical
                  needs. This analysis must take place before the order is shipped. No order
                  identified as suspicious should be fulfilled until an assessment of the order's
                  legitimacy is concluded.” 317
              •   “Notwithstanding the ample guidance available, Walgreens has failed to
                  maintain an adequate suspicious order reporting system and as a result, has
                  ignored readily identifiable orders and ordering patterns that, based on the
                  information available throughout the Walgreens Corporation, should have
                  been obvious signs of diversion occurring at Respondent's customer
                  pharmacies. See 21 C.F.R. § 1301.74(b); see also Southwood Pharm., Inc., 72 Fed.
                  Reg. 36,487 (2007).” 318
              •   “DEA's investigation of [Walgreens] … revealed that Walgreens failed to
                  detect and report suspicious orders by its pharmacy customers, in violation of
                  21 C.F.R. §1301.74(b). 21 C.F.R. § 1301.74(b).” 319
              •   “… DEA investigation of [Walgreen’s] distribution practices and policies …
                  demonstrates that [Walgreens] has failed to maintain effective controls against
                  the diversion of controlled substances into other than legitimate medical,
                  scientific, and industrial channels, in violation of 21 U.S.C. §§ 823(b)(l and
                  (e)(l). [Walgreens] failed to conduct adequate due diligence of its retail stores,
                  including but not limited to, the six stores identified above, and continued to
                  distribute large amounts of controlled substances to pharmacies that it knew
                  or should have known were dispensing those controlled substances pursuant
                  to prescriptions written for other than a legitimate medical purpose by
                  practitioners acting outside the usual course of their professional practice.” 320


316   ISO, WAGMDL00387654 at WAGMDL00387657, Ex. 335
317   ISO, WAGMDL00387654 at WAGMDL00387657, Ex. 335
318   ISO, WAGMDL00387654 at WAGMDL00387657, Ex. 335
319   ISO, WAGMDL00387654 at WAGMDL00387656, Ex. 335
320   ISO, WAGMDL00387654 at WAGMDL00387656, Ex. 335

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               •    “[Walgreens has not] recognized and adequately reformed the systemic
                    shortcomings discussed herein.” 321
               •     “[DEA’s] concerns with [Walgreens’s] distribution practices are not limited to
                    the six Walgreens pharmacies [for which DEA suspended Walgreens’s
                    dispensing registration].” 322
           As noted above, the DEA’s found Walgreens’s failures to fulfill its duties under the CSA were

systemic, and its enforcement activity against Walgreens continued. Five months after the issuance of

the ISO, in February 2013, the DEA issued subpoenas and an administrative inspection warrant to

one of Walgreens other two Schedule II distribution centers, substantially identical to those issued to

the first Schedule II distribution center. 323 Walgreens employees promptly made plans in preparation

for this distribution center being “shut down” by the DEA, like the first one was. 324 Within weeks of

receiving the subpoenas and warrant, Walgreens decided to “discontinue distribution of controlled

substances” from that distribution center in order to “eliminate any immediate need for further DEA

administrative action.” 325 Within months, Walgreens ceased Schedule II controlled substance

distribution into CT1, and within a year, Walgreens ceased distribution of Schedule III opioids (HCPs)

as well. 326

           Both distribution centers discussed above distributed prescription opioids into CT1. 327




321   ISO, WAGMDL00387654 at WAGMDL00387664, Ex. 335
322   ISO, WAGMDL00387654 at WAGMDL00387663, Ex. 335
323   WAGMDL00493694 – 718, Ex. 336.
324   WAGMDL00477975, Ex. 337; WAGMDL00358471 Ex. 338.
325   WAGMDL00674280, Ex. 339.
326   See, e.g., WAGMDL00095936, Ex. 340;      WAGMDL00095937, Ex. 341; Ex. 1, Rafalski, Report at p. 132.
327See Ex. 1, Rafalski Report at p. 114 (The Jupiter, Florida distribution center distributed prescription opioids into CT1
from 2002-2007, and the Perrysburg, Ohio distribution center distributed prescription opioids into CT1 from 2003-2013),
Ex. 1.

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           In June 2013, Walgreens agreed to pay a record $80 million to settle the DEA investigations

and actions concerning Walgreens’s violations of its CSA duties. 328 As noted above, as part of the

settlement, Walgreens admitted that it had failed to comply with its obligations under the CSA.
                   2.       Walgreens Knew the After the Fact Excessive Purchase Report Did Not Satisfy its
                            Obligations to Identify, Report, and Halt Suspicious Orders
           Walgreens knew that identifying orders based on extraordinary size alone was insufficient to

fulfill its duties under the CSA. Walgreens also knew that post-shipment reporting did not satisfy its

obligation to report suspicious orders when discovered.

           The volume based “three times” method for identifying suspicious orders was facially

incomplete, as it failed to account for (a) orders which were of an unusual size but did not meet the

three times threshold, (b) orders falling in an unusual pattern, (c) orders placed with unusual frequency,

or (d) any other indicia of suspicion. However, Walgreens now takes the position that the DEA

ratified use of the post-shipment extraordinary size reports (i.e. the Suspicious Control Drug Order

reports) to satisfy the Reporting Requirement in full. The evidence does not support that conclusion.

There is no evidence that the DEA ever endorsed Walgreens’s use of the post-shipment extraordinary

size reports as its exclusive or primary SOM system. Instead, the evidence shows that the DEA

repeatedly instructed Walgreens that the post-shipment excessive order report did not fulfill

Walgreens’s Reporting Duties.

           In 1988, the DEA specifically advised Walgreens “[t]he submission of a monthly printout of

after-the-fact sales does not relieve the registrant of the responsibility of reporting excessive or

suspicious orders. The[] regulations require that a registrant maintain a system to detect excessive

"orders" rather than sales of controlled substances.” 329 The DEA further advised Walgreens that,


328 Settlement and Memorandum of Agreement between the Department of Justice, DEA, and Walgreens Co., with

appendices (collectively, “Walgreens 2013 MOA”) (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
WAGMDL00387982; WAGMDL00387653-WAGMDL00387974), Ex. 334
329   US-DEA-00025683, Ex. 327 (emphasis added).

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while “[a]n electronic data system may provide the means and mechanism for complying with the

regulations…the system is not complete until the data is carefully reviewed and monitored by the

registrant.” 330

            Despite this instruction, there is no evidence that Walgreens ever took any action related to

the Suspicious Control Drug Order report besides generating it and mailing it out. 331 As noted above,

Walgreens has admitted that there is no evidence that Walgreens ever performed a due diligence review

on any of the orders listed on the Suspicious Control Drug Order report before shipment. 332

            In May 2006, the DEA told Walgreens again that the formula Walgreens was using to identify

suspicious orders for the Suspicious Control Drug Order reports was “insufficient,” and “inadequate”

to satisfy Walgreens’s duties to identify and report suspicious orders under the CSA. 333 The DEA told

Walgreens that, if Walgreens was going to use a formula as part of its SOM system, the “formula

should be based on (Size, pattern, frequency).” 334

            Rather than design and operate a comprehensive system to identify suspicious orders,

Walgreens merely modified the Suspicious Control Drug Order report formula to be a slightly more

focused “three times” analysis, still exclusively focused on volume and still utilizing a three times

multiplier based on the DEA’s Chemical Handler’s Manual’s order monitoring system for “listed

chemicals.” 335

330   US-DEA-00025683, Ex. 327.
331 WAGMDL00660331, Ex. 342 (In 2010, Walgreens’s Regional Supply Chain Vice President stated that, since 1985, his

department had not reviewed or contacted anyone regarding the data in the Suspicious Control Drug Report, and the Loss
Prevention Department indicated that it was not reviewing the reports, stating that it also was “not equipped” to handle
review and data analysis for the hundreds of pages of reports being compiled nationwide each week.); E Stahmann Dep.
at 30:14-33:18; 287:1-289:4, Ex. 332 (One of the managers for Walgreens’ Pharmaceutical Integrity Department stated
that, when he was with the Loss Prevention Department, he merely burned the reports to CDs and shipped them out,
without any review).
332   See E. Bratton 30(b)(6) Deposition Erratum No. 3, Ex. 333.
333   WAGMDL00709508 Ex. 343; WAGMDL00709510, Ex. 344.
334   WAGMDL00709508, Ex. 344.
335 See Walgreens’s Second Supplemental Responses to Plaintiffs’ (First) Combined Discovery Requests, Request No. 3,

Ex. 331.

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          Walgreens claims that in 2006 “the Detroit DEA Field Office admonished Walgreens for not

basing its reporting of potentially suspicious orders on the ‘voluntary formula’ found in Appendix E-

3” are not supported by the evidence. 336 The documents Walgreens has cited for this proposition do

not evidence any such admonition, 337 nor does the record reveal any document which supports this

contention. While Walgreens has produced documents indicating that it told the DEA it might use

the Chemical Handler’s Appendix E-3 formula as a portion of its SOM program, 338 Walgreens has not

produced any documents showing that the DEA ratified this approach.

          To the contrary, as shown herein, the DEA repeatedly echoed its 1998 instruction that sending

the DEA this type of post-shipment report based exclusively on extraordinary size without performing

pre-shipment due diligence on the orders did not satisfy the requirements of 21 C.F.R. § 1301.74(b).

          Internally, Walgreens’s admitted that its pre-2009 suspicious order procedures were

insufficient. 339 In a December 2008 Internal Audit of its Perrysburg Distribution Center, Walgreens

admitted to systemic and longstanding failures in the systems surrounding DEA compliance:
          In our opinion internal controls that ensure compliance with DEA regulations at the
          Perrysburg DC require improvement. In addition, some of these issues pertain to all
          company DCs and should be addressed to avoid potential DEA sanctions. Specifically,
          our review found four issues previously cited in the DEA's May 2006 inspection report
          that are still open. In addition, four issues noted in our previous audit (report dated
          July 2005) remain un-remediated. Areas requiring the greatest level of improvement
          are as follows:
          DC-wide:
              •   pseudoephedrine reporting requirements and inventory maintenance


336See Walgreens Second Supplemental Responses to Plaintiffs’ (First) Combined Discovery Requests, Response to
Request No. 3, Ex. 331.
337See Walgreens Second Supplemental Responses to Plaintiffs’ (First) Combined Discovery Requests, Response to
Request No. 3, Ex. 331. (citing WAGMDL00709507, at 9510; WAGMDL00387635, at 7636; WAGMDL00395965, at
6010).
  See WAGMDL00387642, Ex. 347; WAGMDL00387635, at 7636, Ex. 345; WAGMDL00387651, Ex. 348; see also
338

WAGMDL00395965, Ex. 346;
WAGMDL00400361, Ex. 349.
339   WAGMDL00757193, Ex. 350.

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               •   suspicious controlled drug order processing and reporting
               •   controlled drug reporting, specifically receiving record information
               •   lack of formalized CII controlled substance policies and procedures 340
           The Internal Audit goes on to state that “Walgreens is required to have a process to disclose

to the DEA any suspicious orders of controlled substances that deviate from the normal size, pattern,

and frequency. Any orders that are deemed to be suspicious are required to be reported to the DEA

upon discovery,” noting that while “Walgreens produces monthly Suspicious Controlled Drug Orders

report,” the audit team recommend discussions continue across multiple departments within

Walgreens regarding “reporting suspicious control drug orders” and an “Updated Suspicious Control

Drug Order Identification Methodology,” with an “Estimated Completion Date for the New

Reporting” of “June 30 2009.” 341
                   3.      Walgreens’s Additional Systems Did Not Address the Failures in the Suspicious Control
                           Drug Order report to Effectively Control Against Diversion.
                           (a)     Additional Methods Employed Prior to 2009 Did not Mitigate the
                                   Failures of the Suspicious Control Drug Order Report System
           Walgreens nominally employed additional procedures within its distribution centers, however

these systems did not address the failings of the Suspicious Control Drug Order reports. These

distribution center systems were not designed to detect suspicious orders of controlled substances,

but rather were designed to detected typos or errors in order entry by the stores. Walgreens admits

that its Distribution Centers are “more akin to supply warehouses,” are “not designed to be a backstop

to pharmacists,” are not well “equipped to ensure compliance” or to “assist in combatting controlled

substance abuse,” and “do not have the ability to detect trends in local markets.” 342

           The Distribution Center (“DC”) level procedures are documented in a 2006 Questionable

Order Quantity policy, which had two facets: first, it instructed DC personnel to review orders and


340   WAGMDL00757193, Ex. 350.
341   WAGMDL00757193, Ex. 350.
342   WAGMDL00659801, at WAGMDL00659817, Ex. 351.


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contact the pharmacy with questions regarding quantities. 343 The policy did not mention reporting

suspicious orders until 2010, when it was updated to state that the Corporate Office Internal Audit

Department would handle suspicious store orders and inquiries. 344 The query used to identify excessive

orders at the DC level applied equally to controlled substances and items like paper towels, and was

never meant to be used for SOM. 345 There is no evidence that the Internal Audit department had any

involvement in reporting suspicious orders. 346

            The second aspect of this DC level procedures required “pickers”, the DC personnel who

actually retrieved pill bottles off the shelves and placed them into totes for shipping, to look for

“questionable” orders while picking. 347 This facet of the DC level policy was also not intended to

detect suspicious orders as mandated by the security requirement, but as with the policy in general,

merely allowed for the identification of orders potentially entered in error. 348

            The only review of the orders identified by the DC level procedures was calling the pharmacy

to make sure the order had not been entered in error. 349 Walgreens admitted this procedure was not

intended to detect suspicious orders, but rather was a program designed to detect orders entered in

error. 350

            There is no evidence that any orders were ever reported as suspicious or halted as a result of

Walgreens’s distribution center level policies. There is no evidence these procedures resulted in timely




343   WAGMDL00757788, Ex. 352.
344   WAGMDL00751821 at WAGMDL00751822, Ex.    381
345   See D. Peterson Deposition at 26:9 - 28:21; 260:15 -262:7, Ex. 353.
346 See Deposition of C. Domzalski, at 165, Ex. 354 (the Chief Audit Executive at Walgreens could not recall any audit

department responsibility concerning specific suspicious orders).
347   WAGMDL00749381, Ex. 355.
348   See D. Bish Deposition 110:16-114:5, Ex. 356.
349   See E. Bratton 30(b)(6) Deposition Erratum No. 1, Ex. 333.
350   See J. Diebert Deposition 129:8-130:1, Ex. 357 and D. Bish Deposition at 72:3-21;502:11-503:10, Ex. 356.

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reporting of, due diligence on, or non-shipment of any order, including those listed as being

“suspicious” on the Suspicious Control Drug Order reports.
                               (b)      Walgreens’s Post-2009 New SOM System Did Not Effectively Control
                                        against Diversion
            Walgreens did not begin creating a true SOM system until March 2008. 351 The new SOM

program was piloted in 2009 and rolled out chain-wide starting in September 2010, in pieces and

phases that took more than two years to fully implement. 352 The new SOM program had significant

gaps or loopholes. 353 While the new SOM algorithm identified more than 389 pages of suspicious

orders thousands of orders per week as of August 2010, it failed capture all the extraordinary orders

listed in the Suspicious Control Drug Order reports. 354 Further, for the first few years, the program

did not take the orders that Walgreens stores were also placing to outside vendors, like Cardinal and

AmerisourceBergen, into account (allowing stores to order opioids from both sources, effectively

double dipping), and did not prevent stores from placing an order to an outside vendor if the store

attempted to place the order to a Walgreens DC, but was rejected by the new SOM system. 355 The

system also allowed Walgreens stores to transfer controlled substances between stores and did not

review these transfers in the SOM analysis. 356 Additionally, stores could also place ad hoc “PDQ”




  WAGMDL00659801 at 818, Ex. 351; WAGMDL00709395, Ex. 358; WAGMDL00624503, Ex. 359;
351

WAGMDL00667936, Ex. 360.
 See E. Bratton 30(b)(6) Deposition at 202:16 to 275:8, Ex. 325; WAGMDL00667936 at WAGMDL00667938, Ex. 360;
352

WAGMDL00077016, Ex. 361.
353   See Ex. 362, T. Polster Deposition at 157:9-18.
354   WAGMDL00660331, Ex. 342
355 See E. Bratton 30(b)(6) Deposition at 258:8-17, Ex. 325; T. Polster Deposition at 144:18 to 145:15, Ex. 362;

WAGMDL00245768 at WAGMDL00245769, Ex. 363; See, e.g., WAGMDL00325129 at 130, Ex. 364 (future
“enhancements” to SOM system will “identify stores that had order quantity decreased and then placed order to vendor”).
356 WAGMDL00303305 at 306, Ex. 365; See E. Bratton 30(b)(6) Deposition at 258:18 to 260:5, Ex. 325; See

alsoWAGMDL00303305 at 306, Ex. 365; WAGMDL00700161, Ex. 366.

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(“pretty darn quick”) orders for controlled substances outside of their normal order days and outside

of the SOM analysis and limits. 357 Walgreens could even remove a store entirely from SOM review. 358

           Starting in 2010, certain orders which exceeded store-based limits imposed by Walgreens’s

new SOM system were reduced to the store limit and shipped out. 359 These orders were not reported

to the DEA as suspicious, nor were they halted for review. The DEA found that Walgreens’s policy

of reducing and then filling and shipping suspicious orders without reporting them violated the

Reporting Requirement:
           This policy ignores the fact that the reporting requirement of 21 CFR § 1301.74(b)
           applies to orders, not shipments. A suspicious order placed by a customer pharmacy is
           made no less suspicious by application of a system designed to reduce or eliminate
           such orders prior to shipping. Construing the regulation this way defeats the essential
           purpose of the suspicious order requirement, which, as I stated in Southwood, is "to
           provide investigators in the field with information regarding potential illegal activity in
           an expeditious manner." 72 FR at 36501. 360
           From 2009 through 2012, Walgreens continued to populate the Suspicious Control Drug

Order report with thousands of orders which exceeded Walgreens’s “three times” test, showing that

Walgreens’s post-2009 SOM program did little to mitigate the extraordinary volume of controlled

substances being shipped by Walgreens to its pharmacies.
                           (c)     Persons Assigned to “Due Diligence” under the new SOM System Did
                                   Not Have Resources to Perform Due Diligence and Only Performed
                                   Nominal Review On a Small Subset of the Orders, Often Post-
                                   Shipment.
           Walgreens post-2009 SOM system flagged thousands of items per month as being suspicious.

Internal Walgreens documents indicate that, in July 2011 alone, as many as 20,699 orders for




357   WAGMDL00705318, Ex. 367.
358   WAGMDL00492067, Ex. 368.
359   WAGMDL00077016 at 017, Ex. 361
360   ISO, WAGMDL00387654 at WAGMDL00387659, Ex. 335

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controlled substances were “marked suspicious” by the new algorithm. 361 However, very few of these

orders received any review, and any review performed was nominal at best.

             Walgreens cited two people as being primarily responsible for performing due diligence on

suspicious orders in the 2009-2012 time period under the new SOM system.                        362
                                                                                                      The first was a

representative from the Loss Prevention department who said her department was “not equipped” to

handle review and data analysis for the hundreds of pages of reports being compiled nationwide each

week. 363 The second was a Ms. Barbara Martin, who estimated that she spent somewhere between one

and three hours a week reviewing suspicious orders, reviewing only somewhere between 10 to 100 of

the thousands of orders which were deemed suspicious under the new algorithm. 364 Walgreens did

not provide Ms. Martin access to information about the area the store was serving, the order history

for comparable stores, or any other data beyond the sales and order history for that store. 365 If an

order did not “make sense” to her based on those limited resources, she said would call the store or

district manager or pharmacy supervisor. 366

            In its Discovery Responses, Walgreens points to a series of Ms. Martin’s email exchanges and

her deposition testimony as exemplars of its due diligence procedures under the post-2009 SOM

program. 367 These documents reveal the insufficiency of Walgreens’s due diligence measures even

under its new and improved SOM system. In a series of emails from January 10-11, 2011, between

Ms. Martin and a Walgreens Distribution Center (“DC”) employee, the DC notes that “several stores

that are ordering huge quantities of 682971 [30 mg oxycodone] on a regular basis,” stating regarding

361   WAGMDL00492171, Ex. 369
  E. Bratton 30(b)(6) Deposition (Dec. 16, 2018) at 208:14-211:24; 221:1-23; 256:10-257:7; 266:1-268:2, Ex. 325;
362

Walgreens’s Second Amended Objections and Responses to Plaintiffs’ First Set of Interrogatories, at p. 12, Ex. 371.
363   WAGMDL00660331, Ex. 342
364   Deposition of B. Martin at 69:24 to 71:12. Ex. 370
365   Deposition of B. Martin at 337:1 to 338:19, Ex. 370.
366   Deposition of B. Martin at 328:5 to 329:7, Ex. 370
367   Walgreens’s Second Supplemental Responses to Plaintiffs’s Combined Discovery Requests at pp. 21-22, Ex. 331.

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one store “we have shipped them 3271 bottles [of 30 mg oxycodone] between 12/1/10 and 1/10/11.

I don't know how they can even house this many bottles to be honest.” 368 Ms. Martin noted that the

store had average weekly sales of 36,200 dosage units which was equal to 362 bottles per week, stating

“I have no idea where these stores are getting this type of volume. The last pharmacy I was manager

at did about 525 rxs/day and we sold about 500 tabs a month (5 bottles).” 369 Ms. Martin then told the

DC employee that she could call the district pharmacy supervisor to see if he “may be able to shed

some light on the subject.” 370

            It appears that this exchange comprised the full extent of the “due diligence” performed on

the “huge quantities” of oxycodone identified by Walgreens’s DC personnel and was typical of

Walgreens’s due diligence process. 371 There is no evidence of any actual due diligence beyond this

facially insufficient email exchange. Further, despite the fact that questions had been raised about this

store ordering volume in January 2011, the very next month, Walgreens filled and shipped orders

totaling another 285,800 dosage units of 30 milligram oxycodone to the same pharmacy, which was

located in a town of less than 3,000 people. 372

            In her deposition, Ms. Martin stated that she never even attempted to determine the size of

the community that was receiving these “huge quantities” of oxycodone. 373 She further testified that

she was not near that store, did not have access to the store’s prescriptions or patient information,




  Deposition of B. Martin, Ex. 30 (WAGFLDEA00000846), Ex. 372, 373; See also WAGMDL00436802, Ex. 374;
368

WAGFLDEA00000852.
369   WAGFLDEA00000852, Ex. 375
370   WAGFLDEA00000852, Ex. 375
  B. Deposition of B. Martin at 337:16 to 338:19, Ex. 370; Walgreens 2013 MOA (WAGMDL00490963-
371

WAGMDL00490978; WAGMDL00387975-WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at
WAGMDL00387658, Ex. 334.
372 Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-WAGMDL00387982;
WAGMDL00387653-WAGMDL00387974) at WAGMDL00387658, Ex. 334; B. Deposition of B. Martin at 343:22 to
351:17, Ex. 370.
373   B. Deposition of B. Martin at 349:7 to 350:12, Ex. 370.

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and couldn’t take any “direct action.” 374 Approximately 18 months after this email exchange, as a result

of DEA action, Walgreens agreed to surrender DEA registration for this same store that Ms. Martin

reviewed as part of her exemplary “due diligence.” 375

            In the ISO regarding the Distribution Center, the DEA found specifically regarding the orders

that were the subject of these email exchanges: “Based on the evidence available to DEA, none of

these orders were reported to DEA as suspicious and all appear to have been shipped, without any

further due diligence to verify their legitimacy.” 376 The DEA further found regarding this purported

“due diligence,” that Walgreens “failed to conduct any meaningful investigation or analysis to ensure

that the massive amounts of commonly abused, highly addictive controlled substances being ordered

by these pharmacies were not being diverted into other than legitimate channels.” 377 DEA noted that

“[Walgreens] has been unable to provide any files related to any effort to adequately verify the

legitimacy of any particular order it shipped to its customer stores.” 378
                              (d)       Walgreens’s Post-mid-2012 SOM System Similarly Failed to Provide
                                        for Pre-Shipment Review, Failed to Report Suspicious Orders, and Still
                                        had Insufficient Resources, During the Short Time it was Employed.
            In 2012, after the DEA began its investigation into Walgreens’s deficient distribution practices,

Walgreens “[i]n response, … enhanced its suspicious order monitoring program for controlled

substances in an effort to convince DEA that the proposed penalty is excessive and that our new

processes will ensure that similar incidents do not recur.” 379 In December 2012, this further enhanced

SOM system flagged “14,000 items that the stores ordered across the chain that would have to be



374   B. Deposition of B. Martin at 337:16 to 338:19, Ex. 370.
375 See Ex. 334, Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387658
376   ISO, WAGMDL00387654 at WAGMDL00387658, Ex. 335
377   ISO, WAGMDL00387654 at WAGMDL00387658, Ex. 335.
378   ISO, WAGMDL00387654 at WAGMDL00387658, Ex. 335.
379   WAGMDL00659270, Ex. 376

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investigated” before they could be shipped. 380 Walgreens admitted that yet again it did not have

sufficient resources to timely review these orders, noting that “[t]he DEA would view this as further

failures of our internal processes, which could potentially result in additional pharmacies and

distribution centers being subjected to regulatory actions and ultimately prohibited from handling

controlled substances.” 381

            Walgreens admits to failures in suspicious order monitoring prior to 2012, and states that, as

a result of the DEA investigation and settlement, it formed the Pharmaceutical Integrity Team, to

make sure those types of failures did not happen again. 382 As summarized by one of Walgreens’s

Pharmaceutical Integrity Managers in August 2013:
            The Controlled Substances Order Monitoring system now in place sets limits for each
            item based on the chain average for that item for stores of similar size. If a particular
            store fills more of this item than normal and needs additional product we would need
            to document the reason and increase via a CSO Override …. The purpose for this is
            to ensure we have performed adequate review before sending in additional inventory.
            The previous system would continue to send additional product to the store without
            limit or review which made possible the runaway growth of dispensing of products
            like Oxycodone, that played a roll [sic] in the DEAs investigation of Walgreens. 383
            As part of its new Post-2012 SOM program, Walgreens began to more strictly control the

recommended orders and implemented ceilings which more strictly limited stores’ ability to exceed

the recommended order amounts. However, even in 2013, orders being flagged as suspicious for

review before shipment were “a week old” before they made it to the review team, often “ha[d] already

been shipped,” and were not being reported. 384

            Walgreens never properly equipped its distribution operations to properly monitor for, report,

and halt suspicious orders, or otherwise effectively prevent diversion. When Walgreens’s malfeasance

380   WAGMDL00659270, Ex. 376
381   WAGMDL00659270, Ex. 376
382   S. Mills Deposition at 23:2-24:2, Ex. 377.
383   WAGMDL00021425, Ex. 378 (emphasis added).
384   WAGMDL00414048, Ex. 379.

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became known, and it was clear Walgreens was going to have to devote significant resources to

compliance, Walgreens chose instead to cease controlled substance distribution all together.

Walgreens stated that “while the financial impact of no longer…[self distributing] from the Walgreens

DCs was taken into consideration, there is a greater risk to the company in fines and loss of licenses

if we continue to sell these items in our warehouses.” 385

            As noted above, Walgreens stopped distributing Schedule II controlled substances into CT1

in early 2013 and stopped distributing Schedule III opioids (HCPs) into Ohio early 2014. 386
            M.      CVS Failed to Comply with Its CSA Duties to Maintain Effective Controls
                    against Diversion
            CVS distributed hydrocodone combination products (HCPs) to Summit and Cuyahoga

Counties until October 2014, when those products were re-classified as Schedule II in October

2014. 387 As detailed below, through this time period, CVS failed to comply with its obligations under

the CSA. CVS also acknowledged, in two separate settlements with DEA, that it failed to meet its

compliance obligations under the CSA. 388 CVS-MDLT1-000060805, Ex. 382. These admissions

warrant partial summary adjudication that CVS violated the CSA.

            From 2006 until early-/mid-2009, CVS did not implement DEA Standard Operating

Procedures (SOPs) to identify suspicious orders. In November 2007, for example, CVS was still in

the process of writing the suspicious order monitoring section of its standard operating procedures.389

385   WAGMDL00429246, Ex. 380.
386   See, e.g., Ex. 340, WAGMDL00095936; Ex. 341, WAGMDL00095937; Ex. 1, Rafalski Report at p. 132.
387   Expert Report of Craig J. McCann, Ph.D., CFA, Tables 13, 14, 24-43, Ex. 383.
388CVS-MDLT1-000060805, Ex. 382; CVS-MDLT1-000060798, Ex. 384. CVS attempts to create an issue of fact on
this point by submitting an expert report from Robert Hill offering the opinion that CVS did comply with the CSA. But
Mr. Hill’s opinions cannot create a factual issue in the face of CVS’s own admissions. Moreover, as is the case with other
defendants’ experts, Mr. Hill appears to apply an interpretation of the CSA at odds with the plain language of the
regulations. Mr. Hill contends that “Orders Reflecting an Increase in Prescriptions Written by Legitimate Prescribers Are
Not Suspicious.” Hill Report at 13. But as discussed above, under § 1301.74, the DEA has defined “suspicious orders”
to include “orders of unusual size, orders deviating substantially from a normal pattern, and orders of unusual
frequency,”21 C.F.R. § 1301.74, and Congress has adopted that definition. 28 U.S.C. § 802. Mr. Hill cannot invent his
own definition of “suspicious orders” in order to conclude that CVS met its obligations.
389   Vernazza Dep. Tr. 214:22-215:10, Ex. 385.

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CVS’s corporate representative testified that as of December 1, 2007, he did not “believe that there

was a suspicious order monitoring policy put into place as of that date.” 390 Moreover, the individual

listed as the CVS DEA Compliance Coordinator in the Controlled Drug – DEA Standard Operating

Procedures Manuals, Amy Propatier, admitted that her title was only for reference and not her real

job position, and that the only thing she ever did related to suspicious order monitoring was to update

the SOPs manual. 391

            Instead of complying with its obligations under the CSA, during this time period the only

system that CVS had to identify orders that might be potentially suspicious were known as “Pickers

and Packers” and PDMR (“Viper”) Reports. Pickers and Packers worked in the controlled substance

cage within the distribution center and they would pick and pack controlled substance orders. CVS’s

corporate representative testified that CVS did not have any written policies, procedures, or protocols

with respect to the Pickers’ and Packers’ obligations; that CVS did not have a training program to train

its Pickers and Packers how to identify unusual orders of size, frequency, or pattern; and there were

no formal job requirements to be employed as a Picker and Packer. 392         Instead, the Pickers and

Packers would identify orders based on a gut feeling or a crude rule of thumb that essentially can be

summarized that they believed the order was simply too large. 393 One of the Pickers and Packers,

Ellen Wilson, testified that she was trained by another Picker and Packer in 1996 and that as a rule a

Picker and Packer should not send out more than 12 of the small bottles, six of the larger bottles, and

two or three of the largest bottes. 394 Wilson used this rule of thumb for her entire career. 395 CVS’s




390   Vernazza Dep. Tr. 221:5-13, Ex. 385.
391   Propatier Dep. Tr. 79:15-81:2, Ex. 387.
392   Vernazza Dep. Tr. 197:1-9; 198:3-199:2, Ex. 385.
393   Wilson Dep. Tr. 61:11-63:14, Ex. 389.
394   Wilson Dep. Tr. 63:19-64:6, Ex. 389.
395   Wilson Dep. Tr. 64:4-6, Ex. 389.

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“system” predictably flagged few orders: for the Indianapolis distribution center during the period

2006 through 2014, approximately two orders per year were flagged as requiring further approval.. 396

            Similarly, the Viper Reports were not an effective SOM process. CVS witnesses testified that

these reports were not designed to determine suspicious orders. 397 Rather, the Viper Report was an

aggregate report that showed shipping versus dispensing to determine whether there was a theft of

product. 398    399
                      CVS’s corporate representative confirmed that that Viper Reports were not reviewed

before orders for controlled substances were shipped to CVS’s pharmacies. 400

            By April 2009, CVS still did not have a suspicious ordering monitoring section in its SOPs. 401

Around this time, however, CVS began using a computer algorithm that flagged potentially suspicious

orders. This system created Item Review Reports (“IRR”). The IRR system was used by CVS until a

new system was introduced in 2014. During the period they were in use, IRRs were “the report that

would flag orders for additional review.” 402 Although IRRs were the primary SOM process, CVS

neglected to provide written instructions for how to perform that critical review from its initial use in

mid-2009 until February 29, 2012, when the first Work Instructions for Loss Prevention Analyst was

instituted, explaining how to perform IRR/SOM analysis. These were the first written instructions

by CVS on how to perform an IRR review. CVS’s corporate representative testified that “for the

most part,” if an order was not flagged as suspicious under the IRR system, there would be no due




396   Hinkle Dep. Tr. 83:23-86:5 Ex. 392.
397See Vernazza Dep. Tr. 191:18–21, Ex. 385 (“But the point of this was not to produce results for the purposes of
determining whether suspicious orders were made and reporting those to the DEA.”).
398   Burtner Dep. Tr. 384:12–21 Ex. 394.
399   Dugger Dep. Tr. 104:12–22, Ex. 395.
400   Vernazza Dep. Tr. 191:22-192:12, Ex. 385.
401   Vernazza Dep. Tr. 235:14-23. Ex. 385.
402   Vernazza Dep. Tr. 357:10-15, Ex. 385.

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diligence of that order. 403 Even then, one CVS employee testified that he investigated 5% or less of

the IRR flagged orders. 404

            In addition, during early/mid-2009 to March 2014, CVS’s IRRs did not consider outside

vendor orders. When performing the calculations of whether an order was suspicious, the IRR did

not consider orders delivered to CVS pharmacies by outside vendors. 405 CVS had full access to every

order its pharmacies placed to outside vendors but did not incorporate this information in its SOM

system. According to CVS policy, whenever an order received due diligence beyond a simple review

of the IRR, that review was to be attached to the IRR and documented on the IRR Recap. 406 Review

of the IRR Recap Reports shows that few orders actually received additional investigation. For

example, the IRR Recap Report from January 2011 to June 2012 shows that CVS investigated only

one flagged HCP order placed by a pharmacy in CT1. 407 The IRR Recap Report from February 6,

2013 to December 30, 2013 shows that CVS investigated only one flagged HCP order placed by a

pharmacy in CT1. 408 Over a 28-month period, during the height of the opioid crisis, CVS undertook

just two investigations of HCP orders in Summit and Cuyahoga Counties. An IRR Recap from

January 2, 2014 to February 11, 2014 demonstrates that one store in the Plaintiffs’ counties had an

order investigated during this time period. 409 In summary, for one half of the country over a period

covering twelve days ranging from June 14, 2012 to September 6, 2012, CVS investigated a total of

seven control substance orders. 410 In fact, if CVS detected an order to an outside vendor that CVS

identified “as an order deviating from normal size, frequency, and/or buying pattern and deemed to

403   Vernazza Dep. Tr.392:20-393:7, Ex. 385.
404   Millikan Dep. Tr. 213:0-214:12, Ex. 400.
405   Burtner Dep. Tr. 284:21 – 285-20, Ex. 394.
406   Ex. 394, Burtner Dep. Tr. 404: 24–405:10; 474:23–475:8; Hinkle Dep. Tr. 130:8-131:1, see Ex. 392.
407   Burtner Dep. Tr. 488:6–490:4; Ex. 441, see Ex. 394.
408   Burtner Dep. Tr. 485:20–487:1; Ex. 440, see 394.
409   Helfrich Dep. Tr. 142:17–143:22; Ex. 14, see Ex. 405.
410   Burtner Dep. Tr. 340–371; 505; Ex. 500, see Ex. 394.

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not be for legitimate purposes or are at risk of being diverted [those orders] are not required to be

reported to the DEA.” 411

            Rather than devote resources to the IRR process, however, from early/mid-2009 through

March 2011, one employee, Henry “John” Mortelliti, “was taking the first pass through the IRR

himself.” 412 According to CVS’s corporate witness, “Mr. Mortelliti’s practice would have been to

review the report on a daily basis and determine whether items on the report warranted further review

and due diligence and conduct review and due diligence as he deemed appropriate.” 413 During 2009

and 2010, Mr. Mortelliti did not “identif[y] any orders that were deemed suspicious and reported to

the DEA.” 414 CVS’s own internal documentation demonstrates the flawed nature of IRR – and CVS’s

knowledge of that fact. For example, a document from October 8, 2010 reported that “[t]he current

IRR does not provide the proper information to meet the DEA’s needs” and the “IRR loses all order

history when the info on the item changes causing CVS to be noncompliant with DEA

expectations.” 415
            N.        Rite Aid Failed to Comply with Its CSA Duties to Maintain Effective Controls
                      against Diversion
                      1.       Undisputed Facts Show that Rite Aid Did Not Have a System to Identify and Report
                               Suspicious Orders
            Rite Aid violated 21 C.F.R. § 1301.74(b) because it did not have a system to identify and report

suspicious orders. Most fundamentally, Rite Aid identified or reported zero suspicious orders in the

CT1 jurisdictions from 2006-2014. Not only was this during the height of the opioid crisis, Rite Aid

made zero reports despite the fact that it had suspicious orders from “pill mill” doctors, suspicious

orders evidenced in a DEA settlement, and suspicious orders from Rite Aid’s own list of “suspicious

411   CVS-MDLT1-000078060-000078069 at 78068, Ex. 407 (emphasis added).
412   Vernazza Dep. Tr. 365:6-13, Ex. 385. See also id. at 368:9-14.
413   Vernazza Dep. Tr. 371:15-23, Ex. 385.
414   Vernazza Dep. Tr. 374:7-11, Ex. 385.
415   CVS-MDLT1-000034175-177, Ex. 411.

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prescribers.” In fact, the Rite Aid system was designed to avoid identifying suspicious orders through

such things as a lack of due diligence on over threshold orders, cutting orders to threshold, and an

inability to identify unusual orders at all. To the extent that Rite Aid did internally identify any

suspicious orders, it did so only after shipment and never reported them to DEA.
                        (a)     Rite Aid Distribution System
        Rite Aid distributed Schedule III controlled substances (e.g., hydrocodone combination

products) to its own Rite Aid stores until late 2014. Rite Aid distributed to the CT1 jurisdictions

through its Perryman Distribution Center, a DEA registrant under the CSA.

        Rite Aid’s practice was fairly simple. See Ex. 412 and Ex. 413 [Rite_Aid_OMDL_0014804-

Rite_Aid_OMDL_0014874 at 14828; Rite_Aid_OMDL_0015079-0015081].                       Rite Aid used a

computerized “auto-replenishment system” (ARS) through which individual Rite Aid pharmacies

would generate orders that were sent to the distribution center (DC). If the ARS generated an order

that was above the universal 5,000 dosage-unit (DU) threshold, the DC employees filling the order

were supposed to manually recognize that the order was above threshold. If they did observe an order

over threshold, the only “review” of the order was an attempt to call the pharmacy that placed the

order to verify the order amount was correct (i.e., that it was not a “fat-finger” error). If the pharmacy

confirmed that the above-threshold order amount was correct, or if the DC simply could not contact

the pharmacy, the order was cut to the threshold and shipped. All the above-threshold orders were

maintained on a handwritten log containing the basic information about the order.

        After the orders had shipped, Rite Aid monitored its inventory through its

Navicase/Naviscript system. The Rite Aid Asset Protection Department used “key performance

indicators” (KPIs) to analyze data about ordering from the Rite Aid stores to identify diversion

through theft.




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                         (b)    Rite Aid Never Identified, Much Less Reported, a Suspicious Order
        Most glaringly, Rite Aid identified zero suspicious orders for the CT1 jurisdictions between 2006-

2014. See Response to Plaintiffs’ First Set of Combined Discovery Requests to National Retail

Pharmacy Defendants at No. 3, Ex. 414. Rite Aid reported zero suspicious orders to DEA for the CT1

jurisdictions between 2006-2014. See id. at No. 4. In fact, Rite Aid never identified any suspicious

orders for anywhere in the United States during the entire time period that Rite Aid distributed

controlled substances. Hart Dep. (1/30/19) 114:4-8, Ex. 415 (zero suspicious orders reported to

government affairs office between 1995-2014); Wood Dep. 128:18-21, Ex. 416 (“Q. During your time

at Rite Aid, no order was ever determined to be suspicious; is that right? A. I don't recall any.”); Belli

Dep. 114:3-7, Ex. 417 (“Q. To your knowledge during your tenure there, no orders were ever reported

as suspicious, correct? . . . THE WITNESS: While I was the -- in my last position there, no.”).

        The one system at Rite Aid that could identify suspicious orders only identified suspicious

orders after shipment.     Rite Aid testified that the system used by its Asset Protection group

(Navicase/Naviscript) routinely analyzed orders through KPIs to determine whether diversion

(primarily theft) was occurring. To that end, Rite Aid’s 30(b)(6) representative testified as follows:
        THE WITNESS: The asset protection KPIs were utilized to review orders and then
        lead to diversion cases if there were some issues with it. But they were not used to
        report suspicious orders.
                ...
        Q. Or to identify them. Correct?
               ...
        THE WITNESS: They could identify a suspicious order or an order. But if it was out
        of the norm, they would identify it after it was shipped.
Hart Dep. (1/31/19) 269:10-22, Ex. 418 (emphasis added); see also, Hart Dep. (1/30/19) 188:15-23,

Ex. 415 (“We did not use the analytics from asset protection prior to an order being shipped.”).

        The evidence shows that Rite Aid failed to identify or report any suspicious orders despite the

existence of numerous suspicious order in CT1 during 2006-2014. Rite Aid maintained a list of

prescribers that Rite Aid explicitly considered “suspicious.” Hart Dep. (1/31/19) 163:4-10, Ex. 418.

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Yet, Rite Aid did not make any efforts to identify or report any suspicious orders from those suspicious

prescribers, even after shipment:
       Q. If a store is filling prescriptions from a prescriber who’s been determined to be a
       suspicious prescriber, does Rite Aid undertake any efforts to identify the orders that
       come from that store -- during the time when that suspicious prescriber was sending
       patients to that store, does Rite Aid undertake any effort to identify those orders as
       suspicious?
       MS. McENROE: Objection to form.
       THE WITNESS: We do not.
       Q. So Rite Aid does not use any of the suspicious prescriber information that it may
       have collected in determining whether an order from any location is suspicious.
       Correct?
       MS. McENROE: Objection to form.
       THE WITNESS: The order has already been shipped to the store, so there’s – that’s not
       incorporated – the suspicious prescriber isn’t incorporated in.
       Q. What about when an investigation is going on, does Rite Aid undertake any effort
       to look at the orders that are continuing to come in as a result of prescriptions being
       placed through that doctor?
       MS. McENROE: Objection to form.
       THE WITNESS: We continue to monitor the prescriptions that would be coming in,
       but we do not consider that a suspicious order to place.
Hart Dep. (1/31/19) 173:1-22, Ex. 418 (emphasis added).

       In another example, customers of Dr. Adolph Harper, a notorious convicted pill-mill doctor

in CT1, frequented Rite Aid stores to fill their prescriptions. See Ex. 419 [MCKMDL00632923 -

MCKMDL00632925]. Rite Aid identified zero suspicious orders from Dr. Harper’s customers and

instead actually requested an increase in the amount of CS it was ordering from McKesson specifically

to meet the demand from Dr. Harper.             Hart Dep. (1/31/19) 186:3-8, Ex. 418; Ex. 419

[MCKMDL00632923 – MCKMDL00632925]. Rite Aid also failed to identify any suspicious orders

from stores where its own pharmacists lost their licenses for diverting controlled substances. Hart

(1/31/19) 210:13-18, Ex. 418 (never reported any suspicious orders from stores where pharmacist



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Marcus Kins was stealing controlled substances); 217:15-23 (never reported any suspicious orders

from stores where pharmacist Henry Kozik was stealing controlled substances).

         Additionally, Rite Aid entered into a settlement agreement with DEA because “Rite Aid

knowingly filled prescriptions for controlled substances that were not issued for a legitimate medical

purpose.” 416 But, Rite Aid never identified any suspicious orders as a result of the prescriptions that

it knew were not issued for a legitimate medical purpose. Hart Dep. (1/31/19) 196:15-20, Ex. 418.
                  2.        Rite Aid’s Distribution System Made it Impossible to Identify and Report Suspicious
                            Orders
         Rite Aid’s distribution system made it nearly impossible for any order to be identified, much

less reported, as suspicious. Rite Aid did could not identify what was unusual because all Rite Aid

DCs had a static, blanket threshold for all Rite Aid stores above which Rite Aid would cut the order.

The threshold, which never changed, was set at of 5,000 DUs, per national drug code (NDC), per

order. 417 Hart Dep. (1/31/19) 235:6-19, Ex. 418. Rite Aid did not have procedure that required

anyone to report an order that came in over threshold as suspicious. Instead, DC employees would

“cut” the order down to the threshold and then ship the order. Masters, 861 F.3d at 217–18 (editing

orders “subverted the Reporting Requirement” because it is “attempt to obtain unusual amounts of a

controlled substance” is what is what is suspicious, not what is ultimately shipped). Rite Aid did no

due diligence on that came in over the blanket threshold. Chase Dep. at 94:7-18, Ex. 420 (“[W]hen

you called the pharmacists or the pharmacies about orders that came in that were above the threshold,

you did not ask any other questions besides whether or not the pharmacy needed that particular

amount, right? … THE WITNESS: I would only ask them if that order was correct.”); Wood Dep. at


416
    Rite Aid Corporation and Subsidiaries Agree to Pay $5 Million in Civil Penalties to Resolve Violations in Eight States
of the Controlled Substances Act, available at
 https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-pay-5-million-civil-penalties-resolve-
violations
417
    The only variance to the 5,000 DU threshold was a small number (<10) of Rite Aid stores had higher thresholds. Ex.
421 (Rite_Aid_OMDL_0012503 – Rite_Aid_OMDL_0012505).

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144:8-13, Ex. 416 (“Q. When the picker called to verify the ordered quantity, they were just calling to

see whether that quantity was correct when it was entered into the system by the pharmacy, right? A.

Yes.”).

          Rite Aid had little to no records about past order history to determine is an order was

suspicious. The Perryman DC kept what was called a “Threshold Log,” which contained only basic

information about orders that exceed the threshold: date of order, store number, item number, item

description, quantity ordered, allowable quantity, and the reason for the allowable quantity. Ex. 422

[Rite_Aid_OMDL_0014035 – Rite_Aid_OMDL_0014036]. But, any the use of the log to potentially

identify suspicious orders was only done after the above-threshold orders were cut and shipped. Hart

Dep. 171:23-172:3, Ex. 415 (1/30/19) (“Q. To be clear, when you got these threshold logs, these

orders reflected in the threshold logs had already been shipped. Correct? A. Yes.”).

          Rite Aid place the responsibility to identify orders of unusual size, orders deviating

substantially from a normal pattern, and orders of unusual frequency on employees who could not do

so. According to the DEA coordinator at the Rite Aid’s distribution center,
          Q. And the DC center -- the distribution center employees, are they able to identify
          orders of unusual frequency?
          A. As I am understanding it, no.
Wood Dep. 119:2-7, Ex. 416.
          Q. But the distribution center employees would not have an ability to -- have an ability
          to notice whether the orders coming through the ordering system were deviating from
          a normal pattern, right?
                  ...
          THE WITNESS: I believe I stated before, no, I don’t believe [the DC employees]
          would be able to.
Wood Dep. 122:7-17 Ex. 416.




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                      3.        Rite Aid Developed, But Never Implemented, a Suspicious Order Monitoring System
            Recognized the shortcoming of its distribution system, in 2013, Rite Aid sought to develop a

suspicious order monitoring system. Ex. 423 [Rite_Aid_OMDL_0040184-98]. In documenting such

efforts, Rite Aid stated as follows:
            The purpose of this project is to develop effective controls against the diversion of controlled substances
            and conduct adequate due diligence to ensure that controlled substances distributed
            from the Distribution Centers are for legitimate patient needs. Rite Aid must ensure
            compliance with 21 U.S.C. 823 and/or C.F.R. 1307.74(b) to detect and report
            suspicious orders of controlled substances through the Distribution Centers.
Id. (emphasis added). In the end, however, Rite Aid never adopted the new SOM because they

stopped distributing controlled substances before this system could be implemented.
            O.        HBC Failed to Comply with Its CSA Duties to Maintain Effective Controls
                      against Diversion
                      1.        The Undisputed Evidence Shows that Defendants Failed to Develop and Maintain a System
                                to Identify Suspicious Orders of Opioids
                                (a)       Defendant HBC Service Company Had No Meaningful System to
                                          Identify Suspicious Orders of Opioids
            From November 2009 until October 2014, HBC Service Company (HBC) distributed large

volumes of controlled substances into Cuyahoga and Summit Counties, including distribution of

Hydrocodone Combination Products (HCPs). 418 HBC stopped shipping HPCs in October 2014, when

HPCs were reclassified as Schedule II drugs under the Controlled Substances Act. 419 Over nearly a

five (5) year period, HBC shipped millions of dosage units of HCPs into Cuyahoga and Summit

Counties and the cities therein. 420

            By its own admission, HBC reported only two orders as suspicious, and both orders were for

a drug that is not at issue in this litigation. 421 HBC did not report to the DEA a single suspicious order

418Ex. 424, HBC Service Company’s Amended Responses to Plaintiffs’ (First) Set of Combined Discovery Requests, December 29, 2018,

Request 2, p. 8: “...[HBC] did not distribute any relevant Schedule III opioids (i.e. those that were later reclassified as
Schedule II) until November 2009...”
419   Id. “...[HBC] stopped distributing relevant Schedule III opioids in October 2014...”
420   For detailed figures on distribution into relevant jurisdictions, see tables below.
  One of those two orders was more than two (2) years after HBC stopped distributing HPCs. HBC Service Company’s
421

Amended Responses to Plaintiffs’ (First) Set of Combined Discovery Requests, December 29, 2018, Request 3, p. 11, see Ex. 424: “On

                                                                132
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of HPCs, even though orders of unusual size were regularly being shipped into Cuyahoga and Summit

Counties, as explained below. HBC also could not identify a single shipment that was stopped for

being suspicious; instead, HBC shipped orders to their customers even if they had been flagged as

suspicious. No reasonable fact-finder could conclude that a system with virtually no oversight was

adequate. HBC had a patently inadequate system of detection.
                             (b)       HBC had no written SOM policy until August 1, 2014, only two (2)
                                       months before it stopped shipping opioids at issue
           For nearly the entire five-year period that HBC distributed HCPs, it had no written suspicious

order monitoring (SOM) policy. By HBC’s own admission, its earliest written SOM policy is dated

August 1, 2014. 422 HBC stopped distributing controlled substances at issue in October 2014. 423 HBC,

then, operated as a distributor of controlled substances without a written SOM policy for all but two

(2) months.

           Further, HBC’s August 1, 2014 policy does not identify how its SOM system operated, but

rather outlines the process for reporting suspicious product orders. 424 This “Inventory Controls

Policy” appears to leave most of the responsibility for identifying suspicious orders on parent company

Giant Eagle, which also owns all of HBC’s customers, Giant Eagle Pharmacies. The policy states:
               •    HBC Pharmacy group will be contacted by GE Pharmacy team if they suspect
                    any suspicious ordering by a Giant Eagle Pharmacy.
               •    HBC, as directed by the GE Pharmacy team, will delete or restrict any order
                    that has been identified as suspicious.
               •    HBC will prepare and communicated any history of suspicious orders to the
                    GE Pharmacy team as requested.


December 5, 2013, HBC identified a suspicious order for buprenorphine 8mg SL tab (the “December 5, 2013 Suspicious
Order”) and reported the order to the DEA on the same day.” The other suspicious order noted on that same page was
actually more than two (2) years after HBC stopped distributing drugs at issue in this litigation.
422   See: Ex. 425, HBC_MDL00133445 “HBC Service Company Inventory Controls Policy (Version 1)” August 1, 2014
  Ex. 424, HBC Service Company’s Amended Responses to Plaintiffs’ (First) Set of Combined Discovery Requests, December 29, 2018,
423

Request 2, p. 8: “..[HBC] stopped distributing relevant Schedule III opioids in October 2014...”
424   Ex. 425, HBC_MDL00133445 “HBC Service Company Inventory Controls Policy (Version 1)” August 1, 2014



                                                             133
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                •    The GE Pharmacy team will, in conjunction with the HBC Pharmacy
                     information, notify the DEA within the prescribed 3 day time limit. 425
The policy does not elaborate on how to identify a suspicious order, nor does HBC’s warehouse

supervisor recall any specific training to identify suspicious orders. 426

            Further, HBC admits in its written discovery responses that it provided no “educational,

information and/or other programs to any Customer and/or pharmacy/dispenser that it owns and/or

controls or other Person, that address diversion, safety, efficacy, misuse and/or prescription of Schedule

II Opioids.” 427

            HBC thus has failed on its obligation to have an adequate system in place to identify suspicious

orders.
                              (c)       HBC first monitored ordering thresholds in October 2013 in a manner
                                        it admits was flawed
            HBC’s attempt to identify orders of unusual size was deeply flawed. On October 15, 2013,

after approximately four (4) years of distributing HCPs, HBC finally began to aggregate its customers’

controlled substance orders and apply a rudimentary threshold to identify suspicious ordering

behavior. 428 From that point until it stopped distributing HCPs, HBC produced a daily spreadsheet

that identified shipments, each of which had already been shipped to the pharmacy, that exceeded the

chain-wide ordering threshold for the particular drug. HBC admitted that the threshold report kept

track of the shipped quantities, not the ordered quantities, further emphasizing the lack of pre-

shipping due diligence. 429




425   Id.
426   See Ex. 426, Rogos Dep. Tr. at 71:10-72:2; 77:23-78:13; 141:2-22.
  Ex. 427, HBC-4, HBC Service Company’s Supplemental Answers to Plaintiff’s First Set of Interrogatories to HBC Service Company,
427

March 4, 2019, Inter. No. 23, p. 42 (emphasis supplied)(“other Person” would include warehouse personnel and other
employees)
428   Ex. 428, Tsipakis Dep. Tr. at 117:18–119:17
429   Ex. 429, Tsipakis Dep. Tr. 165:14–168:2

                                                             134
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            HBC’s thresholds were also deficient. HBC set thresholds for controlled substances by taking

the average amount all of its customers ordered and multiplying by three (3). The effect is that when

a customer whose orders for a controlled substance in a month exceeded 300% of the average HBC

customer, it was flagged on HBC’s threshold report. 430 HBC admits setting thresholds by a chain-wide

average can result in both false positives (large-volume store consistently orders more than threshold)

and false negatives (small-volume stores’ relatively large order does not exceed chain-wide

threshold). 431 This means that a customer which does a sufficiently large amount of business with

HBC might exceed the set threshold. Conversely, a small customer’s unusually large order is likely not

sufficiently large to clear the 300% average mark, leaving its relatively large orders unscrutinized.
                              (d)      Defendant HBC Failed to Follow Its Own Suspicious Order Policies
            HBC’s first written SOM policy was adopted on August 1, 2014 and consisted of four short

bullet points which were part of a larger policy. 432 This policy relied on Giant Eagle’s corporate office

to alert HBC if Giant Eagle (GE) pharmacies engaged in suspicious ordering. 433

            The policy also directed that HBC would prepare and communicate any history of suspicious

orders to the GE Pharmacy team “as requested,” not making such a report a matter of course. The

policy then required GE Pharmacy team, not HBC, to notify the DEA “with in [sic] the prescribed

three day time limit.” 434 In this way, HBC’s actual policy was to delegate its DEA reporting

responsibility to its customers’ owner.

            HBC’s written SOM policy did not result in significant changes to HBC practices. HBC did

not report a suspicious order while this written policy was in effect prior to it ceasing to distribute




430   Ex. 430, Tsipakis Dep. Tr. 118:2–12
431   Ex. 431, Tsipakis Dep. Tr. 247:8–248:3
432   Ex. 425, HBC_MDL00133445 “HBC Service Company Inventory Controls Policy (Version 1)” August 1, 2014
433   Id.
434   Id.

                                                       135
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controlled substances in October 2014. 435 Giant Eagle did not revise the policy until after HBC

stopped distributing controlled substances. 436
                              (e)       HBC did not systemically investigate the orders its threshold
                                        monitoring system did flag
           HBC witnesses have acknowledged that they have no recollection of specific investigations,

that they had no systematic process in place to investigate flagged orders, and that they have no log

or report to document that an investigation occurred for each flagged order. 437 Also, the emails and

other documents produced indicated that only a handful of investigations occurred at periodic times

and that such investigations were cursory at best. 438

           No reasonable fact-finder could conclude HBC’s system was adequate given its lack of

documented due diligence on orders identified as suspicious.
                    2.        The Undisputed Evidence Shows that HBC Failed to Report Suspicious Orders in Summit
                              and Cuyahoga Counties
           In December 2013, HBC reported its only suspicious order to the DEA during its time

shipping controlled substances from November 2009 and October 2014. 439 That suspicious order was

for buprenorphine, which is an opioid, but not currently a Schedule 2 controlled substance under the

Controlled Substance Act. It is not surprising that HBC did not report any suspicious orders prior to

October 2013, because as explained above it did not track its pharmacy-customers’ orders against a

threshold during that period.




435See Ex. 424, HBC Service Company’s Amended Responses to Plaintiffs’ (First) Set of Combined Discovery Requests, December 29,
2018, Request 3, p. 11 (suspicious order was reported December 2013, before its written policy was in place after August
1, 2014).
436   See Ex. 432, HBC_MDL00004209, April 2015 “Inventory Control SOM Policy”
437 Ex. 433, Tsipakis Dep. Tr. at 107:4–108:23; Ex. 434, Mollica Dep. Tr. 220:23–221:6; Ex. 435, Millward Dep. Tr. 179:23–

180:8; but see: Ex. 436, Millward Dep. Tr. 257:13–259:8.
438 Ex. 437, HBC_MDL00039223 (Jan. 10, 2014); Ex. 438, HBC_MDL00058099; Ex. 439, HBC_MDL00090010 (July 8,

2014)
439 As discussed above, Ex. 424, HBC Service Company’s Amended Responses to Plaintiffs’ (First) Set of Combined Discovery Requests,

December 29, 2018, Request 3, p. 11.

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                     3.       The Undisputed Evidence Shows that HBC Shipped Orders into Summit and Cuyahoga
                              Counties in Violation of Their CSA Duties
                              (a)      HBC shipped the majority of its CT1 drugs without a threshold
                                       monitoring system: 84% of units into Cuyahoga County and 82% of
                                       units into Summit County had no threshold order review
            Before implementing its first threshold report on October 15, 2013, HBC shipped large

amounts of CT1 drugs into Summit and Cuyahoga Counties with no threshold monitoring 440 and with

no written SOM policy 441:
                                            Units Shipped (11/12/2009–
               Jurisdiction                         10/14/2013)                             Bates Service

 Cuyahoga County                           10,684,835                             HBC_MDL00189212

 Summit County                             8,700,931                              HBC_MDL00189213

            After its threshold program was in place on October 15, 2013, HBC shipped the following

amounts of CT1 drugs into Summit and Cuyahoga Counties:
                                            Units Shipped (10/15/2013–
               Jurisdiction                         9/30/2014)                              Bates Service

 Cuyahoga County                           1,940,344                              HBC_MDL00189212

 Summit County                             1,822,912                              HBC_MDL00189213

            As shown in these tables, HBC shipped 84% of its total CT1 drugs into Cuyahoga County and

82% of its total CT1 drugs into Summit County without a threshold program to monitor suspicious

orders. 442




440   Ex. 428, Tsipakis Dep. Tr. at 117:18–119:17, first HBC threshold report was on October 15, 2013
441HBC’s earliest written SOM policy is from August 1, 2014, See: Ex. 425, HBC_MDL00133445 “HBC Service Company
Inventory Controls Policy (Version 1)” August 1, 2014
442These percentages come from dividing the amount for each county in the first chart by a total of both charts (the sum
of which represents the total amount HBC distributed into each county):
Cuyahoga County: 10,684,835 / (10,684,835 + 1,940,344) = 0.8463... or 84% of total distribution into Cuyahoga
Summit County: 8,700,931 / (8,700,931 + 1,822,912) = 0.8267 or 82% of total distribution into Summit

                                                           137
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            No reasonable fact-finder could determine that HBC fulfilled its duties under the Controlled

Substances Act (CSA) while shipping over eighteen million (18,000,000) units of opioids at issue in

this case with no written SOM policy. Further, no reasonable fact-finder could conclude that HBC

fulfilled its duties under the CSA with its admittedly flawed 443 threshold system and SOM program. 444
                              (b)      HBC admits it never had the ability to automatically stop its controlled
                                       substance shipments which exceeded its set threshold
            HBC never had the automated ability to stop shipments which exceeded its established

threshold for that controlled substance. 445

            HBC also did not manually stop suspicious orders from shipping which had been flagged by

its threshold report. HBC admitted that its threshold reports tracked already shipped, not ordered,

materials 446 which did not leave an adequate window or process to identify, stop and investigate

unusual orders once it became aware of them.

            After HBC no longer shipped controlled substances, its parent company Giant Eagle had the

opportunity (for its new distribution center) to utilize a third-party system to stop over-threshold

orders from shipping. Giant Eagle’s Senior Pharmacy Director Adam Zakin declined, claiming it was

not worth the expense because the only thing the new system would do was “stop the orders physically

if there were a threshold.” 447




443Ex. 430, Tsipakis Dep. Tr. 118:2–12, showing issues which arise using chain-wide ordering averages (not individual
pharmacy averages) when setting threshold levels.
  As discussed above, HBC Service Company’s Amended Responses to Plaintiffs’ (First) Set of Combined Discovery Requests,
444

December 29, 2018, Request 2, p. 11, showing on no relevant suspicious orders identified.
445   Ex. 440, Tsipakis Dep. Tr. 201:21-24; 213:8–10, 255:24–256:23.
446   Ex. 442, Tsipakis Dep. Tr. 141:3–11
447 Ex. 441, HBC_MDL00028498, 2016.03.29 email: Adam Zakin, Sr. Director, Pharmacy Administration, replying
internally regarding a third-party CS ordering system: “Were you not there? At the end of the day, the only thing it did
that our current system would not do, was stop the orders physically if there was a threshold.”

                                                           138
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            No reasonable fact-finder could conclude that a distributor who knowingly declined to employ

a system which could stop threshold-exceeding orders from shipping has adequately fulfilled its duties

under the CSA. 448
            P.       DDM Failed to Comply with Its CSA Duties to Maintain Effective Controls
                     against Diversion
            Discount Drug Mart (“DDM”) is an Ohio-based pharmacy chain with 74 retail stores.449

DDM shipped Schedule III-V controlled substances from DDM’s distribution center located in

Medina, Ohio.450 DDM’s shipments included distribution of Hydrocodone Combination Products

(HCPs) until approximately 2014, when HCPs were rescheduled to the more restrictive Schedule II

.451 Over nearly a fifteen (15) year period, DDM shipped                            of dosage units of HCPs into

Cuyahoga and Summit Counties and the cities therein.452 From 2006 to 2014 alone, DDM distributed

nearly                 dosage units to its pharmacies in Cuyahoga County and over                          dosage units

to its pharmacies in Summit County.453

            DDM never reported a single suspicious order to the DEA, despite the fact that orders of

unusual size were regularly distributed by DDM, as explained below. Similarly, DDM could not

identify a single order that was halted as suspicious; instead, DDM shipped orders it had flagged as

suspicious.

            DDM admits it had an obligation to the general public to prevent diversion of opioids.454

Further, it is undisputed that DDM was legally required to implement a system of effective controls

448The expert opinion of Matthew Greimel is not to the contrary, for two reasons. First, Mr. Greimel does not believe
that the no-shipping duty exists, and his opinions are to some extent based on that erroneous legal conclusion. See Greimel
Report at 11-12. Second, Mr. Greimel reviewed HBC’s written policies, but did not review what HBC actually did. For
that reason, his report creates no genuine issue of fact. Ex. 443.
449   Ex. 444, Briscoe Dep., at 86.
450   Ex. 445, Briscoe Dep., at 34-35.
451   Ex. 446, Briscoe Dep., at 41-42.
452   Ex. 447, Report of Craig McCann, Appendix 9 at pp 151, 193.
453   Ex. 448, Report of Craig McCann, Appendix 9 at 3783, 3852.
454   Ex. 449, Nameth Dep., at 111.

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to prevent diversion. 455 Despite this legal duty, DDM had no written policies or procedures regarding

suspicious order monitoring. 456 Ultimately, DDM’s compliance activity can be boiled down to two

reports and activity related to those reports that, according to DDM, were not designed to halt or

cease shipment once an order of unusual size was detected. 457 Further, each of these reports was

based on a rigid formula, 458 which the DEA has made clear is insufficient.

            The “greater than six-week average report,” which is also referred to as the “fat finger

report,” 459 was implemented by DDM in the early 2000s. This report was generated each time a store

placed an order that exceeded its six-week average for a certain item, 460 and thus, identified orders of

unusual size, 461 which are by definition “suspicious”. 462

            It is undisputed that DDM performed no due diligence on orders identified by the “greater

than six-week average report” to determine that the orders were not likely to be diverted into illegal

channels. 463 Because orders that appeared on this report were treated as “order errors” rather than as

suspicious or potentially suspicious orders, 464 investigation of orders appearing on this report was

limited to looking at order history and verifying that the pharmacist intended to order the unusual

quantity. 465




455   Ex. 450, Nameth Dep., at 111; Briscoe Dep. At 126-127.
456   Ex. 451, Strang Dep., at 109, 132, and 194-195; Nameth Dep., at 25, 208, 359; Briscoe Dep., at 244-245.
457   Ex. 452, Briscoe Dep., at 90-91; 150-151.
458   Ex. 453, Briscoe Dep., at 147; Nameth Dep., at 192; Strang Dep. At 151.
459   Ex. 454, Strang Dep., at 64-74.
460   Ex. 455, Strang Dep., at 64-65.
461   Ex. 456, Strang Dep., at 146.
462   Ex. 457, 21 C.F.R. § 1301.74.
463   Ex. 458, Strang Dep., at 147;
464   Ex. 459, Strang Dep., at 228-229.
465   Ex. 460 Strang Dep., at 238.

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            This report was the only prospective component of DDM’s suspicious order monitoring

policies 466 and therefore the only tool DDM had in place that could have been used to stop the

shipment of a suspicious order. However, the report was not created or designated for that purpose 467

and was essentially an inventory management report 468 used to make sure there were no typing errors

and that the purchase order matched what the pharmacist intended to order. 469

            Ultimately, despite identifying controlled substance orders that met the criteria to be

considered “suspicious,” DDM failed to conduct any analysis to determine whether the orders were

likely to be diverted from legitimate channels, shipped opioid orders it knew or should have known

carried the indicia of likely diversion, and never reported a single suspicious order to the DEA. 470

            The Controlled Substance Monitoring (“CSM”) Report, also known as the 12-month report, 471

was generated monthly and identified, for each store, any drug order that exceeded the store’s rolling

12-month average by more than 99%. 472 It is undisputed that the CSM Report identified orders of

unusual size and orders deviating from a normal pattern. 473 Unlike the six-week average report, this

report was generated retrospectively, i.e. only after orders were shipped. 474 It is also undisputed that

DDM did not conduct any analysis to determine whether the orders identified by the CSM Report

were likely to be diverted from legitimate channels prior to shipping the orders identified by the




466   Ex. 461, Ratycz Dep., at 98; Strang Dep., at 72, 233-234; Nameth Dep., at 88, 207-208.
467   Ex. 462 Briscoe Dep., at 63.
468   Ex. 462, Briscoe Dep., at 63.
469   Ex. 463, Strang Dep., at 64-65, 72-73; Briscoe Dep., at 141, 150.
470   Ex. 464, Strang Dep., at 315-317.
471 An example of the information that would be contained in this report may be found at Ex. 465 ,DDM00053912. See

also Nameth Dep., at 210-211.
472   Ex. 466, Nameth Dep., at 34, 36, 41, 50.
473   Ex. 467, Nameth Dep., at 152-153.
474   Ex. 468, Nameth Dep., at 88-89.

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report. 475 This report did not identify suspicious orders in a way that would allow DDM to halt them

before they were filled. 476

            According to DDM, the opioids purchases of a dozen or more stores appeared on the CSM

Report each month. 477 DDM admits that the orders of unusual size that appeared on the CSM Report

were not reported to the DEA as suspicious orders. 478 In fact, DDM has never identified or halted a

single suspicious order or possible suspicious order, or reported any such orders to the DEA. 479

Further, it is undisputed that the only due diligence performed on orders appearing on the CSM Report

was performed after shipment. 480

            In 2013, DDM internally discussed implementing a more aggressive controlled substance

monitoring system (handling, dispensing, and reporting) at store and corporate levels. 481 However, no

such system was ever put in place. 482 Four years later, in January 2017, DDM internally discussed

“developing reporting to help [it] effectively identify outliers and/or suspicious store ordering.” 483 To

date, nothing has been done. 484 DDM admits that there was no reason that its Controlled Substance

Monitoring Report could have been made prospective. 485




475   Ex. 469, Briscoe Dep., at 79
476   Ex. 470, Nameth Dep., at 124:20-125:2.
477   Ex. 471, Nameth Dep., at 43, 45.
478   Ex. 472, Nameth Dep., 80-81, 83; 155, 159.
479 Ex. 473 Nameth Dep., at 83, 88, 101-102, 155, 210; Strang Dep., at 109, 122, 124, 316-317; Briscoe Dep., at 90, 92;

104.
480   Ex. 474, Nameth Dep., 167; Briscoe Dep., at 129-130; 155; 164.
481   Ex. 475, DDM00169025.
482   Ex. 476, Nameth Dep., at 358.
483   Ex. 477, DDM00074952. (emphasis added).
484   Ex. 478, Strang Dep., at 208; Nameth Dep., at 369.
485   Ex. 479, Nameth Dep., at 121.

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                                          CONCLUSION
        For the foregoing reasons, this Court should grant Plaintiffs’ request for summary adjudication

and should find, as a matter of law, that during the period 2000-2016, Purdue, Endo, Teva,

Mallinckrodt, J&J, Allegan, Cardinal, McKesson, ABDC, PSI, Walmart, Walgreens, CVS, Rite Aid,

HBC and DDM were all in violation of their duties, under the Controlled Substances Act to maintain

effective controls against diversion, to design and operate a system to identify suspicious orders, to

report suspicious orders to the DEA and/or to halt shipment of suspicious orders pending

investigation.


Dated: July 19, 2019                           Respectfully submitted,


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                             Attachment
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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



 IN RE NATIONAL PRESCRIPTION                  MDL 2804
 OPIATE LITIGATION                            Case No. 17-md-2804
 This document relates to:                    Hon. Dan Aaron Polster
 Track One Cases


  ERRATA FOR PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
      MOTION FOR PARTIAL SUMMARY ADJUDICATION THAT
  DEFENDANTS DID NOT COMPLY WITH THEIR DUTIES UNDER THE
  FEDERAL CONTROLLED SUBSTANCES ACT TO REPORT SUSPICIOUS
             OPIOID ORDERS AND NOT SHIP THEM
                                   (Second Corrected)

 PAGE        ORIGINAL                               CORRECTED
 NO.

 46, FN [ENDO-OPIOID_MDL-0000369517]                Ex.    143      [ENDO-OPIOID_MDL-
 68                                                 0000369517]

 54, FN "Janssen" also includes Noramco, Inc., a    Omitted internal message accidentally
 129    wholly-owned subsidiary of Johnson &        included in the footnote:[not sure whether
        Johnson, which produced the active          we care about including Noramco or not -
        ingredients for Janssen's pharmaceutical    I didn't see them mentioned in the
        products. Ex. 174 [Dempsey Dep. Vol. I      documents with respect to the SOMS
        at 17:12-18, 34:1-12, 37:7 - 39:23] [not    program, and if we include them J&J will
        sure whether we care about including        likely respond that we improperly grouped
        Noramco or not - I didn't see them          all the J&J defendants in our MSJ as
        mentioned in the documents with respect     "Janssen" and that we provided no
        to the SOMS program, and if we include      evidence for Noramco]"
        them J&J will likely respond that we
        improperly grouped all the J&J defendants
        in our MSJ as "Janssen" and that we
        provided no evidence for Noramco]"
 75          I                                      Removed orphan “I” placed after
                                                    footnote citation 222
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 89       acknowledged that it had fulfilled its acknowledged that it had not fulfilled its
          obligations under the CSA during this obligations under the CSA during this
          period” should be “acknowledged that it had period
          not fulfilled its obligations

 123      CVS’s corporate representative testified      CVS’s corporate representative testified
          that as of December 1, 2017, he did not       that as of December 1, 2007, he did not
          “believe that there was a suspicious order    “believe that there was a suspicious order
          monitoring policy put into place as of that   monitoring policy put into place as of that
          date.”                                        date.”

 143      Purdue, Endo, Teva, Mallinckrodt, J&J, Added defendants HBC, DDM and
          Cardinal, McKesson, ABDC, PSI, Allegan to list of defendants against whom
          Walmart, Walgreens, CVS, and Rite Aid  relief is sought in the Conclusion
